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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
      ------------------------------------------------------------
         NINTENDO OF AMERICA INC., a         )
         Washington corporation,             )
                          Plaintiff,         )
                  vs.                        ) No. 2:19-CV-07818-CBM-RAO
         MATTHEW STORMAN, an                 )
         individual, JOHN DOES 1-10,         )
         individuals and/or                  )
         corporations,                       )
                         Defendants.         )
      ------------------------------------------------------------
                                   Videotaped
                   Zoom Deposition Upon Oral Examination of
                                MATTHEW STORMAN
      ------------------------------------------------------------
                                    9:01 a.m.
                            Friday, October 30, 2020




         REPORTED BY:    Keri A. Aspelund, RPR, CCR No. 2661


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  1      APPEARANCES (All parties appearing via Zoom):
  2      For the Plaintiff:        CHRISTIAN W. MARCELO, ESQ.
  3                                WILLIAM C. RAVA, ESQ.
  4                                Perkins Coie
  5                                1201 Third Avenue, Suite 4900
  6                                Seattle, WA     98101
  7                                206-359-6226
  8                                cmarcelo@perkinscoie.com
  9                                wrava@perkinscoie.com
 10      For the Defendant Storman:
 11                                MATTHEW STORMAN, PRO SE
 12                                1601 E. Ruddock Street
 13                                Covina, CA     91724
 14                                626-833-6327
 15                                admin@romuniverse.com
 16      Also Present:             DAN BASSETT, VIDEOGRAPHER
 17
 18
 19
 20
 21
 22
 23
 24
 25


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  1                               E X H I B I T S
  2    No.     Description                                       Page/Line
  3    1       Email dated November 9, 2018, from                  67    14
  4            Thorsten Johanntoberens to
  5            admin@romuniverse.com, abuse@enom.com,
  6            support@gumroad.com
  7    11      Complaint                                           43    15
  8    11A     Exhibit A - Registered Copyrights                   63    24
  9    11B     Exhibit B - Registered Trademarks                   64    12
 10    16      June 18, 2019, RomUniverse.com screen               68    16
 11            shot
 12    17      KnownSRV View Ticket                                79    11
 13    20      Screen shot of the @RomUniverse Twitter             32    16
 14            account taken March 20, 2020
 15    22      The Ultimate Gamer's Birthday Gift                  52    15
 16    28      September 13, 2019, RomUniverse web site            60     6
 17            screen shot
 18    29      Web Data Collection Report                          56    23
 19    30      Screen shot of RomUniverse.com taken                31     1
 20            Friday, September 13, 2019
 21    32      Email dated November 9, 2018, from                  70    16
 22            Thorsten Johanntoberens to
 23            admin@romuniverse.com, abuse@enom.com,
 24            support@gumroad.com
 25    33      Phone records                                       82    17


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  1                           E X A M I N A T I O N
  2    BY                                                        Page/Line
  3    MR. MARCELO                                                   5    22
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  7
  8
  9
 10      (Note:    * Denotes phonetic spelling.)
 11
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  1                    Friday, October 30, 2020
  2                             9:01 a.m.
  3                    --------------------------
  4                 THE VIDEOGRAPHER:      We are on record.     The time
  5    now is 9:01 a.m.      Today's date is October 30, 2020.        This
  6    is Volume 1 of the remotely-recorded video deposition of
  7    Matthew Storman taken in the matter of Nintendo of America,
  8    Inc. vs. Storman, et al., filed in the United States
  9    District Court for the Central District of California, case
 10    number is 2:19-CV-07818.
 11                 My name is Dan Bassett, I am the videographer,
 12    and our court reporter is Keri Aspelund.          We are both with
 13    Seattle Deposition Reporters.
 14                 Counsel, please identify yourselves for the
 15    record, and then the witness may be sworn in.
 16                 MR. MARCELO:     Christian Marcelo for Perkins
 17    Coie, on behalf of plaintiff Nintendo of America, and I'm
 18    joined by a colleague, Will Rava.
 19                    --------------------------
 20    MATTHEW STORMAN:          Witness herein, having been
 21                              duly sworn, testified as follows:
 22                         E-X-A-M-I-N-A-T-I-O-N
 23    BY MR. MARCELO:
 24           Q.    Mr. Storman, have you ever been deposed before?
 25           A.    Never.


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  1           Q.    Okay.    So I'll go over some ground rules just on
  2    depositions generally.
  3                 You understand you're under oath?
  4           A.    Yes.
  5           Q.    You understand this is -- you're under oath
  6    under penalty of perjury?
  7           A.    Yes.
  8           Q.    And this is the same oath you'd take in a
  9    courtroom?
 10           A.    Yes.
 11           Q.    And you're proceeding pro se in this case;
 12    right?
 13           A.    That is correct.
 14           Q.    Okay.    So you don't have counsel here?
 15           A.    Correct.
 16           Q.    Is there any reason you won't be able to tell
 17    the truth today?
 18           A.    No.
 19           Q.    So some general ground rules for this
 20    deposition.     Make sure to answer questions with a yes or a
 21    no.   The court reporter can't transcribe a shaking of the
 22    head or nodding of the head; okay?
 23           A.    Okay.
 24           Q.    And generally, because -- because there is a
 25    court reporter, we need to do our best efforts to try to


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  1    speak one at a time.      So let me finish my question before
  2    you jump in with an answer, and I'm going to try my best to
  3    let you finish your answer before I jump in with a
  4    question; okay?
  5            A.    Okay.
  6            Q.    If you need a break at any time, just let me
  7    know.    The only requirement on that is if I have a question
  8    pending, I am going to ask that you answer that question
  9    and then we can go take a break; okay?
 10            A.    Understood.
 11            Q.    And if you don't understand a question that I
 12    ask, please ask for clarification.         If you answer my
 13    question, I'm going to assume that you understood the
 14    question.     So if you don't understand something about the
 15    question, ask for clarification; okay?
 16            A.    Okay.
 17            Q.    Are you currently employed?
 18            A.    No.
 19            Q.    Where was your last -- where were you last
 20    employed?
 21            A.    I was last employed -- I want to say
 22    self-employed for the last ten years or so.
 23            Q.    And are you currently working being
 24    self-employed?
 25            A.    No.


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  1            Q.    When did you last work -- do work as
  2     self-employed?
  3            A.    I want to say like two-thousand -- around 2016.
  4            Q.    Do you have any sources of income currently?
  5            A.    Right now I do.     I -- I actually filed for
  6     unemployment for this year.
  7            Q.    Being 2020?
  8            A.    That is correct.
  9            Q.    What is Most Consulting, LLC?
 10            A.    Most Consulting, LLC, was a corporation that I
 11     once owned that was founded -- which is kind of the
 12     backbone of my self-employment.
 13            Q.    When was it founded?
 14            A.    I actually think 2010.
 15            Q.    And what was the business purpose of Most
 16     Consulting?
 17            A.    The business purpose was to provide IT services
 18     to companies.
 19            Q.    Can you give me some examples of companies you
 20     provided IT services to?
 21            A.    Well, companies.
 22                  It's mainly like small businesses, end users,
 23     things like that.     Off the top of my head, I -- I can't
 24     remember.    It's been a while since I've done -- provided
 25     those services.


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  1           Q.    Is it -- did it -- is Most Consulting still an
  2    LLC right now, or did it dissolve?
  3           A.    It is an LLC, but it's kind of -- it's FTB
  4    suspended, meaning that there's back taxes that are owed on
  5    it, and then I believe I filed for the final tax return, I
  6    believe, in 2017, I believe.
  7           Q.    And so when is the last time you performed any
  8    work under the umbrella of Most Consulting?
  9           A.    Oh, it was -- it was probably around that time,
 10    around 2017.
 11           Q.    Does Most Consulting have any connections with
 12    the web site RomUniverse.com?
 13           A.    Well, it's possible in the sense that it's a
 14    single member LLC.      So anything that I do, everything kind
 15    of falls underneath -- underneath that.
 16           Q.    Did you ever register any part of RomUniverse
 17    using Most Consulting?
 18           A.    Maybe an email.     I -- I don't remember.
 19           Q.    Anything else?
 20           A.    No.
 21           Q.    You worked for Nintendo previously; right?
 22           A.    A long, long time ago.
 23           Q.    Do you remember when?
 24           A.    I think I must have been 17, so about like 20 --
 25    22, 23 years ago, something like that.         I -- I don't


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  1    remember the exact -- the exact age.
  2           Q.    Right.   That's fine.
  3                 Do you remember what you were doing for
  4    Nintendo?
  5           A.    Something in the shipping depart -- or the --
  6    the warehousing.      I vaguely remember just pallets of items,
  7    I don't remember what those items were, and I would move
  8    those pallets around.
  9           Q.    How long did you work for Nintendo?
 10           A.    Honestly, I don't remember.       A couple months
 11    maybe.    It was --
 12           Q.    Do you know, was it more than a year?
 13           A.    Was it more than a year?       I -- I don't know.
 14           Q.    That's -- that's what I'm asking.        You can't
 15    recall if it was more than a year?
 16           A.    Oh, no, I don't think -- no, no, no, no, I
 17    don't -- I don't believe it was more than a year.           I think
 18    it was maybe a month or two.
 19           Q.    You're familiar with Nintendo, the company
 20    though, right, before this lawsuit?
 21           A.    Yes.
 22           Q.    Have you ever owned a Nintendo console?
 23           A.    A Nintendo console.
 24                 No, but when I was younger, my -- my friends
 25    did.


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  1           Q.    Okay.
  2           A.    I never -- I never owned one.
  3           Q.    Fair enough to say that you generally knew of
  4    Nintendo probably and -- and some of its famous games;
  5    right?
  6           A.    Yes.
  7           Q.    And you currently own the web site
  8    RomUniverse.com; right?
  9           A.    That is correct.
 10           Q.    What's your understanding for why this lawsuit
 11    was initiated?
 12           A.    I believe the lawsuit was initiated because
 13    Nintendo is alleging that the files that are stored on
 14    RomUniverse are RomUniverse -- or are Nintendo images.
 15           Q.    What do you mean by Nintendo images?
 16           A.    I mean a -- a copy or an alleged copy of a game.
 17           Q.    You said you own RomUniverse.com, the domain and
 18    web site; right?
 19           A.    That is correct.
 20           Q.    And are you the sole owner?
 21           A.    Yes.
 22           Q.    When did you acquire it?
 23           A.    I acquired it the -- I want to say 2009,
 24    somewhere around -- between 2009 and 2010.
 25           Q.    Who did you acquire it from?


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  1           A.    I don't even remember.      There was a -- there was
  2    a posting for the site on Digital Forums, I -- I think, and
  3    there was a link, and I was using -- I don't even remember
  4    how I communicated with the -- the individual.           I don't --
  5    I don't remember.
  6           Q.    So you saw a posting listing it for sale; is
  7    that right?
  8           A.    Correct.    That is correct.
  9           Q.    And then you contacted whoever had that posting
 10    and to purchase it?
 11           A.    Correct.
 12           Q.    Do you recall how much you purchased it for?
 13           A.    I want to say 2,000.      I -- I don't remember
 14    the -- the exact amount, but I'm guessing or assuming it
 15    was around that amount.
 16           Q.    And since that 2009-2010 period, you've been the
 17    sole owner of the web site and domain?
 18           A.    Correct.
 19           Q.    Prior to purchasing RomUniverse, had you ever
 20    owned or controlled a different web site which distributed
 21    ROM images?
 22           A.    Oh, you know what, let me back up, because I
 23    didn't purchase RomUniverse from that individual, I
 24    purchased NDSUniverse from that individual.
 25           Q.    And what is NDSUniverse?


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  1           A.    NDSUniverse was a web site that was purchased
  2    around the same time, and it apparently stored or housed
  3    Nintendo DS images or ROMs.
  4           Q.    So going back, you purchased NDSUniverse
  5    sometime in 2009-2010?
  6           A.    That's correct.
  7           Q.    And that's the one that you purchased for
  8    something around $2,000, but you don't recall exactly?
  9           A.    That is -- that is correct.
 10           Q.    And so when did you acquire RomUniverse?
 11           A.    RomUniverse, I purchased the domain name.          I
 12    want to say maybe 2010.
 13           Q.    And when you say you purchased the domain name,
 14    do you mean you bought it from a registrar rather than an
 15    individual?
 16           A.    No, I believe it was bought by a registrar -- or
 17    I'm sorry, by an individual, and I think I paid like $700
 18    for that domain.
 19           Q.    When you purchased the RomUniverse web site, was
 20    it active at the time you purchased it?
 21                 And by that I mean was there an active web
 22    site --
 23           A.    No.
 24           Q.    -- being displayed?
 25           A.    No, there was not.


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  1            Q.    And that sounds like it's contrary to the
  2    NDSUniverse.     When you purchased NDSUniverse, there was an
  3    active web site; right?
  4            A.    That is -- that is correct.
  5            Q.    And that active web site was distributing DS
  6    ROMs?
  7            A.    That is correct.
  8            Q.    Okay.    And so did you build the RomUniverse web
  9    site then, I assume?
 10            A.    Build it.
 11                  It was an upgrade.     It was a theme that was
 12    provided by e107, which is a content management system.            So
 13    neither -- neither NDS or the RomUniverse web sites per se
 14    were actually built by me.
 15            Q.    And when I -- when I mean built by, I mean when
 16    you purchased the domain for RomUniverse.com, there was no
 17    web site.     You then either asked somebody else to make a
 18    web site or design a web site, and you put an active web
 19    site at that domain name; right?
 20            A.    Actually, what I did was I -- I converted
 21    NDSUniverse to RomUniverse.
 22            Q.    I see.
 23                  So the active web site that was on NDSUniverse,
 24    you -- you put onto the domain name RomUniverse.com?
 25            A.    That is correct.


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  1            Q.    And at that time, did you have NDSUniverse, the
  2    domain name, start redirecting to RomUniverse.com?
  3            A.    No, it was more so RomUniverse.com -- well, I
  4    guess -- I guess you're right, that is correct.
  5            Q.    So --
  6            A.    Yeah, NDSUniverse --
  7            Q.    -- sometime in 2009-2010 -- sorry.
  8                  Exactly what exactly we were discussing, talking
  9    over.
 10            A.    Yeah.
 11            Q.    You go ahead.
 12            A.    Yeah, so you -- you are correct.       So NDSUniverse
 13    pointed then to RomUniverse.com.
 14            Q.    Okay.   And by then, you mean 2009-2010, after
 15    purchasing both?
 16            A.    That is -- that is correct.
 17            Q.    Okay.   At any point did NDSUniverse -- between
 18    that 2009-2010 frame until present, did NDSUniverse stop
 19    redirecting to RomUniverse?
 20            A.    No.
 21            Q.    And you've owned NDSUniverse and RomUniverse
 22    since that time in 2009-2010; right?
 23            A.    That is correct.
 24            Q.    Okay.   The sole owner?
 25            A.    Yes.


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  1           Q.    What is the purpose of RomUniverse.com?
  2           A.    The purpose of RomUniverse.com.
  3                 I want to say to provide backup copies of games
  4    to users and individuals who need backups of their -- of
  5    their content.
  6           Q.    And you said NDSUniverse, at the time you
  7    purchased it, was distributing DS, that's Nintendo DS ROMs;
  8    right?
  9           A.    Allegedly, yes.
 10           Q.    What do you mean allegedly?
 11           A.    Well, I -- I don't know the actual content of
 12    the -- the images, so I cannot -- I cannot say with a
 13    hundred percent certainty that those DS ROMs are actually
 14    DS ROMs.
 15           Q.    But the web site, the NDSUniverse.com web site,
 16    indicated that it was distrib -- that it had DS ROMs
 17    available?
 18           A.    That is what it indicated, correct.
 19           Q.    And --
 20           A.    So what --
 21           Q.    Go ahead.
 22           A.    So what I'm -- what I'm saying is that I don't
 23    know the actual content of the files.         I never downloaded,
 24    I never used, I never verified that the files that were
 25    uploaded were indeed those, those files.


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  1           Q.    Okay.
  2           A.    It was --
  3           Q.    At the time you purchased NDSUniverse.com, it
  4    wasn't distributing, for instance, Nintendo Switch games or
  5    Nintendo Switch ROMs; right?
  6           A.    NDSUniverse, no, not then, correct.
  7           Q.    And so the -- but the RomUniverse.com web site,
  8    as recently as 2019 and prior to it being taken down, was
  9    distributing Nintendo Switch ROMs; right?
 10           A.    Again, I cannot say whether or not those files
 11    are indeed Switch files.
 12           Q.    But the --
 13           A.    So, again, I --
 14           Q.    -- the RomUniverse.com web site indicated that
 15    there were available for download Nintendo Switch ROM
 16    games; right?
 17           A.    I would say the indication is correct, but --
 18    but again, the -- the actual content of those images and
 19    ROMs, I don't verify the actual files that are uploaded.
 20           Q.    So the addition of that category, Nintendo
 21    Switch ROMs, that came sometime after you purchased both
 22    NDSUniverse and RomUniverse; right?
 23           A.    That is correct.
 24           Q.    Does anyone else have administrative access to
 25    RomUniverse or NDSUniverse?


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  1           A.    Yes, but I don't know the individuals.
  2           Q.    How many individuals have that admin access?
  3           A.    I would say probably five, and -- and at the --
  4    at the purchase, when I purchased NDSUniverse, those --
  5    some of the admins then were actually NDSUniverse admins.
  6           Q.    And what are their administrative privileges?
  7                 Can they change the substance of the web site?
  8           A.    Yes.
  9           Q.    Could they have the web site taken down?
 10           A.    They could.
 11           Q.    Can they upload ROM images to be distributed?
 12           A.    Yes, they can upload files to be distributed,
 13    yes.
 14           Q.    Have you ever communicated with any of those
 15    admins?
 16           A.    There was some communication that I had with the
 17    admins on Discord.      I'm trying to think of any other
 18    platform that I communicated.        There was a chatting script
 19    that I once had on the web site where people could
 20    communicate back and forth about content.
 21                 So I guess -- I guess the -- the big answer or
 22    large answer is yes --
 23           Q.    Did you ever --
 24           A.    -- the general answer.
 25           Q.    Did you ever communicate with them by phone?


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  1           A.    No, never.
  2           Q.    Did you ever text message any of them?
  3           A.    Never.
  4           Q.    Ever Instant Message them using some platform
  5    that's not Discord or the RomUniverse web site?
  6           A.    Instant Message.
  7                 There was a while -- probably like 2011, there
  8    was -- we would use Trillian, but that was -- that was a
  9    long time ago.      Mainly communication would happen via
 10    forums that RomUniverse had.
 11           Q.    Did you ever communicate with any of these
 12    admins in 2019?
 13           A.    Possibly.    I don't -- I don't remember -- I
 14    don't remember when in 2019, but there was communication
 15    with -- I mean, I would communicate with admins, I'd
 16    communicate with peoples that -- or people that joined
 17    Discord, or post -- made a post on a forum, et cetera.
 18           Q.    And outside of the general discussion for people
 19    in Discord, there was a separate messaging system for you
 20    and the admins, right, in Discord; you could message them
 21    directly?
 22           A.    That is correct.
 23           Q.    And is that how you generally communicated with
 24    your admins was directly?
 25           A.    Yes.   For the most part, yes.       And I guess it


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  1    was either that, or they would message me directly, or we
  2    would go into a -- a group or a room and we would
  3    communicate that way.
  4           Q.    And did you state that you don't -- you don't
  5    know who those five admins are?
  6           A.    No, I re -- I don't know personally who they
  7    are.   I know what their user names were on the web site,
  8    but I did not -- I never knew their actual name.
  9           Q.    Can you hear me?
 10           A.    Hello?
 11                 Looks like -- looks like Christian got
 12    disconnected.
 13           Q.    Can you hear me?
 14                 THE VIDEOGRAPHER:     Yeah, I'm not seeing him.
 15                 Christian, are you there?
 16                 MR. MARCELO:    Go off the record.
 17                 THE VIDEOGRAPHER:     Yeah, going off record.       The
 18    time now is 9:23 a.m.
 19                       (Recess at 9:23 a.m.)
 20                       (Reconvened at 9:24 a.m.)
 21                 THE VIDEOGRAPHER:     Back on record.      The time now
 22    is 9:24 a.m.
 23                 MR. MARCELO:    And Madam Court Reporter, can you
 24    just read back my last question that was on the record.
 25                       (Reporter read back as requested.)


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  1            A.    Yeah, so personally, I do not know them.         I do
  2    not know them in person.       I do not know their names.       I
  3    know them only by screen names.
  4            Q.    You don't have an email address for any of them?
  5            A.    Not that I know of.
  6            Q.    Phone numbers for any of them?
  7            A.    No.
  8            Q.    Would you be able to -- I understand that
  9    Discord channel -- that Discord channel is currently down;
 10    would you be able to contact them in any other way right
 11    now?
 12            A.    No.
 13            Q.    Did you ever discuss this lawsuit with any of
 14    the admins?
 15            A.    I believe so.    I mean, I think -- I think there
 16    was some discussion, generalized discussion, about the --
 17    the lawsuit.
 18            Q.    Which admins did you have this discussion with?
 19                  You can tell me just their screen name that you
 20    know.
 21            A.    I think the -- I mean, there was Jimyslack.
 22    There was Soprano519.      I don't -- I don't remember if there
 23    was any other communication with any other admins, but I
 24    know -- I know that there was some discussion with them
 25    about the -- the lawsuit.


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  1           Q.    What did you discuss?
  2           A.    We discussed the lawsuit and how it would affect
  3    RomUniverse, I think, and kind of my position on the
  4    lawsuit.
  5           Q.    How did you guys discuss that it would affect
  6    the RomUniverse web site?
  7                 What did you guys discuss about that?
  8           A.    I think there was discussion about how there
  9    would be -- there would be some -- some argument or fight
 10    on my part just to see it through to trial.
 11           Q.    Did you discuss the case with the admin Giselle?
 12           A.    Yes, that sounds right.
 13           Q.    Did you discuss the case with the admin Phamley,
 14    P-H-A-M-L-E-Y?
 15           A.    Yeah, I think -- I think everybody was in the
 16    generic or the public room, I believe, at that time.
 17           Q.    Does that include the admin Rebug, R-E-B-U-G?
 18           A.    Yes, correct.
 19           Q.    The admin Veronica?
 20           A.    Yes.
 21           Q.    And the admin Phia55, P-H-I-A 55?
 22           A.    Correct.
 23           Q.    Any other admins?
 24           A.    Not that I'm aware of.
 25           Q.    Did you ever discuss the case with them in this


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  1    year, 2020?
  2           A.    Possibly.
  3           Q.    When do you recall discussing the case with them
  4    8in 2020?
  5           A.    Probably -- I mean, I don't -- I don't even --
  6    I'm saying possibly because I don't -- I don't really have
  7    a record that I can revisit or visit.         I mean, I would say
  8    at the beginning -- the beginning, mid part of 2020.
  9           Q.    Did you discuss this case or the web site with
 10    them in September of 2020, last month?
 11           A.    September 2020.
 12                 I don't -- I don't recall, but there is
 13    definitely a possibility.
 14           Q.    What about after September 25th, after the court
 15    ordered the production of certain documents, did you have
 16    any communications with these admins regarding RomUniverse
 17    or this lawsuit?
 18           A.    No.
 19           Q.    Do you know if any of the admins are aware that
 20    the court ordered the production of those certain documents
 21    regarding the downloads from the Discord channel?
 22           A.    I am unaware.
 23           Q.    You never told them about that?
 24           A.    No.
 25           Q.    If an admin -- if any of those admins had made a


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  1    change to the RomUniverse web site when it was still
  2    active, would you have been notified?
  3           A.    If they -- would I have been notified how?
  4                 Would I have been notified that they made a
  5    change?
  6           Q.    Right, would you have been made aware that a
  7    change had been made on the web site?
  8           A.    No.
  9           Q.    So if, for instance, they delete an entire web
 10    page, an entire section of that web site, you wouldn't have
 11    any idea until you visited the web site?
 12           A.    That is correct.
 13           Q.    How often did the admins make edits or changes
 14    to the web site?
 15           A.    I -- I have no idea.      I don't have a specific
 16    number.     I know that -- I know that admins were constantly
 17    making changes to the web site.
 18           Q.    Did you ever instruct any of the admins to make
 19    specific changes to the web site?
 20           A.    I don't -- I don't remember, but possibly.
 21           Q.    How about in 2019, after this lawsuit was filed,
 22    did you ever direct any admins to make any changes to this
 23    web site?
 24           A.    No.
 25           Q.    Are you aware of them making any changes to the


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  1    web site?
  2            A.    I know based on categories of -- categories that
  3    I can see were added, I can see that those changes were
  4    made.
  5            Q.    And those were made by the admins?
  6            A.    That is correct.
  7            Q.    And those changes were sometime after Nintendo
  8    filed this lawsuit?
  9            A.    I'm not sure if those changes -- if changes were
 10    made after the lawsuit was filed.
 11            Q.    So the RomUniverse.com web site, when it was
 12    still active, it was distributing copies of Nintendo's
 13    video games; right?
 14            A.    Say that -- repeat that question.
 15            Q.    Sure.
 16                  The RomUniverse.com web site, when it was still
 17    active, it was distributing copies of Nintendo's video
 18    games; right?
 19            A.    There was files that were uploaded, they were
 20    categorized, but I cannot verify that what you're saying is
 21    the truth.     Just -- just from the -- just from -- kinda
 22    what I've been saying earlier is that I don't -- I don't
 23    verify the files to confirm whether or not they were indeed
 24    Nintendo's property.
 25            Q.    But they were distributed, and the web site


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  1    RomUniverse.com had indicated those were indeed copies of
  2    Nintendo's video games; right?
  3           A.    That is what the web site indicated, yes.
  4           Q.    And the web site allowed people to download
  5    various read-only memory files; right?
  6           A.    Yes, that is what -- that is what -- alleged --
  7    alleged Nintendo ROM files.
  8           Q.    Well, I'm talking about just generally ROM
  9    files, the web site allowed the download of ROM files;
 10    right?
 11           A.    Yes, that is correct.
 12           Q.    Okay.   And ROM files, or read-only memory files,
 13    what's your understanding of what those are?
 14           A.    My understanding of read-only memory is a
 15    storage facility or a storage -- storage-based file that
 16    allows data to be read but not written.
 17           Q.    Okay.   And in the context of video games, for
 18    instance, do you have an understanding what read-only
 19    memory or ROM files are?
 20           A.    Yes.
 21           Q.    What's that understanding?
 22           A.    The understanding is that there's -- there are
 23    mechanisms or ways to take a copy of a cartridge or a CD
 24    and place it into just an individual file that can be
 25    downloaded, and then put into another device, and that


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  1    device can read that image.        That's -- that's what I --
  2    that's my understanding.
  3           Q.    And when you say put into another device that
  4    reads the image, so in the context of a video game, if you
  5    put it in the device that reads the image, the user would
  6    be able to then play that copy of the game; right?
  7           A.    That is correct.
  8           Q.    Okay, and so when I refer to ROMs, I'm going to
  9    be referring to what you just stated as your understanding
 10    of read-only memory files; okay?
 11           A.    Okay.
 12           Q.    And so a ROM of a Nintendo game, that would
 13    allow a user to -- you know, if a user downloaded a ROM of
 14    a Nintendo game from (internet interruption) -- from
 15    RomUniverse.com, they would then be able to play that copy
 16    of the Nintendo game?
 17                         (Reporter requested clarification.)
 18                 MR. MARCELO:     Let me restart.
 19           Q.   If a user downloaded a ROM of a Nintendo game
 20    from RomUniverse.com, and that ROM contained the Nintendo
 21    ROM, they would then be able to play that copy of the
 22    Nintendo game; right?
 23           A.    That is correct.
 24           Q.    And RomUniverse distributed ROMs for various
 25    Nintendo systems; right?


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  1             A.    Allegedly distributed ROM files, yes.
  2             Q.    Well, it advertised that it had available for
  3    download ROMs for the Super Nintendo Entertainment System;
  4    right?
  5             A.    That is correct.
  6             Q.    That it had available for download ROMs for the
  7    Nintendo Entertainment System?
  8             A.    That is correct.
  9             Q.    For the Nintendo Game Boy?
 10             A.    Yes, I believe so.
 11             Q.    For the Nintendo Game Boy Advance?
 12             A.    Correct.
 13             Q.    For the Nintendo Game Boy Color?
 14             A.    Yes.
 15             Q.    For the Nintendo 64?
 16             A.    Yes.
 17             Q.    For the Nintendo DS?
 18             A.    Yes.
 19             Q.    The Nintendo 3DS?
 20             A.    That sounds correct, yes.
 21             Q.    The Nintendo Wii?
 22             A.    Yes.
 23             Q.    The Nintendo Wii U?
 24             A.    The -- that doesn't ring a bell, but possibly.
 25             Q.    And certainly for the Nintendo Switch; right?


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  1           A.    That is correct.
  2           Q.    Now, you agree you advertised RomUniverse.com as
  3    the best ROM site in the universe; right?
  4           A.    I don't -- I didn't advertise that.         Whoever put
  5    that slogan there indicated that.
  6           Q.    Who put the slogan there?
  7           A.    I'm not sure.     One of the admins.
  8           Q.    You didn't put that slogan there?
  9           A.    No.
 10           Q.    When was the slogan put there?
 11           A.    2018 maybe?    2017?    I don't -- I don't remember.
 12    I don't remember the date that that occurred.
 13           Q.    Well, it's on the web site that you are the sole
 14    owner of; right?
 15           A.    That is correct.
 16           Q.    Right, so your web site says that it's the best
 17    ROM site in the universe?
 18           A.    That is correct.
 19           Q.    Let's open up Exhibit-30.
 20           A.    Okay.
 21           Q.    For the record, this is a screen shot of
 22    RomUniverse.com taken Friday, September 13th, 2019.
 23                 Mr. Storman, do you recognize this screen shot?
 24           A.    Yes, correct.
 25           Q.    And this is a screen shot of the home page of


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  1    RomUniverse.com?
  2           A.    That is correct.
  3           Q.    And you see at the top, the title, it says "the
  4    best romsite in the universe"; right?
  5           A.    Yes, correct.
  6           Q.    And then below the search bar, it advertises
  7    that this web site has "60,000 Roms"; right?
  8           A.    Correct.
  9           Q.    And "375,000 Members"?
 10           A.    Correct.
 11           Q.    And then on the left side at the bottom, it says
 12    that it -- it lists categories of ROMs it has, and it lists
 13    one as "Nintendo Switch Scene Roms"; right?
 14           A.    That is correct.
 15           Q.    What is Nintendo Switch Scene Roms?
 16           A.    I'm assuming that they're just ROMs, Nintendo
 17    Switch ROMs.
 18           Q.    And those were ROMs that were being --
 19    allowed -- users could download those ROMs on the web site?
 20           A.    That is correct.
 21                 MR. MARCELO:    And let's mark this.       Madam Court
 22    Reporter, we can just mark them in accordance with whatever
 23    their file names are, so we can just mark this Exhibit-30,
 24    if that makes sense.
 25                 THE COURT REPORTER:      It does.


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  1                       (Exhibit-30 marked.)
  2           Q.    Now, there's a Twitter account associated with
  3    RomUniverse.com; right?
  4           A.    A Twitter account?
  5                 Possibly.    I know that I created a Twitter
  6    account a while ago, but I don't think it was ever
  7    utilized.
  8           Q.    Well, you used it to send a Tweet in June of
  9    2019, didn't you?
 10           A.    In June of 2019?
 11                 March, April, May, June -- I'm not sure.          I
 12    don't remember.     I don't remember if I did.
 13           Q.    Are you the sole owner of that RomUniverse
 14    Twitter account?
 15           A.    Sole owner.
 16                 I believe that that information or that account
 17    was actually given to an admin by the name Ben -- Ben10 I
 18    believe is -- I don't remember, something with Ben in it.
 19           Q.    What do you mean it was given to the admin named
 20    Ben?
 21           A.    The -- the information, the login information
 22    was given at the request of him --
 23           Q.    But you also --
 24           A.    -- to that account.
 25           Q.    -- had the login information for that


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  1    RomUniverse --
  2           A.    That is --
  3           Q.    -- Twitter account?
  4           A.    That's correct.
  5           Q.    You created that RomUniverse Twitter account?
  6           A.    I believe so, yes.
  7           Q.    I mean, you were the one that purchased the
  8    RomUniverse domain name and created the web site, right; so
  9    it makes sense that you were the one that created the
 10    RomUniverse Twitter account?
 11           A.    That is correct.
 12           Q.    Open up Exhibit-20.
 13           A.    Okay.
 14           Q.    For the record, this is a screen shot of the
 15    @RomUniverse Twitter account taken on March 20th, 2020.
 16                        (Exhibit-20 marked.)
 17           Q.    Mr. Storman, do you recognize this as a screen
 18    shot of the RomUniverse Twitter account?
 19           A.    Yes.
 20           Q.    And it says that the handle is @RomUniverse;
 21    right?
 22           A.    That is correct.
 23           Q.    There's a link to RomUniverse.com?
 24           A.    Yes, I see that.
 25           Q.    That it joined April 2013?


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  1           A.    That is correct.
  2           Q.    Okay, take a look at the Tweet from June 24th,
  3    2019; do you see that?
  4           A.    Yes, I see that.
  5           Q.    Can you read that Tweet for me.
  6           A.    It says "Hey you."      We -- "You know we have
  7    Nintendo Switch Scene Roms.       They're uploaded when they are
  8    dumped.     Check them out."
  9                 And then it lists the URL.
 10           Q.    And so you sent that Tweet June 24th, 2019?
 11           A.    I'm -- I'm questioning the actual *verbage or
 12    verbiage that is used.      I don't -- I don't know if I would
 13    have started this as "Hey you," and then, "You know we
 14    have" -- this was 2019?      I mean, I guess it's possible.
 15                 I don't remember making that post.
 16           Q.    So it's possible that you did Tweet that though?
 17           A.    It's possible.
 18           Q.    And when it says, They are uploaded when they
 19    are dumped, what does that mean?
 20           A.    "They're uploaded when they are dumped."
 21                 Oh, I'm assuming that it means that when the
 22    game is released, they're uploaded to the site.
 23           Q.    Uploaded by who?
 24           A.    I don't know.
 25           Q.    It says "You know we have Nintendo Switch Scene


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  1    Roms."
  2                 What are Nintendo Switch Scene Roms again?
  3           A.    Nintendo -- Nintendo Switch Roms are games or
  4    files that are dumped from cartridges.
  5           Q.    That can be uploaded to the RomUniverse web site
  6    and then downloaded by users?
  7           A.    That is correct.
  8           Q.    How does the download process of these ROMs from
  9    RomUniverse.com work?
 10                 That is, how does a user get the ROM from
 11    RomUniverse.com to their computer?
 12           A.    They -- there's download links for the files
 13    that are uploaded, and the user has an option to click on a
 14    download button.
 15           Q.    And so I assume that they -- first they go to
 16    the RomUniverse.com web site; right?
 17           A.    Correct.
 18           Q.    They navigate the web site to find what specific
 19    ROM they want to download; right?
 20           A.    Correct.
 21           Q.    For instance, the Switch ROM, there's a category
 22    on the RomUniverse web site where they could go to download
 23    Switch ROMs; right?
 24           A.    That is correct.
 25           Q.    And then they -- they find a specific game that


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  1    they want, the Nintendo Switch game, and they click on that
  2    game; right?
  3           A.    That is correct.
  4           Q.    Takes them to a new screen which shows that they
  5    can download the Switch ROM, and then there's -- there's
  6    comments from the users about the game?
  7           A.    That -- that sounds correct.
  8           Q.    And then they hit download, and then that
  9    downloads the ROM of whatever game they are looking for;
 10    right?
 11           A.    Yes.
 12           Q.    Have you ever downloaded any of the ROMs from
 13    the web site?
 14           A.    Ever downloaded any of the ROMs.
 15                 I would download files for testing to make sure
 16    that the web site was functional, but I've never --
 17           Q.    Can you explain that a little bit more?
 18           A.    -- I've never -- yeah, so somebody might
 19    complain that a -- that a file's not -- not able to be
 20    downloaded, so I would go and I would download that file
 21    just to verify that the file that was getting downloaded is
 22    and was accessible.
 23           Q.    I see.
 24                 Or what about if they like complained that the,
 25    you know, whatever they downloaded isn't working, would you


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  1    go test to make sure that the file's actually there?
  2            A.    I would verify only that the file was there.
  3            Q.    Got it.
  4                  And now how does the upload process of the ROM
  5    work?
  6                  And that -- what I mean there is, you know, the
  7    users went -- visited the web site to download the ROMs,
  8    how did the ROM get there in the first place?
  9            A.    So the admins -- maybe I'll give you some --
 10    some -- some historical data.
 11            Q.    Okay.
 12            A.    When I purchased the web site back in 2009, the
 13    admins -- most of the admins were already there.           So all I
 14    did was inherited an existing web site, and with existing
 15    content, and then with the admins already doing what they
 16    were doing, and that is uploading files to the web site.
 17            Q.    So the admins are the ones that have uploaded
 18    the ROMs to the web site?
 19            A.    That is correct.
 20            Q.    And you've never uploaded a single ROM?
 21            A.    Have I uploaded a single ROM?
 22                  I -- I would say that I have uploaded files,
 23    yes.    ROMs, again --
 24            Q.    How many?
 25            A.    -- I don't know the -- I don't know the validity


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  1    of the files that I uploaded or the files that I have
  2    uploaded.
  3             Q.    Well, what type of files did you upload?
  4             A.    I don't even -- I can't even -- I don't even
  5    remember what files I had uploaded.
  6             Q.    Where would you get these files that you
  7    uploaded?
  8             A.    Off the internet, off torrent sites, or off
  9    other ROM sites that exist.
 10             Q.    But you'd go get these -- these files indicated
 11    they were, for instance, Nintendo ROMs, right, from a --
 12             A.    Right.
 13             Q.    -- different torrent site, or from a different
 14    ROM site, and then upload them --
 15             A.    Right.
 16             Q.    -- to RomUniverse.com?
 17             A.    That is correct.
 18             Q.    Okay.    And the -- and the files you uploaded,
 19    they -- whether you verified what was actually on them,
 20    they did indicate that they were ROMs of Nintendo games;
 21    right?
 22             A.    That is correct.
 23             Q.    Okay.    And -- and you uploaded, for instance,
 24    files that indicated that they are ROMs of Nintendo Switch
 25    games?


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  1           A.    That is correct.
  2           Q.    And ROMs that indicated they were ROMs of
  3    Nintendo 3DS games?
  4           A.    Correct.
  5           Q.    How many ROM files, or files that indicated they
  6    were ROM of Nintendo games, would you say you uploaded
  7    versus your admins?
  8                 Were the majority uploaded by yourself or by the
  9    admins?
 10           A.    A majority were uploaded by the admins.
 11           Q.    Did you ever direct any of the admins to upload
 12    the ROMs?
 13           A.    It's possible.     I don't -- I don't remember an
 14    occurrence off the top of my head where that has happened
 15    or where I did, but it is possible.
 16                 MR. MARCELO:    Can we go off the record for one
 17    second.
 18                 THE VIDEOGRAPHER:     Going off record.      The time
 19    now is 9:51 a.m.
 20                       (Recess at 9:51 a.m.)
 21                       (Reconvened at 10:02 a.m.)
 22                 THE VIDEOGRAPHER:     Back on the record.      Time now
 23    is 10:02 a.m.
 24           Q.    Mr. Storman, you understand you're still under
 25    oath; right?


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  1           A.    Yes.
  2           Q.    And we were just talking about when you would
  3    upload files to RomUniverse.com, and there was indication
  4    that those files were ROMs for various Nintendo games; did
  5    you have any reason to believe that they were not, in fact,
  6    ROMs for Nintendo games?
  7           A.    Not necessarily, but without me -- without a
  8    verification, I couldn't say for sure whether or not
  9    those -- those were.
 10           Q.    Right, you --
 11           A.    So it indicated on the web -- indicating things
 12    on the web site didn't necessarily mean that the files were
 13    tested for validity.
 14           Q.    Right.
 15                 You hadn't verified it, but you did think they
 16    were ROMs from Nintendo games; right?
 17           A.    I didn't have any -- any reason to think that
 18    they weren't.
 19           Q.    And you said that you would categorize the ROMs
 20    that were uploaded; what did you mean by that?
 21           A.    I don't think I said I, I think I said there was
 22    categorization of consoles.       That -- that stuff wasn't
 23    really done by me.      Categorizing of files and things of
 24    that nature, the admins did what they -- what they thought
 25    was necessary.


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  1           Q.    Okay.   So at no point did you categorize any of
  2    the Nintendo ROMs; right?
  3                 You didn't put the Nintendo ROM in the Nintendo
  4    Switch category, the admins did that?
  5           A.    That is correct.
  6           Q.    Where was the data for these Nintendo ROMs and
  7    other ROMs stored?
  8           A.    The data was stored on the -- a server, a file
  9    server.
 10           Q.    What company owned the file servers?
 11           A.    I believe it was Hurricane Electric.
 12           Q.    And you had some sort of agreement with them for
 13    the storage space?
 14           A.    That is correct.
 15           Q.    Okay.   And that agreement was essentially you
 16    paid them a certain amount of money, and they allowed you
 17    to store data on their servers?
 18           A.    That is correct.
 19           Q.    And you could delete that data, you could delete
 20    the ROMs; right?
 21           A.    I could delete any data that's on that server;
 22    correct.
 23           Q.    You could block users from visiting
 24    RomUniverse.com?
 25           A.    There -- there was users that were blocked,


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  1    correct.
  2           Q.    And you could change the appearance of the web
  3    site; right?
  4           A.    That is correct.
  5           Q.    You could change what ROMs were available or not
  6    available on the web site?
  7           A.    That is correct.
  8           Q.    There was a premium membership option for
  9    RomUniverse.com; right?
 10           A.    That is correct.
 11           Q.    And you offered users the ability to purchase
 12    that premium membership for $30 a year?
 13           A.    It was -- it kind of varied.       There was a yearly
 14    membership, and then there was a lifetime membership
 15    where -- and I think at -- I think at one point it was
 16    yearly, and then it changed to just $30 outright.
 17           Q.    What were the benefits of purchasing the premium
 18    membership?
 19           A.    Faster download speeds, more concurrent
 20    downloads, more than the one that they were currently
 21    offered or allowed to.
 22                 I'm trying to think of any other benefit.          I --
 23    I don't recall what the other -- the other points were.
 24           Q.    And when you say faster download speed, you mean
 25    if you were a premium user, and you paid that $30, you


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  1    could download the ROMs at a higher speed than a member
  2    that didn't pay the -- the membership fee?
  3           A.    That is correct.
  4           Q.    And the more -- did you say more connections for
  5    downloads?
  6           A.    Yeah, I mean, that they can download concurrent
  7    files --
  8           Q.    I see, so --
  9           A.    -- more than one.
 10           Q.    -- a premium user could download multiple files
 11    at the same time, multiple ROMs at the same time, and a
 12    free user could only download one ROM at a time?
 13           A.    That is correct.
 14           Q.    Was there any benefit to, for instance, being
 15    able to download the number of total ROMs a user could
 16    download?    For instance, could a premium member download as
 17    many ROMs as they wanted, while a free user was only
 18    limited to, for instance, five a day or something?
 19           A.    I think that -- I think that limitation was
 20    (audio interruption) --
 21                 THE COURT REPORTER:      We lost your audio.
 22                 MR. MARCELO:    I lost your audio, Mr. Storman.
 23                 Let's go off the record for a second.
 24                 THE VIDEOGRAPHER:     Going off record.      Time now
 25    is 10:08 a.m.


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  1                       (Recess at 10:08 a.m.)
  2                       (Reconvened at 10:011 a.m.)
  3                 THE VIDEOGRAPHER:     Back on record.      Time now is
  4    10:11 a.m.
  5                 MR. MARCELO:    Madam Court Reporter, can you
  6    reread the last question, because I think we missed Mr.
  7    Storman's answer.
  8                       (Reporter read back as requested.)
  9           A.    Yeah, so there was -- there was a limit on the
 10    number of -- at one time there was a limit to the number of
 11    files that a regular user could download, and then a
 12    premium user didn't have that limitation.
 13           Q.    Understood.
 14                 So if you open up Exhibit-11.
 15                       (Exhibit-11 marked.)
 16           Q.    For the record, this is the complaint filed by
 17    Nintendo in this lawsuit.
 18           A.    Okay.
 19           Q.    Do you recognize the document?
 20           A.    Yes, I do.
 21           Q.    And it's the complaint that Nintendo filed and
 22    served; right?
 23           A.    Correct.
 24           Q.    Okay, if you can go to page 11 of the complaint.
 25           A.    Page 11, okay.


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  1            Q.    You see under paragraph 37, there's a screen
  2    shot?
  3            A.    Yes, I see that.
  4            Q.    And the screen shot, you recognize that as a --
  5    a screen shot as part of the RomUniverse web site?
  6            A.    Yes, that looks familiar.
  7            Q.    Okay.    And it's about the benefits for upgrading
  8    to premium; right?
  9            A.    That is correct.
 10            Q.    So there's a list of benefits, the first one
 11    being "Download 20 files at once"; right?
 12            A.    Correct.
 13            Q.    And that's what you were talking about, that a
 14    user that's a premium user and paid for this membership
 15    could download at the same time 20 different ROMs, while a
 16    free user could only download one ROM?
 17            A.    Yeah, they could download files.       I'm not going
 18    to call these, because there was other additional files on
 19    the web site besides Nintendo content.
 20            Q.    I see.
 21                  And they also had unlimited downloads of all
 22    their content on the web site, the Nintendo content and the
 23    other content?
 24            A.    Unlimited downloads.
 25                  That is correct.


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  1           Q.    And unlimited speed, does that mean the free
  2    users were capped at a download speed while the premium
  3    users could download at whatever internet speed they had?
  4           A.    That is correct.
  5           Q.    The fourth bullet, what is access to premium --
  6    premium only content?
  7           A.    I don't -- I think a while ago there was content
  8    that was limited, meaning that -- limited to specific
  9    users, like guests, or normal members could only download
 10    from one category, and then premium members could download
 11    from all the categories.       I think -- I think that's
 12    originally what this -- what this was.
 13           Q.    And by categories, do you mean, for instance,
 14    the free user might be able to download Nintendo DS ROMs,
 15    but a premium user could download Nintendo Switch ROMs and
 16    all the other ROMs or files on the web site?
 17           A.    Yes, I -- I would -- I would agree with that
 18    statement.
 19           Q.    And the last bullet point, "Get entered into
 20    giveaways for a chance to win cool merchandise."
 21                 Did you ever give away merchandise to premium
 22    users?
 23           A.    There was one time that I did.        I gave away -- I
 24    bought a 3DS, I believe, and gave it away to actually,
 25    coincidentally enough, there was somebody nearby where I


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  1    lived that got that.
  2           Q.    Okay.
  3           A.    And it was -- it was just like a random drawing
  4    where I went through and got a list of premium members, and
  5    then randomized it, and then picked a -- a random premium
  6    member.
  7           Q.    Do you recall if there were any other benefits
  8    that premium users, the ones that paid this fee, had that
  9    free users did not have?
 10           A.    I don't -- I don't recall.       Not that I'm aware
 11    of.   Not that -- not that rings a bell or comes to my brain
 12    right away.
 13           Q.    You used the payment processor Gumroad to
 14    process these premium fees; right?
 15           A.    Correct.
 16           Q.    Did you use any other payment processors?
 17           A.    So before I used Gumroad, there was -- let me
 18    back up.    Let me go back far -- go back to almost the
 19    beginning.
 20                 Originally I was using PayPal, and then
 21    PayPal -- I stopped using PayPal because they stopped
 22    allowing me to -- to utilize their service.
 23           Q.    When did you --
 24           A.    I don't remember -- I'm sorry, say again?
 25           Q.    When did you start using PayPal to process the


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  1    payments for these premium fees?
  2           A.    So that was in two-thousand-and -- I think 2010
  3    or so.
  4           Q.    And when did you -- when did PayPal stop
  5    providing their services as the payment processor?
  6           A.    I want to say two-thousand-and-maybe-twelve or
  7    so.
  8           Q.    And then at that point you switched to using
  9    Gumroad as the payment processor for these premium fees?
 10           A.    No, there was other payment processors during
 11    that time.    I -- I -- I just don't remember off the top of
 12    my head or have any -- I just don't remember what the
 13    names -- the names of the processors were, but it was -- it
 14    was a temporary thing.      Maybe for like a month I would use
 15    a payment processor, and then another month I -- there
 16    were -- you know, I would stop using that one, and then I
 17    would go to another one.
 18           Q.    When did you --
 19           A.    I -- I just don't remember the -- the names.
 20           Q.    When did you start using Gumroad as the payment
 21    processor for these premium fees?
 22           A.    So it was probably around two-thousand-and -- I
 23    don't remember.      I don't remember the -- the exact date.         I
 24    want to say maybe 2016; 2016, 2017, somewhere around there.
 25           Q.    Okay.   And you were offering the premium


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  1    memberships since about 2010; right?
  2           A.    That is correct.
  3           Q.    Did the price change at all, or was it always
  4    $30?
  5           A.    I think it changed.      I think the original price
  6    was $28, and then $28 for a lifetime, and then it switched
  7    to $60 for a lifetime, that was a temporary thing, and then
  8    it switched to $60 a year, and then it switched to 30 a
  9    year, and 30 a lifetime.       It was always -- it was always
 10    changing.
 11           Q.    Do you remember when it changed to $30 as a
 12    one-time fee for lifetimes?
 13           A.    I want to say two-thousand-and -- 2017 or so.
 14           Q.    And so before that, it was $30 annually; right?
 15           A.    I believe that's correct.
 16           Q.    When did it switch to being $30 annually?
 17           A.    When did it switch to being $30 annually?
 18           Q.    Right, so I guess we can start at the -- at the
 19    end.
 20                 So is $28, you said, for a lifetime initially,
 21    that was the first price?
 22           A.    Correct.
 23           Q.    And that was from 2010 until when?
 24           A.    That was from 2010 until like
 25    two-thousand-and -- honestly, I -- I don't even remember.


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  1    It's just a guess, it's an estimate, I don't really know
  2    the exact date, but I want to say it was that way for maybe
  3    two years, two or three years.
  4           Q.    Okay.   And then it switched to $60 for a
  5    lifetime; right?
  6           A.    Correct, then it went to 60 for a lifetime --
  7           Q.    And how long was it $60 for a lifetime,
  8    approximately?
  9           A.    Not very long.     It was probably only a few
 10    months.
 11           Q.    And then it switched to $60 annually; how long
 12    was it at that price?
 13           A.    At $60 annually?     Probably another two months or
 14    so.
 15           Q.    And then it switched to $30 annually; do you
 16    recall how long it was at that price?
 17           A.    A few years I'm assuming, I'm guessing.
 18           Q.    Okay.   What account is connected with the
 19    Gumroad payment processor on RomUniverse.com?
 20           A.    What do you mean?
 21           Q.    Well, there's an account that you gotta sign up
 22    with -- there's an account that you had to sign up with
 23    with Gumroad; right?
 24           A.    That is correct.
 25           Q.    And what account did you use to sign up for that


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  1    payment processing?
  2           A.    It was admin@romuniverse.com.
  3           Q.    Do you recall using an account called Namrots,
  4    N-A-M-R-O-T-S?
  5           A.    Namrots.
  6                 Oh, yes, I do recall that, correct.
  7           Q.    And is that the account connected with the
  8    Gumroad payment processing?
  9           A.    That is correct.
 10                 So there was two accounts that I opened, one
 11    with Namrots, one with admin@romuniverse.com -- or
 12    admin@namrots.com, and the other one is
 13    admin@romuniverse.com.
 14           Q.    And both accounts were used in connection with
 15    the premium fees paid at RomUniverse.com?
 16           A.    So one was used for maybe a month.         The
 17    admin@romuniverse account was used for maybe a month or so,
 18    and then I used the admin@namrots.com.
 19           Q.    Now, Hector Storman is listed as the owner of
 20    the Namrots account; who is Hector Storman?
 21           A.    That's my father.
 22           Q.    Is he the owner of the Namrots account?
 23           A.    No, I'm the owner of the Namrots account.
 24           Q.    Is Hector Storman involved at all with
 25    RomUniverse.com?


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  1           A.    Not at all.
  2           Q.    Why is he listed as the account holder for the
  3    Namrots account that's connected to payment processing for
  4    RomUniverse premium fees?
  5           A.    So Namrots would -- was actually -- so there
  6    was, again, intermediary payment prosser -- processors.              So
  7    I would actually utilize Namrots as a payment processor for
  8    RomUniverse.    They utilized Namrots -- or they used --
  9    utilized Gumroad.
 10           Q.    Sorry, so explain again how -- how Namrots and
 11    Hector Storman is connected to RomUniverse?
 12           A.    So Namrots is -- so Namrots was the payment
 13    processor for RomUniverse.       Rom -- Namrots used Gumroad as
 14    the ad payment processor as well, so in addition to.            So
 15    RomUniverse would -- or myself -- would utilize the Namrots
 16    Gumroad account to process payments.
 17           Q.    Was Hector Storman aware that you were using his
 18    Namrots account to process these payments?
 19           A.    Yes.
 20           Q.    And he was aware what these payments were for?
 21           A.    No.
 22           Q.    Did he receive any of the fees that were paid to
 23    become a premium member at RomUniverse.com?
 24           A.    No.
 25           Q.    Was Hector Storman an admin for RomUniverse.com?


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  1           A.    No.
  2           Q.    Now, you advertised these premium memberships as
  3    various gifts through RomUniverse; right?
  4           A.    I'm sorry, say -- repeat the question.
  5           Q.    Sure.
  6                 You advertised these premium memberships as
  7    gifts through -- gifts, G-I-F-T-S -- through
  8    RomUniverse.com, right?
  9           A.    As gifts.
 10                 Yes.
 11                 I mean, they -- they could be.        They could be
 12    given away to somebody else, that is correct.
 13           Q.    Go ahead and open up Exhibit-22.
 14           A.    Okay.
 15                        (Exhibit-22 marked.)
 16           Q.    This is a PDF pulled -- that was pulled from
 17    RomUniverse.com.
 18                 Do you recognize this?
 19           A.    Yes.
 20           Q.    Okay.   And what is it?
 21           A.    It was -- it was an idea that I had to hand out
 22    to people in person.      It was -- it never -- it never did
 23    anything, and I never went anywhere with it.          It was just
 24    like an advertisement.      It was never printed out or -- or
 25    distributed to anybody by me.


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  1           Q.    Okay.     But it was available on the
  2    RomUniverse.com web site?
  3           A.    That is correct.
  4                         (Audio interruption.)
  5                 THE WITNESS:     Wait, did you guys hear that?
  6                 THE VIDEOGRAPHER:      Yes.
  7                 MR. MARCELO:     Can we go off the record for a
  8    moment?
  9                 THE VIDEOGRAPHER:      Going off record.      Time now
 10    is 10:27 a.m.
 11                         (Recess at 10:27 a.m.)
 12                         (Reconvened at 10:32 a.m.)
 13                 THE VIDEOGRAPHER:      Back on record.     Time now is
 14    10:32 a.m.
 15           Q.    Mr. Storman, you understand you're still under
 16    oath; right?
 17           A.    Yes.
 18           Q.    Backtracking a little bit, you were using these
 19    promotions shown in Exhibit-22 to promote the
 20    RomUniverse.com web site; right?
 21           A.    That is correct.
 22           Q.    And to promote the sale of the premium
 23    memberships to the web site; right?
 24           A.    That is correct.
 25           Q.    Okay, now on Exhibit-22 it says "The Ultimate


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  1    Gamer's Birthday Gift"; do you see that?
  2           A.    Yes, I see that.
  3           Q.    And then it says "Buy a premium unlimited
  4    account for someone special"; right?
  5           A.    That is correct.
  6           Q.    It says "Gift for," and then "From."
  7           A.    Mm-hm.
  8           Q.    And then underneath that, can you read to me
  9    that sentence?
 10           A.    All right, it says:      1000s of game roms, movies,
 11    isos, e-books.     Including Switch, Wii, 3DS/DS, GBA and more
 12    Unlimited downloads for only $30.
 13           Q.    Okay.    So you were promoting that if you bought
 14    this premium membership for somebody, they could have
 15    unlimited downloads of the Switch, Wii, 3DS, Game Boy
 16    Advance, and more of the Nintendo ROMs; right?
 17           A.    That is correct.
 18           Q.    Did RomUniverse.com track the number of times
 19    users downloaded the various ROMs on the web site?
 20           A.    It -- it tracked the clicks of the download
 21    button.     It didn't necessarily track a completed download,
 22    because it had no -- it has no way to verify that.
 23           Q.    So it tracked if somebody had navigated to that
 24    ROM, pressed download, that would count one as a download
 25    whether or not they canceled it; right?


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  1           A.    Well, whether or not they canceled it, or it was
  2    completed, or an issue on the server.         If there was an
  3    issue with the actual file, it would still count that as a
  4    download.
  5           Q.    And that number that used to track those
  6    downloads, that used to be available on the RomUniverse.com
  7    web site, right, people could see that number?
  8           A.    Yes.
  9                 And it's -- it's interesting because that
 10    value -- so it showed downloads in the front end, the
 11    actual database value said download requests, and that's
 12    the value that got incremented.        So it's as many -- it's --
 13    that's -- so that value is the amount of requests for that
 14    file to be downloaded.
 15           Q.    Essentially the number of times users attempted
 16    to download that ROM; right?
 17           A.    I would -- I would say that's true, yes.
 18           Q.    Okay.   When were the download numbers that used
 19    to be displayed on the RomUniverse web site removed from
 20    the web site?
 21           A.    I -- I do not know.      I don't -- I don't have
 22    that information.
 23           Q.    Was it immediately after Nintendo filed its
 24    lawsuit?
 25           A.    I know that those values existed prior to the


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  1    lawsuit.    I -- I don't -- actually, can I say that?          I
  2    don't remember the -- I guess what -- what I should maybe
  3    backtrack a little bit and say that I don't really know or
  4    remember seeing those because I had not visited those --
  5    that section in a year or so.        So I couldn't say -- I
  6    couldn't say when those values were removed.
  7           Q.    Were you the one that removed the values from
  8    being displayed on the web site?
  9           A.    No.
 10           Q.    Who did?
 11           A.    I do not know.
 12           Q.    Was it one of the admins?
 13           A.    I don't believe so.      I think that what I -- what
 14    I found is that I periodically uploaded or updated the
 15    software that -- or I'm going to say the content management
 16    sys -- software that the web site runs on, and I think what
 17    had happened is during that update, it removed values for
 18    that download plug-in.      If -- I know it's kind of confusing
 19    of what I'm trying to say, but what I'm saying is that an
 20    update to the system may have removed those values.
 21           Q.    Let's open Exhibit-29.
 22           A.    Okay.   Okay, I see that.
 23                       (Exhibit-29 marked.)
 24           Q.    This is a screen shot from the Wayback Machine,
 25    which is the webarchive.org.


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  1                   Have you ever used the Wayback Machine before?
  2             A.    Yeah, I have.
  3             Q.    And you know what it is generally?
  4             A.    Yes, generally I do.
  5             Q.    And what is it?
  6             A.    It's just a -- it keeps, I think, caches, and
  7    stores web sites and their data that exists on the web
  8    sites for archival purposes.
  9             Q.    Okay.   And so this a screen shot from the
 10    Wayback Machine from March 18th, 2019; do you see that?
 11             A.    I see that, correct.
 12             Q.    And does this appear to be a screen shot of
 13    RomUniverse.com?
 14             A.    Yes, it does.
 15             Q.    Okay.   So on the March 18th, 2019, screen shot,
 16    you'll see on the right side, it says "Downloads"; right?
 17             A.    Correct.
 18             Q.    And these are what we were discussing, the
 19    various times users attempted to download ROMs from these
 20    different categories; right?
 21             A.    That is correct.
 22             Q.    Okay.   And so, for instance, on the bottom of
 23    the first page, one of the categories is "Nintendo 3DS
 24    Roms"?
 25             A.    Yes, that is correct.


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  1            Q.    And it states that there were over 3,000 files?
  2            A.    That is correct.
  3            Q.    And the downloads that listed as 392,201
  4    downloads?
  5            A.    That is what it says, correct.
  6            Q.    Okay.   And if you scroll down to page 3, the
  7    first category listed, "Nintendo Switch Roms"; right?
  8            A.    You mean page 4?    Wait.
  9            Q.    Of the PDF.
 10                  Sorry, it would be page 5 of the PDF.
 11            A.    Oh, gotcha.
 12                  Okay, yes, I see that.      That's correct.
 13            Q.    Okay.   And so the screen shot from the
 14    RomUniverse.com web site as of March 18th, 2019, lists that
 15    there was 185,492 attempted downloads of Nintendo Switch
 16    ROMs?
 17            A.    That is correct.
 18            Q.    And these -- you recall these download numbers
 19    as they're shown here being visible on the RomUniverse.com
 20    web site; right?
 21            A.    That is correct.
 22            Q.    And let's go back to Exhibit-11.
 23            A.    Okay.
 24            Q.    Go to page 7 -- or apologies, page 8.
 25            A.    Okay.   All right, I see that.


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  1            Q.    Under paragraph 29, you see the screen shot?
  2            A.    Under paragraph 29.
  3                  Okay, wait.   Page 8 in the PDF or page 8 of the
  4    actual file itself?
  5            Q.    Page 7 of the complaint, page 8 in the PDF.
  6            A.    Okay.   Okay, so yes, I see number 29, correct
  7            Q.    Okay, and there's a screen shot of RomUniverse
  8    underneath that; right?
  9            A.    Yes, that is correct.
 10            Q.    And this is a screen shot of the same categories
 11    that were shown in the prior exhibit; right?
 12            A.    That is correct.
 13            Q.    And so, for instance, one of the categories is
 14    "Nintendo 3DS Roms"; you see that?
 15            A.    Yes.
 16            Q.    And the download numbers there say 401,325;
 17    right?
 18            A.    That is correct.
 19            Q.    And I'll represent to you this screen shot was
 20    taken in September of 2019.       Do you recall these download
 21    numbers being available on the web site in September of
 22    2019?
 23            A.    I don't recall when -- I don't remember when
 24    those numbers were available.        I can see that you guys
 25    attached a screen shot, and it was in the complaint, but I


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  1    don't remember looking at the categories and seeing the
  2    actual counts.
  3           Q.    Sure.
  4                 Let's turn to Exhibit-28.
  5           A.    Okay, 28.    Okay.
  6                       (Exhibit-28 marked.)
  7           Q.    Now, this is the screen shot of the same
  8    categories from RomUniverse.com; do you see that?
  9           A.    Yes, I see that.
 10           Q.    And this was taken, you see the time stamp in
 11    the bottom left, on September 13th of 2019?
 12           A.    Yes, I see that.
 13           Q.    But in this screen shot, there are no download
 14    numbers for the various categories displayed; right?
 15           A.    That is correct.
 16           Q.    Now, the complaint Nintendo filed was filed on
 17    September 10th, and then served on you on September 12th;
 18    do you recall that?
 19           A.    That sounds right.
 20           Q.    And then the very next day, the download
 21    numbers -- on September 13th, the download numbers
 22    disappeared from the RomUniverse.com web site.
 23           A.    Okay.
 24           Q.    So are you saying that that's a coincidence that
 25    those numbers stopped being displayed the day after you


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  1    were served with Nintendo's complaint?
  2           A.    Um, I would say that, yes.
  3           Q.    You removed the download numbers after receiving
  4    the complaint; right?
  5           A.    I removed -- no, I did not remove the download
  6    numbers or the counts after receiving the complaint.
  7           Q.    Did you share the complaint with any of the
  8    admins after receiving the complaint?
  9           A.    I did not; however, it was posted on the
 10    internet, and I was contacted by news outlets wanting to
 11    discuss the complaint, so that complaint was available to
 12    everybody publicly.
 13           Q.    Well, you said these download numbers were
 14    removed from being able to be viewed because of some
 15    changes you had made to the web site generally; right?
 16           A.    That is correct.
 17                 So what I -- what I thought was when I updated
 18    the script to a newer version, that it -- the template had
 19    changed for -- for the RomUniverse site.
 20           Q.    But when you --
 21           A.    Now --
 22           Q.    -- changed this to a new template, that was
 23    after September 12th; right?
 24           A.    No, I didn't change it to a new template, I'm
 25    saying that the template may have changed when I updated


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  1    the software.
  2           Q.    Well, you updated the software after September
  3    12th, after you were served; right?
  4           A.    That is correct.
  5           Q.    And you did it before September 13th, before
  6    this screen shot was taken?
  7           A.    That is correct.
  8           Q.    Did you make any other changes to this liti --
  9    to this web site after the litigation began?
 10           A.    Inadvertent changes.      I would say the -- I would
 11    say the previous changes to the web site were inadvertent
 12    changes just based upon the software.         I don't recall any
 13    other -- I don't recall any changes that I've made to the
 14    web site after or since, after the complaint was filed.
 15           Q.    Other than the changes that removed these
 16    download numbers from being viewed?
 17           A.    Well, I would say inadvertent changes to the --
 18    to the download counts.
 19           Q.    Were there any other inadvertent changes after
 20    you received Nintendo's complaint?
 21           A.    I'm not sure.     I didn't -- I didn't really visit
 22    the web site on a -- on a regular basis after the complaint
 23    was filed.    So I --
 24           Q.    But you don't --
 25           A.    -- I don't keep track -- I don't keep track of


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  1    changes that are made to the site, especially since there's
  2    other people that have access to -- to the web site --
  3           Q.    So you don't know one way or --
  4           A.    -- as far as admins are --
  5           Q.    -- another whether changes were made to the web
  6    site after you received Nintendo's complaint?
  7           A.    That is correct.
  8           Q.    And you don't know one way or another whether
  9    you made changes to the web site after receiving Nintendo's
 10    complaint?
 11           A.    I don't know of any intentional changes.          I
 12    mean, I know of intentional changes, that if I had made
 13    intentional changes, I would know of those changes.
 14    Inadvertent changes to the web site, I would not know those
 15    changes.
 16           Q.    Well, did you change anything regarding the web
 17    site after you were served with the complaint?
 18           A.    Um, I don't recall any changes.        I don't recall
 19    any specific changes that I -- that I made, intentional
 20    changes.
 21           Q.    Let's go to what is marked in your list as
 22    Exhibit-11A.    This is actually Exhibit-A to the complaint.
 23           A.    Okay, I see this.
 24                       (Exhibit-11A marked.)
 25           Q.    Do you recognize this, Exhibit-A to the


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  1    complaint?
  2             A.    Yes, looks familiar.
  3             Q.    Okay.     And you see the -- the case stamp, a
  4    filing stamp, at the top of the document?
  5             A.    That is correct.
  6             Q.    Okay.     Now, Exhibit-A, it lists Nintendo's
  7    registered copyrights; do you see that?
  8             A.    Yes, I see that.
  9             Q.    And you don't dispute that Nintendo owns the
 10    copyrights listed in Exhibit-A; right?
 11             A.    I do not dispute that, correct.
 12                           (Exhibit-11B marked.)
 13             Q.    And Exhibit-B, if you open up Exhibit-11B.
 14             A.    11B.    Okay, I see that.
 15             Q.    That was also attached to the complaint listing
 16    Nintendo's registered trademarks; right?
 17             A.    Correct.
 18             Q.    And you don't dispute that Nintendo owns those
 19    trademarks listed in Exhibit-B?
 20             A.    That is correct.
 21             Q.    Does RomUniverse.com have a registered DMCA
 22    agent?
 23             A.    It does, yes.
 24             Q.    And who is that?
 25             A.    That's myself.


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  1           Q.    When did you register to become the DMCA agent
  2    for RomUniverse.com?
  3           A.    I believe it was February of 2020.
  4           Q.    Okay.   And prior to that, there was not a
  5    registered DMCA agent for the web site; right?
  6           A.    That is -- that is correct.
  7           Q.    And you received -- you allege that you received
  8    DMCA takedown notices from Nintendo; right?
  9           A.    That is correct.
 10           Q.    And you also assert there was an implied
 11    contract between you and Nintendo?
 12           A.    Yes, that's correct.
 13           Q.    What were the terms of that contract?
 14           A.    The way that I saw the implied contract was
 15    basically the DMCA takedown notices between -- that
 16    Nintendo had sent me, where it would talk about hey -- or
 17    where it would say -- I don't -- I don't remember that -- I
 18    don't remember the specific clause in the takedown notice,
 19    but it effectively said if you don't want to go to court,
 20    remove these -- remove the file that they were requesting
 21    or Nintendo was requesting to be taken down.
 22           Q.    Was every DMCA notice an implied contract?
 23           A.    To me, yes.
 24           Q.    Did you receive any other communications, other
 25    than DMCA takedowns, from Nintendo?


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  1           A.    No.
  2           Q.    Did you ever speak with anyone from Nintendo?
  3           A.    No.
  4           Q.    No phone calls with anyone?
  5           A.    That is correct, no phone calls.
  6           Q.    And did you ever respond to any of the DMCA
  7    takedowns?
  8           A.    I did.
  9           Q.    In email?
 10           A.    Correct.
 11           Q.    Now, you said you had produced all the
 12    correspondence with Nintendo.        We haven't seen any emails
 13    from you back to Nintendo.       Did you produce those
 14    documents?
 15           A.    I believe I -- didn't I -- I attached the
 16    infringement notices.
 17                 Just a second.
 18           Q.    I don't need you to look it up right now.
 19           A.    Yeah, I --
 20           Q.    You do recall responding to the emails from
 21    Nintendo?
 22           A.    That is correct.
 23           Q.    Okay.
 24           A.    No, I -- I didn't respond to every notice, but I
 25    did respond to most where I said file has been removed or


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  1    something similar to that.
  2           Q.    Okay.   So when you responded, it was generally
  3    to say that the specific file that was requested had been
  4    removed?
  5           A.    That is correct.
  6           Q.    So whenever you received one of these DMCA
  7    notices, you took the reported content down?
  8           A.    That is correct.
  9           Q.    How soon would you take them down after
 10    receiving the notice?
 11           A.    Within a day or so, day or two.
 12           Q.    Let's open Exhibit-1.
 13           A.    Okay.
 14                       (Exhibit-1 marked.)
 15           Q.    This is an email that you produced, sent Friday,
 16    November 9th, 2018; do you see that?
 17           A.    Yes, I see that.
 18           Q.    And is this one of the notices you're claiming
 19    that's a DMCA notice to you?
 20           A.    That is correct.
 21           Q.    Okay, and this notice was sent to
 22    admin@romuniverse.com, as well as abuse@enom.com, and
 23    support@gumroad.com; right?
 24           A.    That is correct.
 25           Q.    Was this a DMCA notice to you or to the


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  1    registrar?
  2           A.    So this was a notice to myself,
  3    admin@romuniverse, so -- well, I guess it was an -- it was
  4    an email to all three.      So it was an email to myself,
  5    admin@romuniverse, an email to the registrar, enom.com, and
  6    an email to the payment processor, Gumroad.
  7           Q.    Okay, and -- and they listed two files to be
  8    removed, right, at the bottom?
  9           A.    Let me see.
 10                 That is correct.
 11           Q.    And you removed both of those in response to
 12    this takedown?
 13           A.    That is correct.
 14           Q.    Let's open up Exhibit-16.
 15           A.    Exhibit-16.    Correct.
 16                       (Exhibit-16 marked.)
 17           Q.    This is a screen shot of RomUniverse.com taken
 18    June 18th, 2019; do you see that?
 19           A.    Yes, I see that.
 20           Q.    Okay, and you see at the very bottom the URL of
 21    this screen shot?
 22           A.    Correct.
 23           Q.    Now, if you can compare that URL with the first
 24    URL listed in Exhibit-1, they're identical; right?
 25           A.    That is correct.


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  1            Q.    Okay.   So you didn't take down that reported
  2    content, did you?
  3            A.    No, I did.   If you would have clicked on the
  4    premium, the download button, the actual file would have
  5    said file not found.
  6            Q.    So you're saying that you couldn't download this
  7    file?
  8            A.    That is correct.    If you clicked on the premium
  9    button or the fast download button, the actual file was
 10    removed.
 11            Q.    Now, Mr. Storman, that's not true, is it?
 12                  I'll represent to you this is one of the files
 13    Nintendo downloaded as part of this complaint, downloaded
 14    and played; so this file wasn't removed, was it?
 15            A.    No, it was removed.
 16            Q.    You're testifying under oath that you are
 17    certain that this file was removed?
 18            A.    I am saying that I go through all the DMCA
 19    notices, and I remove the files.        I don't re -- I do not
 20    remove the actual front-facing file, but I do remove the
 21    actual file itself.
 22            Q.    So you're saying it's impossible for Nintendo to
 23    have downloaded this content on June 18th of 2019; right?
 24            A.    No, I'm not saying it's impossible, I'm saying
 25    that maybe I skipped or did not remove that file, that's a


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  1    possibility, that I made a mistake in not removing the
  2    actual file, but --
  3           Q.    So you don't know one way or another whether you
  4    removed that file; right?
  5           A.    Usually I go through the list, the DMCA
  6    complaints, and I remove the files.
  7           Q.    But for this specific file, Splatoon 2, you
  8    don't know if you removed that file?
  9           A.    I do not.    I do not -- I go through the list,
 10    and then I move the DMCA or the takedown notice into
 11    another folder.      It is possible that I overlooked this one.
 12    If you guys -- look, if you -- if you were able to download
 13    it, then I obviously missed -- this file was not removed.
 14           Q.    Let's go to Exhibit-32.
 15           A.    Okay.
 16                       (Exhibit-32 marked.)
 17           Q.    Is this another one of the DMCA notices to you?
 18           A.    Yes, that is correct.
 19           Q.    And did you remove all the files reported to you
 20    in this DMCA notice?
 21           A.    I don't.    I don't remember removing this file.
 22                 Like -- like the other DMCA notices, and like I
 23    explained earlier, as I go through and receive them, I
 24    remove the file, and then I move the actual -- the actual
 25    takedown notice into another folder.         So it is possible


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  1    that some of these files got overlooked.
  2           Q.    So you don't know one way or another whether you
  3    removed these reported files from RomUniverse.com; right?
  4           A.    I don't know about these specific files, but I
  5    do know of files that I have removed from the site, but --
  6           Q.    Do you have a list of those files?
  7           A.    I don't have a list of those files.
  8           Q.    Then how do you know which files you removed
  9    from the site?
 10           A.    Because I would go through the list of -- of
 11    DMCA takedown notices, and then I would remove the files.
 12    And the ones that I did remove, I would respond to Nintendo
 13    that they had been removed.
 14           Q.    So any time you removed a file, you responded to
 15    Nintendo confirming that you did?
 16           A.    Ninety percent of the time I responded to
 17    takedown notices.     Nintendo isn't the only people that send
 18    takedown notices to the site.        There is other publishers of
 19    software that they believe files should get taken down, and
 20    I do the same, I respond when the file is taken down.
 21           Q.    But you agree any of the files that Nintendo was
 22    able to download in June of 2019, you had not removed, of
 23    course, those files even if you received a DMCA notice
 24    regarding them; right?
 25           A.    I would say that is correct.


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  1                 Inadvertently files -- files that are -- are
  2    DMCA take notices, for the most part, of what I -- of
  3    notices that I receive, I remove that content.           I don't
  4    remove the front-facing page, but I do remove the actual
  5    file to where that file would say file not found if
  6    somebody attempted to download it.
  7           Q.    On September 18th of this year, 2020, you made
  8    available Nintendo Super Mario 3D Allstars to be downloaded
  9    from RomUniverse; right?
 10           A.    I don't -- I don't know.       I don't recall.
 11           Q.    Did you grab the 3D -- the Super Mario 3D
 12    Allstars ROM from a torrent side or a ROM side and load it
 13    onto RomUniverse.com?
 14           A.    That does not sound like a file that I uploaded.
 15    And again, for the most part of files, those files are
 16    uploaded by admins.
 17           Q.    Is it possible that you uploaded that Super
 18    Mario 3D Allstars ROM to RomUniverse?
 19           A.    It doesn't ring a bell.
 20           Q.    But you don't know one way or another whether
 21    you did or did not?
 22           A.    That is correct.
 23           Q.    Did you upload any Nintendo ROMs to
 24    RomUniverse.com after September 12th, 2019?
 25           A.    I did not.


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  1            Q.    And you can be certain of that?
  2            A.    I'm pretty certain of that.
  3            Q.    You're pretty certain.
  4                  Do you know one way or another whether you went
  5    to another ROM site, grabbed a Nintendo ROM, and loaded it
  6    to RomUniverse.com?
  7            A.    I'm trying to think.     Just a second.
  8                  I would say I'm -- I'm almost a hundred percent
  9    certain that I haven't uploaded any content to the site
 10    within the last year or so.
 11            Q.    Did you direct any admins to load any content to
 12    the site in the last year?
 13            A.    In the last year?    No.
 14            Q.    Were you informed at all that any of the admins
 15    uploaded content to the RomUniverse web site in the last
 16    year?
 17            A.    I know that there was Discord messages in like
 18    the release category of Discord that showed that files were
 19    uploaded.     That's -- that's the extent of like a
 20    notification that I -- that I know.         I was never
 21    communicated with any other admin since the filing of the
 22    complaint that files had been uploaded.
 23            Q.    And you were saying notifications, that's
 24    because a notification gets sent out any time a new ROM, a
 25    Nintendo ROM or other ROM, gets loaded to the RomUniverse


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  1    web site; right?
  2           A.    That is correct.
  3           Q.    And you get those notifications as well?
  4           A.    I get -- the only notification that I got was in
  5    Discord.    I never got like emails or direct messages to me
  6    saying that there was files that were uploaded to the site.
  7    The only -- the only avenue for that or that existed at the
  8    time was when a file was uploaded to RomUniverse, it would
  9    advertise in Discord, in a release channel of Discord, that
 10    a file had been uploaded.
 11           Q.    But you received that notice in Discord when a
 12    ROM was uploaded to RomUniverse; right?
 13           A.    I would -- I -- I could go in and see when a
 14    file was uploaded, and everybody else could.          It wasn't
 15    just for me.
 16           Q.    Right.
 17                 And you received the notice that Nintendo's
 18    Super Mario 3D Allstars was uploaded to RomUniverse in
 19    September of 2020; right?
 20           A.    I have never -- I have never seen that.         I --
 21    again, I don't look at the -- the actual files that are
 22    uploaded.    I wouldn't know what file was uploaded.         Had I
 23    looked, maybe I would have noticed that, but I did not.             I
 24    didn't look in that -- in that -- that channel.
 25           Q.    On September 25th, Magistrate Judge Oliver


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  1    ordered you to produce three categories of documents:            Your
  2    tax returns, communications regarding Nintendo and
  3    RomUniverse, and the download count for the various
  4    Nintendo ROMs on RomUniverse; do you remember that?
  5           A.    I do.
  6           Q.    Okay, and you produced your tax returns for 2014
  7    through 2016; right?
  8           A.    That is correct.
  9           Q.    And you stated you did not file for taxes in
 10    2017 and 2018?
 11           A.    That is correct.
 12           Q.    Have you filed your 2019 taxes?
 13           A.    I have not filed the 2019 taxes.
 14           Q.    What was your income in 2019?
 15           A.    Um, income for 2019, I would guesstimate it to
 16    be around 30, maybe 30,000, 36?        I don't know, somewhere
 17    around there.
 18           Q.    You didn't produce any of the communications
 19    regarding Nintendo or RomUniverse that were found on
 20    Discord; right?
 21           A.    That is correct.
 22                 Are you saying -- I'm sorry, are you saying that
 23    I didn't?
 24           Q.    You did not?
 25           A.    That is correct.


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  1           Q.    Why didn't you?
  2           A.    Because I could not access the account any
  3    longer when I went to go through the many conversations
  4    that I've had with end users on the -- on the public side
  5    of that, of that channel.
  6           Q.    Did you close the Discord account?
  7           A.    No.
  8           Q.    You know who did?
  9           A.    I do not.
 10           Q.    Did any of the admins have the ability to close
 11    the Discord account?
 12           A.    I don't remember giving users access to the
 13    Discord account.      I do -- I do know that some -- excuse
 14    me -- I do know that some admins had access to the server
 15    but not access to the admin@romuniverse.com Discord
 16    account.
 17           Q.    By server, do you mean the RomUniverse.com
 18    server or the Discord server?
 19           A.    No, the Discord -- the RomUniverse.com Discord
 20    server.
 21           Q.    Are the same people, the same individuals that
 22    were admins for RomUniverse.com web site, were they admins
 23    for the Discord server?
 24           A.    Yes, they were.
 25           Q.    And -- but you don't know one way or another


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  1    whether those admins of the Discord server had the ability
  2    to close that Discord channel?
  3           A.    So I set up permissions -- excuse me.
  4                 So I set up permissions for the channel.          It's
  5    possible that I overlooked a setting that gave admins that
  6    I had assigned to delete the server.         Again, I have never
  7    given anybody access to my personal Discord login, and
  8    that -- that is the issue that I'm having is that I
  9    don't -- I am unable to log in to Discord with the
 10    admin@romuniverse.com account that I once had.
 11           Q.    And you're not aware of anyone else that has
 12    access to that Discord account?
 13           A.    That is correct.
 14           Q.    When did you first try to collect the
 15    information from Discord and found that you couldn't log in
 16    to the Discord account?
 17           A.    I think that was like the 7th.
 18           Q.    October 7th?
 19           A.    7th of October, I think so.
 20           Q.    Why did you wait until two days after you were
 21    ordered to produce that information to go to look for it?
 22           A.    I have -- I was having medical issues, and I was
 23    trying to find the information that I -- that I was looking
 24    for.   And by -- by that, what I'm talking about is the
 25    exhibits and stuff, I was going through all my paperwork to


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  1    see if I could find that.       I didn't.
  2                 I would just say that the reason for that is
  3    that I procrastinated.
  4           Q.    And you didn't produce the download numbers of
  5    the Nintendo ROMs either; right?
  6           A.    That is correct.
  7           Q.    And we had had a call September 28th regarding
  8    whether those numbers were available to you?
  9           A.    That is correct.
 10           Q.    And you had represented you were on track to
 11    produce the Discord communications and those download
 12    numbers; right?
 13           A.    That is correct.
 14           Q.    Okay, and then a few days later, we discussed
 15    taking the web site down; right?
 16           A.    That is correct.
 17           Q.    And specifically that the download numbers would
 18    still be available and preserved; right?
 19           A.    That is correct.
 20           Q.    Okay.   But now you can't access the data; right?
 21           A.    That is correct.
 22           Q.    And when did you try to collect those download
 23    number datas, is that October 7th as well?
 24           A.    The download numbers I tried to collect, that is
 25    correct, I think -- I believe around the same time, so


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  1    October 7th.
  2           Q.    Do you recall -- do you know why you could no
  3    longer access that data?
  4           A.    So I contacted the host and spoke with -- and
  5    not really spoke with him, but I created a ticket to them
  6    to ask them why I'm not able to access the data.            They
  7    responded that the data's corrupted or the VPS that
  8    RomUniverse.com was running on is corrupted.
  9           Q.    Can you open up Exhibit-17.
 10           A.    That is correct, I see this.
 11                       (Exhibit-17 marked.)
 12           Q.    And is this the communication you're referring
 13    to regarding discussions with the host of why you couldn't
 14    access the data?
 15           A.    That is correct.
 16           Q.    Is the host KnownSRV, is that the host?
 17           A.    That is correct.
 18           Q.    When did you start KnownSRV as the host for
 19    RomUniverse?
 20           A.    For probably the last year or so.
 21           Q.    So sometime since 2019?
 22           A.    Yes, I want to say probably -- probably the
 23    beginning of 2019.
 24           Q.    Was it before this lawsuit was initiated, you
 25    were already using KnownSRV as the host?


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  1           A.    Yes, that is correct.
  2           Q.    The last communication here is on October 9th.
  3    Did you have any further communications with this host
  4    regarding this issue?
  5           A.    Not with this issue, no.
  6           Q.    Did you have further communications with the
  7    host regarding RomUniverse.com?
  8           A.    No, I -- I had a generic -- I submitted a
  9    generic question because I wanted to see if they could
 10    clone the VPS that I had for RomUniverse so that I can try
 11    to troubleshoot and see if I can recover the data that was
 12    corrupted --
 13           Q.    What was their response?
 14           A.    -- but they said that they -- they said that
 15    they can't clone it, they would just have to create a whole
 16    completely new VPS.
 17           Q.    Do you know what they meant by "that the VPS has
 18    been corrupted"?
 19           A.    Yes.
 20           Q.    Can you explain?
 21           A.    Data can get corrupted if the system is shut
 22    down or a hard -- a piece of hardware fails, or -- usually
 23    those -- in my experience, those two things can cause data
 24    to get corrupted, especially when it comes to databases.
 25    It's -- it's kind of like shutting down your computer or


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  1    something when you're in the middle of something, or like a
  2    hard -- hard shutdown, when it's not a graceful shutdown,
  3    that's -- that could cause corruption.
  4                 And when I say corrupted, I mean that the data
  5    is corrupted and is no longer accessible.
  6           Q.    Did you do anything to corrupt the VPS?
  7           A.    No.
  8           Q.    Did you do anything to make this download data
  9    not available?
 10           A.    I did not.
 11           Q.    Do you know if any of the admins did anything to
 12    make the download data not available?
 13           A.    I -- I don't know.      I don't know why they would,
 14    so I -- I just can't say.       I can't -- I can't speak to what
 15    other people are doing, but I had -- I did not purposely
 16    corrupt any data.
 17           Q.    You didn't direct any of the admins to corrupt
 18    the data or make the download data not available?
 19           A.    Not at all.
 20           Q.    After the September 25th order from Judge
 21    Oliver, did you speak to anyone about that order?
 22           A.    No.
 23           Q.    You didn't speak to any family members about
 24    that order?
 25           A.    Nope.


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  1           Q.    You didn't speak to any friends about that
  2    order?
  3           A.    No.
  4           Q.    No admins about the order?
  5           A.    I spoke to no one.
  6           Q.    How about --
  7           A.    As far as I'm concerned -- as far as I'm
  8    concerned, this is my burden to bear and no one else's.
  9           Q.    How about the case generally after that order,
 10    did you speak to anyone about the case?
 11           A.    Did I speak to anybody -- after the 20 -- after
 12    the September 25th order, is that what you said?
 13           Q.    Right.
 14           A.    No.
 15           Q.    Can you pull up Exhibit-33.
 16           A.    Okay.
 17                       (Exhibit-33 marked.)
 18           Q.    Now, these are the phone records you produced to
 19    us; right?
 20           A.    That is correct.
 21           Q.    They show all the calls you made or received
 22    since September 1st of 2020 through October 29th, 2020?
 23           A.    That is correct.
 24           Q.    Okay, if you go to the second page of the PDF.
 25           A.    Okay.


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  1           Q.    And you see the third line.
  2           A.    One, two, three, okay.
  3           Q.    Or apologies, I meant -- yeah, the third line on
  4    October 26th, the day after --
  5           A.    Yes.
  6           Q.    -- the order came through?
  7           A.    Correct.
  8           Q.    You had an hour long call with Sarah Pratt; is
  9    that right?
 10           A.    That is correct.
 11           Q.    Is that your sister?
 12           A.    Yes.
 13           Q.    Okay.   And during that call, you didn't discuss
 14    this case?
 15           A.    Not at all.    It was -- it was a personal call
 16    about relationships.
 17           Q.    Okay.   And just generally, none of your
 18    siblings, or parents, or family members have access to
 19    RomUniverse.com, admin --
 20           A.    That is correct.
 21           Q.    None of them --
 22           A.    None of my family.
 23           Q.    None of them could have taken the web site
 24    off-line or changed the web site?
 25           A.    No.


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  1           Q.    Do you know an Anthony Domer?
  2           A.    Anthony Domer.
  3                 Sounds familiar.
  4                 Anthony Domer.
  5                 That name rings a bell, but I can't place it.           I
  6    don't -- I don't know where I've heard that name before.
  7           Q.    He's not connected to the RomUniverse.com web
  8    site though?
  9           A.    I don't believe so.
 10           Q.    Okay.   And he's not an admin for the web site?
 11           A.    Not that I'm aware of.      Unless -- unless that's
 12    a name of one of the admins, I would say no.
 13           Q.    But you haven't spoken to any of the admins by
 14    telephone; right?
 15           A.    That is correct.
 16           Q.    Are there any copies of the web site?
 17                 Do you have any copies of the web site?
 18           A.    I have -- I have looked through my personal
 19    computer, I've looked through USB drives, I've looked
 20    through everything that I -- that I -- that I could to
 21    exhaust searching and finding a backup.         I know that there
 22    was -- there was once a time, probably three, four years
 23    ago, where I was keeping backups, but when I switched to
 24    the new host, I wasn't, and I deleted all the other backups
 25    because I thought that the host was reputable -- reputable


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  1    enough to ensure that there wasn't these -- these issues.
  2           Q.    But to your knowledge, there's no copies or
  3    backups of the RomUniverse.com web site?
  4           A.    That is correct.
  5           Q.    Do you know if any of the admins have copies or
  6    backups of the RomUniverse.com web site?
  7           A.    Not that I'm aware of.
  8           Q.    Do you own a house?
  9           A.    No, I do not.
 10           Q.    Are you just renting right now?
 11           A.    That is correct.
 12           Q.    Okay.    Do you own a car?
 13           A.    Yes, I do.
 14           Q.    What type of car?
 15           A.    It's a 1996 Honda Prelude.
 16           Q.    Do you own any other vehicles, boat, RV,
 17    anything like that?
 18           A.    No, nothing like that.
 19           Q.    Any other permanent fixtures, land, property,
 20    like that?
 21           A.    No, nothing like that.
 22           Q.    No trust funds?
 23           A.    No.
 24           Q.    And you filed for bankruptcy in 2018; right?
 25           A.    That is correct.


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  1           Q.    What led to that?
  2           A.    I was divorced in 2014, and there was a huge
  3    number of debts that were amassed during my marriage, and
  4    those, in the divorce, became my responsibility, and there
  5    was no way possible that I could -- that I could afford
  6    that amount of -- pay off that amount of debt in a
  7    reasonable amount of time.
  8           Q.    And where does your income currently come from?
  9           A.    My income currently came from RomUniverse, but
 10    it was -- it was about -- I think right now it was about
 11    $800 a month that was being generated by that, and since I
 12    shut it off, I filed for unemployment.
 13           Q.    Okay.
 14           A.    Unemployment right now is my only source of
 15    income.
 16           Q.    Prior to shutting it off, RomUniverse was your
 17    main source of income?
 18           A.    Yes, correct.
 19                 It wasn't -- it wasn't a lot of -- a lot of
 20    money, but it was something that would allow me to pay rent
 21    or just the basic necessities.
 22           Q.    Any other sources of income?
 23           A.    I did have also like food stamps.        I have a food
 24    stamps card that I get like $192 a month, and that's what I
 25    use to buy food.


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  1           Q.    Any stocks, or 401(k), or other sources?
  2           A.    Nothing.
  3           Q.    Are you currently paying alimony?
  4           A.    No.    I haven't paid alimony or child support in
  5    a long time, and my kids were adopted last -- actually, the
  6    beginning of this year, and then I have a back --
  7    outstanding debt for child support of roughly $200,000.
  8           Q.    Okay.   You've been involved in other lawsuits;
  9    right?
 10           A.    Yes, I have.
 11           Q.    Do you recall a lawsuit with Barrett Pulver vs.
 12    Matthew Storman?
 13           A.    Yes, that's correct.
 14           Q.    What was that case regarding?
 15           A.    That case was regarding a previous place that I
 16    had lived in Buena Park.       The land -- the landlord passed
 17    away, and I didn't really have anywhere to go, so in lieu
 18    of that, there was an eviction process that was started,
 19    and that lawsuit was about evicting me from that property.
 20           Q.    Let's go back to Exhibit-11A.
 21           A.    11A.
 22           Q.    This is, again, the list of registered
 23    copyrights from Nintendo.
 24           A.    Okay.
 25           Q.    Now, you testified earlier that you had loaded


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  1    some ROMs, including Nintendo -- what were labeled as
  2    Nintendo ROMs to RomUniverse.com; did you ever load any of
  3    these Nintendo ROMs for these games to RomUniverse.com?
  4           A.    I honestly, I don't -- I don't know, but
  5    anything is possible.      I -- I never really kept track or
  6    tabs on some files that I've had.        I know that there may
  7    have been a request or two for some files, and if one of
  8    the admins didn't upload it, I would do it.          I don't
  9    know --
 10           Q.    Okay, so --
 11           A.    I don't know.
 12           Q.    So when a request would come in from a user for
 13    a specific ROM, you or an admin would go look for that ROM
 14    and load it to RomUniverse; right?
 15           A.    That is correct.
 16           Q.    And you've done that previously where someone --
 17    a user's requested a specific ROM, you've went and found
 18    that ROM and downloaded to RomUniverse.com?
 19           A.    Yes, absolutely.
 20           Q.    And you've done that for Nintendo games; right?
 21           A.    I believe so, yes.      I just -- I just -- I
 22    don't -- again, I don't keep track in my brain of files or
 23    a list of something that I -- that I maintain to keep -- to
 24    keep track of the files that I have once uploaded.
 25           Q.    And for the various Nintendo ROMs for the games


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  1    listed in Exhibit-A, you don't know one way or another
  2    whether those ROMs were playable after being downloaded
  3    from RomUniverse.com; right?
  4           A.    That is correct.
  5           Q.    But you'd agree, if, for instance, Nintendo did
  6    download the ROM from RomUniverse.com and played the game,
  7    then obviously the game itself was available?
  8           A.    I -- I could agree to that, yes.
  9           Q.    And Exhibit -- go to Exhibit-11B.
 10           A.    Okay.
 11           Q.    This is Nintendo's list of registered trademarks
 12    attached to the complaint.
 13                 Do you have any reason to doubt that when the
 14    Nintendo ROMs were launched and played by users, that these
 15    trademarks, one or more of them, appeared on the screen for
 16    the user?
 17           A.    In what -- in what aspect?       You mean of the --
 18    on the web site itself?
 19           Q.    Well, you agree that these trademarks did appear
 20    on the RomUniverse.com web site; right?
 21           A.    I would agree that -- I would agree that it's
 22    more -- a great possibility, yes.
 23           Q.    Okay.   And do you have -- and when a user
 24    downloaded the ROM, a Nintendo ROM, they could play the
 25    Nintendo game; right?


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  1           A.    If -- if the game was playable, then yes, I
  2    would say of course they could play it.
  3           Q.    Okay.
  4           A.    But I -- again, I don't know what was playable
  5    and what wasn't playable.
  6           Q.    And when one of those games that was downloaded
  7    from RomUniverse.com was -- was played, assuming it was
  8    playable, you have no reason to doubt that, for instance,
  9    you know, if they were playing Mario Party, that the Mario
 10    Party trademark would appear in the game; right?
 11           A.    Sure.   I -- I wouldn't doubt that, if it was
 12    playable.
 13           Q.    You asserted --
 14           A.    If it was -- if it was indeed an actual Nintendo
 15    ROM, then I would agree that it would be playable.
 16           Q.    You asserted counterclaims against Nintendo;
 17    right?
 18           A.    Correct.
 19           Q.    What were those counterclaims?
 20           A.    I don't recall what the counterclaims were.
 21           Q.    What was the basis for your counterclaims?
 22           A.    That Nintendo has to prove that the actual files
 23    were theirs and actually -- and the actual validity of the
 24    files were what Nintendo said that they were.           Meaning that
 25    just because somebody uploaded a file and listed it as say,


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  1    for example, Mario, doesn't necessarily mean that that file
  2    was playable.
  3                 I think that was the basis.
  4           Q.    Any other basis?
  5           A.    I think that was the general basis that I had.
  6    I would have to go over and look at the -- at the -- at the
  7    actual counter -- counterclaim.
  8           Q.    Going back a little bit, you testified that you
  9    previously used PayPal as a payment processor for the
 10    premium memberships; right?
 11           A.    That's correct.
 12           Q.    And that PayPal terminated those services?
 13           A.    That is correct.
 14           Q.    Why did PayPal terminate those services; did
 15    they tell you?
 16           A.    I don't remember what the reason why was.          I --
 17    I know that at the time I was selling Craig's List accounts
 18    or something in 2010 or -- or whatever, and that was
 19    against their -- their policy, and I think that they linked
 20    all of the accounts that I had, because I had different --
 21    different PayPal accounts for different things, like, you
 22    know, my personal PayPal account, and then I'd have one for
 23    this, one for NDSUniverse at the time, and I think that
 24    they bundled all those together and then just terminated
 25    everything.


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  1           Q.    So you don't know if they terminated it due to
  2    activities on RomUniverse.com or activities that you had
  3    elsewhere?
  4           A.    Exactly.    I don't remember what the reason was,
  5    but I -- I thought that there was a lot of charge-backs in
  6    this other business that I was undertaking, and I think
  7    that it met their -- it was over what their threshold was
  8    for charge-backs, and I think that they just terminated all
  9    the accounts.
 10           Q.    Do you own any other web sites currently that
 11    distribute ROMs or game files?
 12           A.    No.
 13           Q.    Have you previously owned any other web sites,
 14    other than RomUniverse.com or NDSUniverse.com, that
 15    distributed ROMs or other game files?
 16           A.    I'm trying to think.      I -- there was -- nothing
 17    that I can remember, so I'm going to say no.
 18           Q.    Okay, so just RomUniverse and NDSUniverse?
 19           A.    That is correct.
 20                 MR. MARCELO:    Let's go off the record.
 21                 THE VIDEOGRAPHER:     Going off record.      Time now
 22    is 11:30 a.m.
 23                       (Recess at 11:30 a.m.)
 24                       (Reconvened at 11:40 a.m.)
 25                 THE VIDEOGRAPHER:     Back on record.      Time now is


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  1    11:40 a.m.
  2            Q.    Mr. Storman, you understand you're still under
  3    oath?
  4            A.    Yes, I do.
  5            Q.    We were talking previously about the download
  6    count showing how many attempted downloads of files there
  7    were; do you recall that?
  8            A.    Yes.
  9            Q.    Okay.   And the -- as you testified, the web site
 10    showed how many times an individual pressed the button
 11    download to download the ROM or the Nintendo ROM; right?
 12            A.    Correct.
 13            Q.    And you would agree that many of those resulted
 14    in actual downloads of the ROM; right?
 15            A.    I can't begin to estimate or guess what
 16    percentage of that count is legitimate and what percentage
 17    is illegitimate.      I don't really -- I can't agree with a
 18    specific number because I don't -- I don't know what that
 19    number is.
 20            Q.    Well, you don't have any reason to believe that
 21    the -- the downloads, the attempted downloads, didn't
 22    result in actual downloads of those files; right?
 23            A.    Um, I guess not; however, there was issues with
 24    the site, there was issue with -- issues with files at
 25    specific times or dates that may have resulted in a larger


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  1    count because people were trying to redo downloading a file
  2    or initiating a file.      So I don't -- I don't really have
  3    that -- that -- that data.
  4           Q.    Well, you know, there were 400,000-something
  5    listed files -- attempted downloads of Nintendo 3DS files;
  6    do you recall that?
  7           A.    Mm-hm.   I do.
  8           Q.    You weren't inundated with complaints regarding
  9    the inability to download those 400,000 different files;
 10    right?
 11           A.    Correct.
 12           Q.    Okay.    So people weren't constantly complaining
 13    nobody can seem to download files from this web site to
 14    you; right?
 15           A.    Well, it wasn't really something that I really
 16    kept track of anyway.      People complaining, I didn't really
 17    care about them complaining if a file -- so here's what I'm
 18    trying -- what I'm trying to explain is that if there was a
 19    hundred thousand people that were complaining about a file,
 20    I wasn't really paying attention to that anyway.           Now, I'm
 21    not saying that that's true, I'm just giving you a
 22    generalization of kind of my mindset and the site.
 23           Q.    But you didn't receive a bunch of messages
 24    regarding those types of problems on your web site; right?
 25           A.    That is correct.


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  1           Q.    And it's your web site; right?
  2           A.    Correct.
  3           Q.    Okay.    And so with the admins, after Nintendo
  4    filed this lawsuit, you were aware that they were claiming
  5    the vast majority of the files on your web site infringed
  6    their copyrights; right?
  7           A.    Who -- who -- who was the admin?        Are you
  8    talking about me as the admin or --
  9           Q.    Sorry.   You were aware -- let me start over.
 10                 You were aware, after Nintendo filed its
 11    lawsuit, that it was alleging that the vast majority of the
 12    content on your web site, RomUniverse.com, infringed
 13    Nintendo's copyrights; right?
 14           A.    That is correct.
 15           Q.    But you didn't do anything after receiving that
 16    complaint to limit the other admins from what they could do
 17    on the web site?
 18           A.    I didn't, that is correct --
 19           Q.    You didn't --
 20           A.    -- because I -- I didn't -- I didn't want there
 21    to be something that I did or didn't do that would affect
 22    the outcome.    So I didn't know if me keeping the admins on
 23    there would somehow, or removing them, would somehow be an
 24    issue for this suit.
 25           Q.    You didn't prevent the admins from adding new


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  1    Nintendo content to the web site; right?
  2           A.    That is correct.     I didn't -- I didn't limit
  3    anyone or prevent anyone from either adding or not adding
  4    content.
  5           Q.    But you could have --
  6           A.    I didn't --
  7           Q.    -- right, because it's your web site?
  8           A.    That is possible, yes, that is true.
  9           Q.    You didn't prevent the admins from editing your
 10    web site, did you?
 11           A.    I did not prevent -- I did not remove access of
 12    any admins to what they originally had access to.
 13                 So the answer is, that's correct.
 14           Q.    And you didn't track or review what changes the
 15    admins were making to your web site, despite knowing that
 16    the web site was part of a lawsuit; right?
 17           A.    That is correct.
 18           Q.    And with the Discord channel, the same thing,
 19    you didn't change any of the admin privileges regarding the
 20    Discord channel for RomUniverse.com?
 21           A.    That is correct.
 22           Q.    Despite having notice from Nintendo regarding
 23    the RomUniverse.com web site and its infringement, you
 24    allowed the admins at Discord to continue without your
 25    review?


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  1            A.    That is correct.
  2                  There's no review -- there's no review
  3    functionality in Discord that requests or requests me,
  4    when -- that notifies me of something or a change that's
  5    been done within Discord.       The same thing goes for the web
  6    site.   It wasn't -- I guess the problem is maybe I put my
  7    trust into people that -- I think putting my -- my trust in
  8    people was -- and that assumption was wrong, but I didn't
  9    think that admins would have made changes to the site
 10    without -- without consulting me, and knowing that, I guess
 11    it is a possibility.
 12            Q.    But you didn't try to actively prevent them from
 13    making those changes; right?
 14            A.    That is correct.
 15            Q.    If you were to try to contact any of the admins,
 16    how would you do it right now?
 17            A.    I can't.   The -- the Discord server is the only
 18    communication and only access I had to the admins.
 19            Q.    But possibly and presumably --
 20            A.    And --
 21            Q.    -- their admin hand -- their -- their handles at
 22    Discord are the same for those admins?
 23            A.    It's possible, but I can't even access -- I
 24    don't have access to my account, so I can't even contact
 25    them.


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  1           Q.    Do you know the location of any of those admins,
  2    where they live?
  3           A.    I remember somebody being in like, I don't know,
  4    Denmark, I think.     I vaguely had a conversation with one of
  5    them at one point.      I really didn't delve too much into
  6    people's personal lives.       And when I say too much, it means
  7    like it was almost nonexistent.
  8           Q.    Mostly your conversations were focused on
  9    RomUniverse.com?
 10           A.    That is correct.
 11                 MR. MARCELO:    Okay, I think that's all the
 12    questions I have.
 13                 THE VIDEOGRAPHER:     All right, very well.       This
 14    concludes the deposition of Matthew Storman.          Time now is
 15    11:48 a.m.    We're going off record.
 16                       (Reporter requested clarification.)
 17                 MR. MARCELO:    Matthew, you can either agree to
 18    sign now or you can review the transcript to see if there's
 19    any changes that need to be made.
 20                 THE WITNESS:    I can sign now.      I think that
 21    that's fine.    It's not a problem.
 22                 THE COURT REPORTER:      So you're going to waive
 23    signature?    You don't want to review the transcript?
 24                 THE WITNESS:    No.
 25                 THE COURT REPORTER:      Thank you.


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  1                  Are you going to have this transcribed at this
  2     time?
  3                  MR. MARCELO:     Yeah, we don't need -- I assume
  4     video's still extra even though -- I assume; right?             So
  5     let's just get the transcript for now.
  6                        (Deposition adjourned at 11:48 a.m.)
  7                        (Signature waived.)
  8
  9
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  2
  3      STATE OF ARIZONA        )
  4                              )   ss.
  5      COUNTY OF MARICOPA      )
  6
                     I, the undersigned Registered Professional
  7      Reporter and Certified Court Reporter, hereby
         certify that the foregoing deposition upon oral
  8      examination was taken stenographically before me and
         transcribed under my direction;
  9
 10                  That the witness was duly sworn by me,
         pursuant to RCW 5.28.010, to testify truthfully; that the
 11      transcript of the deposition is a full, true, and correct
         transcript to the best of my ability; that I am neither
 12      attorney for, nor a relative or employee of, any of the
         parties to the action or any attorney or counsel employed
 13      by the parties hereto, nor financially interested in its
         outcome.
 14
 15                  I further certify that in accordance with CR
         30(e), the witness was given the opportunity to examine,
 16      read, and sign the deposition, within 30 days, upon its
         completion and submission, unless waiver of signature was
 17      indicated in the record.
 18
                     IN WITNESS WHEREOF, I have hereunto set
 19      my hand this 5th day of November, 2020.
 20
 21
 22
                     __________________________________________
 23
                     NCRA Registered Professional Reporter
 24                  Washington Certified Court Reporter No. 2661
 25


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URL
https //www romuniverse com/download/


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https //www romuniverse com/download/


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https //www romuniverse com/download/


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                                             Web Data Collection Report
Page Title
Downloads / Roms - GBA Roms, 3DS Roms, NDS Roms, Switch Roms, Wii and more! | RomUniverse

URL
https://web.archive.org/web/20190318211935/https://www.romuniverse.com/download/category/24/roms/

Collection Date
Mon Oct 12 2020 16:13:55 GMT-0700 (Pacific Daylight Time)

Collected by
CMarcelo@perkinscoie.com (CMarcelo@perkinscoie.com)

IP Address
198.22.100.222

Browser Information
Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/85.0.4183.121 Safari/537.36

Digital Signature (SHA256 / PKCS#1v1.5)
43733db91241c8c80d4bbfd06ac892ac64b32367c56d7cba12ff9d0220f315f9648282d98de
a19f9f3f4527427213dedac335e88d436d13c57e2d5f399e49cb96aaa968b095992048a38db
7dfd1002017001959f93f33a05a91639e1e6d99e1346b0fc666a1b0593a922f3a5d4372e6dd
f5dc70f29815daba2f643877f6304d3ae900f20c58277c1d1d9b97eb1c3ada5372508063278
e1b9041235193dd1531d7d6281427a486aae4d3365a5e92af8d9cadf234b6ee612db55f6690
988b6b7841a73300726a0bccf3746d51f6106da88c2668a9555c61e465a51be8a702dadc9d8
9fdbfa4ca863f35d51d323347b4eb8f6d7269308d422ffb109e6fd89886c06




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                                                                   File Signatures
SCREEN CAPTURE

MHTML
File Name
https-web.archive.org-web-20190318211935-https-www.romuniverse.com-Oct-12-20-16-13-55-GMT-0700-(PDT).mhtml

Hash (SHA256)
cee31cfd3323edec0adc233eb18017af659259931c13f605c4a94e86d2d4aaad

Signature (PKCS#1v1.5)
6b5712b2e6ebfefd02e3fbe6e1c22ce15c81f1d139d1d7f3684dd872f6be48c7800526f7224
279ea8aa8d107f5080710b68112725a015a8fde1a47827f4d86b956c0075969ca52650b0e0d
8a0f0e3e8cb1218ffeef195e3326676084575f1cf55c34391e1c7207514480c5bac6b240a7b
3e03dfe556280b05f3223169dbb65aa177b8aea0a5118f0e2598c018b2b7c3b5b027dfe957f
50a448c3265436e5130f9e0225169ce8af35a380e5f549e8f0c2d17dba13b40b37469bafe72
4ea27fd8b072a44a767556a065ed86b5c810b1c3fadf1262918f4daba290e8d58294e618478
7479809dc7cd386b58f214e1db9263045ab88bd86933133bce2b042cb3897a




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File Name                                                                                                                                           URL
https-web.a chive.o g-web-20190318211935-https-www. omunive se.com Oct-12-20-16-13 55-GMT-0700-(PDT)_0.jpg                                          https //web a chive o g/web/20190318211935/https //www. omunive se.com download/catego y/24/ oms/

Hash (SHA256)                                                                                                                                       Timestamp
067373a3b1a5d9b85a700727c4f28a155b4eb9f84986e5dbda330080d63e52ea                                                                                    Mon Oct 12 2020 16 13 55 GMT-0700 (Pacif c Daylight T me)


Signature (PKCS#1v1.5)
44a968980997c9aa888191677d46fefc97194567cbe52c4c7888f2467000f439ed3c8c376cbdf18f0808debc3bb7ee0cdc87
9c6f837c35480b2445ae6f7bc8d71f0a9be192141913bcb80ae21f0b0c35eec473342638b8f8325 840affa517317d8011cc
                                                                                                                                                                                                                                                        EXHIBIT 3
                                                                                                                                                                                                                                                         Page 114
6003feda0aa77bb8680e70577d5352d3ab1b4f92f410674e78ad39dfa3763004bdeaacfb64634b51add9c47a8383915e12bb
07151c8b408a84770483f715d0177810dc09769d50bf4b7953afdc23416d0464cf376721173e7c61cfe63b8e3d2137b0fb16
217c60179b647120ca011509ecf3a0ea104e1fa49f94fec624de913c4b56c6f0177bc08a3779606eb3728e2958a3aa98f49a
2d272ad19143
                                                                                                             Case 2:19-cv-07818-CBM-RAO Document 52-7 Filed 12/29/20 Page 115 of 241 Page ID
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File Name                                                                                                                                           URL
https-web.a chive.o g-web-20190318211935-https-www. omunive se.com Oct-12-20-16-13 55-GMT-0700-(PDT)_1 jpg                                          https //web a chive o g/web/20190318211935/https //www. omunive se.com download/catego y/24/ oms/

Hash (SHA256)                                                                                                                                       Timestamp
e3a30bba927 7a6746667d1772cd96cc8ef0c1abdcaf089a5ae20ca3eb2f12e7                                                                                    Mon Oct 12 2020 16 13 55 GMT-0700 (Pacif c Daylight T me)


Signature (PKCS#1v1.5)
10b5ce90520fb52eaf86e0c3fee7a1d5ee492365deeb165fc9c50d7c82dba519afdab07bfa92464c32da1f0ea85719936fad
aa9bf64e1d343117b62d3d8428569c291a36fbb5006385ba3f2802f019395d1530a380811ac520d7057223eb85eed6a657bd
                                                                                                                                                                                                                                                        EXHIBIT 3
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6ac41650d6ed28d666659778a7250b7cd1678b24d72b8ff1eeb118e 77b841363828177f40b0c801b804f4bc9793c93a5c85
f0f64e41961b8a2f1959b7a6b98b01fb073aa43399cc3b59fb9796d02181acdbdfd08a32f218f8c9a4289e2dd4f9c9d187d9
0bd9ec9f961e37d7c5833d5e3686b82bcc8cbb76149f57dd52854e6a5a7d44a5bb4ea140c7a23d3ddf92d6b30c3af3bf2ef3
b4d543551a7f
                                                                                                             Case 2:19-cv-07818-CBM-RAO Document 52-7 Filed 12/29/20 Page 116 of 241 Page ID
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File Name                                                                                                                                           URL
https-web.a chive.o g-web-20190318211935-https-www. omunive se.com Oct-12-20-16-13 55-GMT-0700-(PDT)_2.jpg                                          https //web a chive o g/web/20190318211935/https //www. omunive se.com download/catego y/24/ oms/

Hash (SHA256)                                                                                                                                       Timestamp
45a572733be7d0dcb080f9dba7b45d59cfa338c639a7cab079d9458824df85df                                                                                    Mon Oct 12 2020 16 13 55 GMT-0700 (Pacif c Daylight T me)


Signature (PKCS#1v1.5)
202fc6fef37d34574ca1789c947edab5ddd1ed02b1ace852e0a19f04df69ce97ffe6b8b4cbbcd7318201449aedc3151ba384
7b9d79d3667b72 6677db46551c0577cb7546ede957b0d6aa435530a4829a322f912c2c116eb3d557fcbfe0b7c34689f8e9c
                                                                                                                                                                                                                                                        EXHIBIT 3
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cab222b97257ab58dc31973064b79a594097ade8ca0d592f6a1b7e77e471307a73a0f444a33fc2286da6d6d4b0495f25d0a9
8012ceea7bb002135409d5403dbcdb47f381a40c1d9cc978f1c8c3d734782a5a0e1e30fbb3c5a31d1901a9a50a9ca63b730d
3f2c36aab4d454b6bb981f43154b4108b409c8908d04cadc2535b7c175796665c05a464466fb22e9e10878e69e0a4a123af5
d7666e8be15c
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URL
https //www romuniverse com/download/category/21/nintendo-3ds-roms


Timestamp
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URL
https //www romuniverse com/download/category/21/nintendo-3ds-roms


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URL
https //www romuniverse com/download/category/21/nintendo-3ds-roms


Timestamp
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URL
https //www romuniverse com/download/category/21/nintendo-3ds-roms


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URL
https //www romuniverse com/download/category/132/nintendo-switch-roms


Timestamp
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URL
https //www romuniverse com/download/category/132/nintendo-switch-roms


Timestamp
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URL
https //www romuniverse com/download/category/132/nintendo-switch-roms


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URL
https //www romuniverse com/download/category/132/nintendo-switch-roms


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https //www romuniverse com/download/


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https //www romuniverse com/download/


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https //www romuniverse com/download/


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https //www romuniverse com/download/


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https //www romuniverse com/download/


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URL
https //www romuniverse com/


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URL
https //www romuniverse com/


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   1   Katherine M. Dugdale, Bar No. 168014
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   3   Los Angeles, CA 90067-1721
       Telephone: 310.788.9900
   4   Facsimile: 310.788.3399
   5   William C. Rava (appearing pro hac vice)
       Christian W. Marcelo (appearing pro hac vice)
   6   WRava@perkinscoie.com
       CMarcelo@perkinscoie.com
   7   PERKINS COIE LLP
       1201 Third Avenue, Suite 4900
   8   Seattle, WA 98101
       Telephone: 206.359.8000
   9   Facsimile: 206.359.9000
  10
       Attorneys for Plaintiff
  11   Nintendo of America Inc.
  12
                              UNITED STATES DISTRICT COURT
  13

  14                        CENTRAL DISTRICT OF CALIFORNIA
  15

  16
         NINTENDO OF AMERICA INC., a          Case No. 2:19-CV-07818-CBM-RAO
  17     Washington corporation
                                              NINTENDO’S FIRST SET OF
  18                        Plaintiff,        INTERROGATORIES AND REQUESTS
                                              FOR PRODUCTION OF DOCUMENTS
  19                 v.                       AND THINGS
  20     MATTHEW STORMAN, an
         individual, JOHN DOES 1-10,
  21     individuals and/or corporations,
  22                        Defendants.
  23

  24

  25

  26

  27

  28
                                                                DISCOVERY REQUESTS


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   1             Pursuant to Rules 26, 33 and 34 of the Federal Rules of Civil Procedure, Plaintiff Nintendo
   2   of America Inc. (“Nintendo”), through its counsel, directs the following interrogatories and requests
   3
       for production of documents and things (“Requests”) to Defendant Matthew Storman
   4
       (“Defendant”). Defendant is to answer these Requests separately and fully, in writing, within thirty
   5
       days of the date of service, in accordance with Fed. R. Civ. P. 33 and 34, and the Definitions and
   6

   7   Instructions set forth below. Defendant must produce, within thirty days of service of these

   8   Requests, all responsive documents and tangible things that are within Defendant’s possession,

   9   custody, or control at the office of Perkins Coie, LLP, 888 Century Park East, Suite 1700, Los
  10
       Angeles, California 90067-1721, or as otherwise agreed to by the parties. These Requests impose
  11
       continuing obligations, and any supplementation and additional responsive documents or things
  12
       that may be discovered subsequent to the initial responsive production should be produced within
  13
       a reasonable time, pursuant to Fed. R. Civ. P. 26.
  14

  15                                                DEFINITIONS

  16        1. “Any” and “all” means “any and all.”
  17        2. “Date” means the exact day, month, and year, if ascertainable, or, if not, the best available
  18
                 approximation (including relationship to other events).
  19
            3. The term “Defendant” as used herein means Matthew Storman and companies owned or
  20
                 controlled by Matthew Storman as well as any divisions, or subsidiaries, past or present,
  21

  22             including, without limitation, the directors, officers, employees, agents, or attorneys thereof.

  23        4. The terms “you,” “your,” or “yourself” as used herein refers to Defendant as defined above.

  24        5. The term “Nintendo” as used herein means Plaintiff Nintendo of America Inc. and includes
  25             the directors, officers, employees, agents, or attorneys thereof.
  26
            6. The term “Litigation” shall mean the above-referenced action, 2:19-CV-07818-CBM-RAO.
  27
            7. The term “person” shall mean any natural person, individual, corporation, proprietorship,
  28
                                                            -1-                         DISCOVERY REQUESTS



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   1             partnership, association, joint venture, limited liability company, trust, company, firm, or
   2             other form of legal entity, organization, or arrangement.
   3
            8. The term “document” shall be synonymous in meaning and equal in scope to the usage of
   4
                 the term in Rule 34(a) of the Federal Rules of Civil Procedure and includes, without
   5
                 limitation, “writings and recordings” as defined by Rule 1001 of the Federal Rules of
   6

   7             Evidence.

   8        9. The term “thing” shall be synonymous in meaning and equal in scope to the usage of the

   9             term in Rule 34(a) of the Federal Rules of Civil Procedure, and includes without limitation,
  10
                 models, prototypes and samples of any device or apparatus or product.
  11
            10. The term “communication” as used herein means all written, oral, telephonic or other
  12
                 inquiries, dialogues, discussions, conversations, interviews, correspondence, consultations,
  13
                 negotiations,   agreements,    understandings,    meetings,    letters,   notes,   telegrams,
  14

  15             advertisements, and all other documents evidencing any verbal or nonverbal interaction

  16             between or among persons and/or entities.
  17        11. The terms “and,” “or,” and “and/or” as used herein shall be interpreted to include any item
  18
                 or combination of items identified in a Request, and shall not be interpreted to exclude any
  19
                 information otherwise within the scope of a Request.
  20
            12. The term “any” as used herein means one, some, or all of whatever quantity.
  21

  22        13. The terms “concerning,” “related to,” or “relating to” (or similar terms) as used herein shall

  23             be construed in the broadest possible sense, and shall mean without limitation and whether

  24             in whole or in part: referring to, constituting, bearing upon, commenting upon, reflecting,
  25             evidencing, pertaining to, describing, depicting, consisting of, containing, comprising,
  26
                 embodying, identifying, stating, discussing, analyzing, studying, summarizing, dealing
  27
                 with, relating to, or having any logical or factual connection whatsoever with the subject
  28
                                                          -2-                         DISCOVERY REQUESTS



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   1             addressed, regardless whether the factual connection is favorable to or adverse to you.
   2        14. The term “ROM image” means any digital file containing read-only memory.
   3
            15. The term “Nintendo ROM image” means any ROM image which contains read-only
   4
                 memory related to any Nintendo video games.
   5
            16. The term “Websites” means any website that you own or control which distributes Nintendo
   6

   7             ROM images, including but not limited to the websites resolving from the following

   8             domains: www.romuniverse.com and www.ndsuniverse.com.

   9        17. Unless the terms of a particular Request specifically indicate otherwise, these definitions
  10
                 are applicable throughout these Requests and are incorporated into each specific Request.
  11
       INSTRUCTIONS
  12
             1. In responding to these Requests, you are required to furnish all information that is available
  13
                     to you or subject to your reasonable inquiry, including information in the possession of
  14

  15                 your attorneys, accountants, advisors, representatives, agents or other persons directly or

  16                 indirectly employed by, or connected with, you or your attorneys, and anyone else
  17                 otherwise subject to your control. All documents that respond in whole or in part, to any
  18
                     portion of the Requests below shall be produced in their entirety, including all attachments
  19
                     and enclosures.
  20
             2. In construing these Requests, the plural shall include the singular and the singular shall
  21

  22                 include the plural; a masculine, feminine, or neuter term shall include all other genders.

  23         3. If you deem any documents or information sought by these Requests to be privileged or

  24                 otherwise protected from discovery, you must nevertheless identify for all information
  25                 and/or each document withheld, at least the following:
  26
                       a. The legal basis for withholding the document;
  27
                       b. The person asserting any claim of privilege and/or protection;
  28
                                                             -3-                         DISCOVERY REQUESTS



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   1                   c. The identity of every person with knowledge which either tends to support or tends
   2                       to refute the claim of privilege and/or protection;
   3
                       d. A description and identification of the requested document sufficient to frame an
   4
                           appropriate demand for the document and a motion to compel disclosure thereof,
   5
                           setting forth at least the following:
   6

   7                           i. The author and/or signatory of the document withheld;

   8                           ii. The date of the document withheld;

   9                          iii. The identity of the addressees and all others who have received or read the
  10
                                   document withheld;
  11
                              iv. The identity of those who have knowledge of the matters contained in the
  12
                                   document withheld;
  13
                               v. Whether the document withheld has any other documents appended to,
  14

  15                               included with, attached to, incorporated by, or referred to in the document

  16                               withheld;
  17                          vi. Whether other such documents have been produced; and
  18
                             vii. The subject matter and circumstances under which the document withheld
  19
                                   was created, in sufficient detail to ascertain applicability of the privilege or
  20
                                   other legal basis asserted. Notwithstanding a claim that a document is
  21

  22                               privileged or otherwise protected from disclosure, any documents so

  23                               withheld must be produced with the portion claimed to be protected excised.

  24         4. Responsive documents shall be produced as kept in the ordinary course of business or shall
  25                 be produced in a manner organized and labeled corresponding with the categories in these
  26
                     Requests in accordance with the Federal Rules of Civil Procedure. If there are no
  27
                     documents or things responsive to a particular Request, you should so state in writing.
  28
                                                              -4-                         DISCOVERY REQUESTS



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   1         5. In responding to these Requests, you must make a diligent search of your records and of
   2                 other papers or materials in your possession or available to you or your representatives.
   3
             6. If refusal to provide documents responsive to any Request is asserted on the grounds of
   4
                     burdensomeness, you should state in detail the reason(s) for your objection(s), including
   5
                     the number and nature of documents or records needed to be searched and/or produced,
   6

   7                 the location of the documents, the custodian of the documents, and the number of person

   8                 hours and costs required to conduct the search.

   9         7. If any Request is unclear or ambiguous to you, you are requested to contact undersigned
  10
                     counsel as soon as possible so that the Request can be clarified to avoid unnecessary delays
  11
                     in discovery.
  12
             8. If any responsive document is no longer in your possession or subject to your control, you
  13
                     should state what disposition was made of it, when such disposition was made, why such
  14

  15                 disposition was made and by whom such disposition was made. If any document herein

  16                 requested was formerly in your possession, custody or control and has been transferred,
  17                 lost or destroyed, you are requested to submit in lieu of each document a written statement
  18
                     which:
  19
                       a. Describes in detail the nature of the document;
  20
                       b. Identifies the person who prepared or authorized the document and, if applicable,
  21

  22                       the person to whom the document was sent;

  23                   c. Specifies the date on which the document was prepared or transmitted;

  24                   d. Identifies the person last known by you to have been in possession, custody or
  25                       control of the document; and
  26
                       e. Specifies, if possible, the date on which the document was transferred, lost or
  27
                           destroyed and, if destroyed, the conditions of and reasons for such destruction and
  28
                                                             -5-                         DISCOVERY REQUESTS



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   1                       the persons requesting and performing the destruction.
   2         9. After each document request, state whether all documents responsive to that request are
   3
                     being produced and indicate on each produced document (or in some other convenient
   4
                     manner) the number of the document request or requests to which it is responsive.
   5
             10. If no responsive documents exist for a requested category of documents, please so indicate.
   6

   7         11. If, after exercising due diligence, you are unable to determine the existence of any

   8                 documents or things falling within a Request, you shall so state in written responses as

   9                 required by Rule 34.
  10
                 These Requests impose a continuing obligation and require ongoing supplementation in
  11
       accordance with Fed. R. Civ. P. 26(e).
  12

  13                                            INTERROGATORIES

  14   INTERROGATORY NO. 1:

  15             Provide an accounting of the total revenue generated in connection with the Websites
  16   since January 1, 2009 through the present, including but not limited to, revenue earned through
  17
       advertisements, purchases of memberships, donations, cryptocurrencies from data mining, or any
  18
       other revenue of any kind from any source.
  19
       INTERROGATORY NO. 2:
  20

  21             Identify the total number of paid memberships for the Websites, by year, since January 1,

  22   2009 through the present.

  23   INTERROGATORY NO. 3:
  24
                 Provide an accounting of any and all of your expenses related to the Websites incurred
  25
       after January 1, 2009.
  26

  27

  28
                                                            -6-                       DISCOVERY REQUESTS



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   1   INTERROGATORY NO. 4:
   2             Identify the total number of ROM images distributed and/or downloaded through the
   3
       Websites, by year, since January 1, 2009 through the present.
   4
       INTERROGATORY NO. 5:
   5
                 Identify the total number of Nintendo ROM images distributed and/or downloaded
   6

   7   through the Websites, by year, since January 1, 2009 through the present.

   8   INTERROGATORY NO. 6:

   9             Identify the title of each and every Nintendo ROM image available for distribution and/or
  10
       download on the Websites since January 1, 2009 through the present, including, for each title, the
  11
       total number of times each Nintendo ROM image was downloaded, by year, since January 1,
  12
       2009.
  13
       INTERROGATORY NO. 7:
  14

  15             Describe in detail how ROM images are distributed using the Websites, including but not

  16   limited to how the ROM images are uploaded to the Websites, where the data for the ROM
  17   images are hosted or stored, and how users access and download the ROM images.
  18
       INTERROGATORY NO. 8:
  19
                 Identify the time period, by month and year, that you have owned and/or controlled each
  20
       of the Websites.
  21

  22   INTERROGATORY NO. 9:

  23             Exhibit A of Nintendo’s Complaint in this litigation provides a list of 37 Nintendo games.

  24   For each game, identify when the ROM image for that game was made available for distribution
  25   on the Websites and the total number of times, by year, each of those ROM images were
  26
       downloaded from or was distributed through the Websites since January 1, 2009.
  27

  28
                                                         -7-                        DISCOVERY REQUESTS



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   1   INTERROGATORY NO. 10:
   2             Identify each person or company that owns or controls, in whole or in part, the Websites.
   3
       INTERROGATORY NO. 11:
   4
                 Identify each domain or website you own or control that distributes ROM images or
   5
       resolves to a website that distributes ROM images.
   6

   7   INTERROGATORY NO. 12:

   8             Identify all administrators or users involved with maintaining or providing content to the

   9   Websites, including by providing their name, user name or screen name, phone number, mailing
  10
       address, and e-mail address.
  11
       INTERROGATORY NO. 13:
  12
                 For each administrator or user identified in response to Interrogatory No. 12, describe in
  13
       detail any compensation or benefit provided to the administrator or user, including by identifying
  14

  15   the form and amount of compensation.

  16   INTERROGATORY NO. 14:
  17             Describe in detail any and all changes you made to the Websites on or after September 10,
  18
       2019.
  19
       INTERROGATORY NO. 15:
  20
                 If you allege that under 17 U.S.C. § 512 you are not liable for monetary relief for the
  21

  22   infringement of Nintendo’s copyrights, identify the person designated as an agent to receive

  23   notifications of claimed infringement on the Website, including the date the identity of the agent

  24   was provided to the United States Copyright Office as required by 17 U.S.C. § 512(c)(2).
  25   INTERROGATORY NO. 16:
  26
                 If you allege that under 17 U.S.C. § 512 you are not liable for monetary relief for the
  27
       infringement of Nintendo’s copyrights, identify the specific URL on the Website where the name,
  28
                                                          -8-                         DISCOVERY REQUESTS



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   1   address, phone number and electronic mail address of the 17 U.S.C. § 512 designated agent is
   2   and/or was provided.
   3
       INTERROGATORY NO. 17:
   4
                 If you have ever been employed by Nintendo or worked as a contractor for Nintendo or at
   5
       a facility owned or controlled by Nintendo, provide a description of that employment including
   6

   7   your job title, a description of your job’s responsibilities, the beginning and end date of the

   8   employment, and the reason(s) such employment ended.

   9   INTERROGATORY NO. 18:
  10
                 In your Answer, you allege that “[t]here are two instances where an implied contract was
  11
       established between the Defendant and Plaintiff[.]” Identify all facts and documents that support
  12
       this allegation, including but not limited to the exact terms of any “implied contract” between you
  13
       and Nintendo.
  14

  15   INTERROGATORY NO. 19:

  16             In your Answer, you allege that “Plaintiff misrepresented the Defendants actions[.]”
  17   Identify each and every alleged misrepresentation and describe in detail how it is untrue.
  18
       INTERROGATORY NO. 20:
  19
                 Identify each and every feature or service available to premium members of the Websites
  20
       that is not available to non-premium members.
  21

  22   INTERROGATORY NO. 21:

  23             For each Nintendo ROM distributed or offered for download through the Websites,

  24   identify the source of the Nintendo ROM.
  25

  26

  27

  28
                                                         -9-                         DISCOVERY REQUESTS



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   1

   2                                   REQUESTS FOR PRODUCTION
   3
       REQUEST FOR PRODUCTION NO. 1:
   4
                 Produce documents sufficient to show the total number of paid memberships purchased
   5
       each year in connection with the Websites since January 1, 2009 through the present, including
   6

   7   the total revenue earned each year through these purchases.

   8   REQUEST FOR PRODUCTION NO. 2:

   9             Produce documents sufficient to show all revenue earned in connection with the Websites
  10
       since January 1, 2009 through the present, including but not limited to, revenue earned through
  11
       advertisements, purchases of memberships, donations, or other revenue.
  12
       REQUEST FOR PRODUCTION NO. 3:
  13
                 Produce all documents reflecting revenue generated in connection with the Websites since
  14

  15   January 1, 2009 through the present, including but not limited to receipts from the purchase of

  16   premium memberships, documents relating to PayPal or other payment processor accounts, and
  17   documents regarding any donations paid to you, including donations provided to you in
  18
       connection with this Litigation.
  19
       REQUEST FOR PRODUCTION NO. 4:
  20
                 Produce documents sufficient to show any and all of your expenses related to the
  21

  22   Websites incurred since January 1, 2019.

  23   REQUEST FOR PRODUCTION NO. 5:

  24             Produce your tax returns from 2009 through 2019.
  25   REQUEST FOR PRODUCTION NO. 6:
  26
                 Produce documents sufficient to show the total number of Nintendo ROM images
  27
       available for download through the Websites, each year, since January 1, 2009.
  28
                                                        -10-                       DISCOVERY REQUESTS



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   1   REQUEST FOR PRODUCTION NO. 7:
   2             Produce documents sufficient to show the total number of Nintendo ROM images
   3
       downloaded through the Websites, each year, since January 1, 2009.
   4
       REQUEST FOR PRODUCTION NO. 8:
   5
                 Produce documents sufficient to identify each Nintendo ROM image offered for download
   6

   7   through the Websites since January 1, 2009.

   8   REQUEST FOR PRODUCTION NO. 9:

   9             Produce documents sufficient to show the number of visitors to the Websites, by year,
  10
       since January 1, 2009.
  11
       REQUEST FOR PRODUCTION NO. 10:
  12
                 Exhibit A of Nintendo’s Complaint in this litigation provides a list of 37 Nintendo games.
  13
       Produce documents sufficient to show the total number of ROM images from each of those games
  14

  15   downloaded through the Websites since January 1, 2009.

  16   REQUEST FOR PRODUCTION NO. 11:
  17             Exhibit A of Nintendo’s Complaint in this litigation provides a list of 37 Nintendo games.
  18
       To the extent the ROM images for any of these games are or were available to be downloaded
  19
       through the Websites, produce those ROM images.
  20
       REQUEST FOR PRODUCTION NO. 12:
  21

  22             Produce the registration agreements and hosting agreements for each of the Websites.

  23   REQUEST FOR PRODUCTION NO. 13:

  24             Produce documents sufficient to identify any domains you own or control which resolve
  25   or redirect to websites that distribute any intellectual property relating to Nintendo, including but
  26
       not limited to Nintendo ROM images.
  27

  28
                                                         -11-                        DISCOVERY REQUESTS



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   1   REQUEST FOR PRODUCTION NO. 14:
   2             Produce all communications between yourself and any third parties regarding Nintendo,
   3
       the Websites, or the Nintendo Rom images, including but not limited to communications,
   4
       comments, or messages sent via Discord, social media, or the Websites.
   5
       REQUEST FOR PRODUCTION NO. 15:
   6

   7             Produce all communications between yourself and Nintendo, including but not limited to

   8   any DMCA notices.

   9   REQUEST FOR PRODUCTION NO. 16:
  10
                 In your Answer, you allege that “Plaintiff’s German representative continues to send
  11
       DMCA take down requests to Defendant[.]” Produce all such communications.
  12
       REQUEST FOR PRODUCTION NO. 17:
  13
                 Produce all documents and communications regarding your designation of an agent under
  14

  15   17 U.S.C. 512(c)(2), including but not limited to any documents reflecting the identification of

  16   the agent on the Websites and any documents or communications identifying the agent to the
  17   United States Copyright Office.
  18
       REQUEST FOR PRODUCTION NO. 18:
  19
                 Produce all documents and communications regarding the purchase or sale of the
  20
       Websites.
  21

  22   /

  23   /

  24   /
  25   /
  26
       /
  27
       /
  28
                                                        -12-                        DISCOVERY REQUESTS



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   1   REQUEST FOR PRODUCTION NO. 19:
   2             Produce all documents that support, refer or relate to your allegation that there are “two
   3
       instances where an implied contract was established between the Defendant and Plaintiff,”
   4
       including but not limited to, all documents that would identify the exact terms of the alleged
   5
       “implied contracts.”
   6

   7     DATED: APRIL 28, 2020                               PERKINS COIE LLP
   8
                                                             By: /s/ William C. Rava
   9
                                                                 Katherine M. Dugdale
  10                                                             William C. Rava (pro hac vice)
                                                                 Christian W. Marcelo (pro hac vice)
  11
                                                             Attorneys for Plaintiff NINTENDO OF
  12                                                         AMERICA INC.

  13

  14

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   1                                     PROOF OF SERVICE
   2             I, Brooke Harkness, declare:
   3             I am a citizen of the United States and employed in Seattle, Washington. I
   4   am over the age of eighteen years and not a party to the within-entitled action. My
   5   business address is 1201 Third Avenue, Suite 4900, Seattle, WA 98101. On April
   6   28, 2020, I served a copy of the following document(s):
   7   NINTENDO’S FIRST SET OF INTERROGATORIES AND REQUESTS
       FOR PRODUCTION OF DOCUMENTS AND THINGS
   8

   9                  by transmitting via facsimile the document(s) listed above to the fax
                       number(s) set forth below on this date before 5:00 p.m.
  10

  11                  by placing the document(s) listed above in a sealed envelope with
                       postage thereon fully prepaid, the United States mail at Seattle,
  12                   Washington addressed as set forth below.
  13
                      by placing the document(s) listed above in a sealed envelope and
  14                   affixing a pre-paid air bill, and causing the envelope to be delivered to
                       an agent for delivery.
  15

  16                  by personally delivering the document(s) listed above to the person(s)
                       at the address(es) set forth below.
  17
                      by transmitting via e-mail or electronic transmission the document(s)
  18
                       listed above to the person(s) at the e-mail address(es) set forth below.
  19
                 Matthew Storman
  20             1601 E. Ruddock St.
  21             Covina, CA 91724
                 admin@romuniverse.com
  22             Pro Se Defendant
  23             I am readily familiar with the firm's practice of collection and processing
  24   correspondence for mailing. Under that practice it would be deposited with the
  25   U.S. Postal Service on that same day with postage thereon fully prepaid in the
  26   ordinary course of business. I am aware that on motion of the party served, service
  27

  28
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   1   is presumed invalid if postal cancellation date or postage meter date is more than
   2   one day after date of deposit for mailing in affidavit.
   3             I declare that I am employed in the office of a member of the bar of this court
   4   at whose direction the service was made.
   5             Executed on April 28, 2020, at Seattle, Washington.
   6

   7                                                           Brooke Harkness
   8

   9

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                                                   -15-                     DISCOVERY REQUESTS



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          EXHIBIT 9
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                                   #:847



  1   MATTHEW STORMAN, PRO SE
  2
      1601 E. RUDDOCK ST
      COVINA, CA 91724
  3   (626) 833-6327
  4   admin@romuniverse.com

  5

  6

  7

  8

  9                       UNITED STATES DISTRICT COURT
 10                      CENTRAL DISTRICT OF CALIFORNIA
 11

 12   NINTENDO OF AMERICA INC.,           Case No. 2:19-CV-07818-CBM-RAO
      a Washington corporation
 13                                       RESPONSE TO PLAINTIFF’S FIRST
                      Plaintiff,
 14                                       SET OF INTERROGATORIES AND
                                          REQUESTS FOR PRODUCTION OF
 15                                       DOCUMENTS AND THINGS
         v.
 16

 17
      MATTHEW STORMAN,
 18
                     Defendant.
 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

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                   RESPONSE TO PLAINTIFF’S DISCOVERY REQUESTS (FIRST SET)   EXHIBIT 9
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  1                        RESPONSE TO INTERROGATORIES
  2

  3   RESPONSE TO INTERROGATORY NO. 1:
  4        Total gross revenue from October 21, 2016 to present is $77,700.
  5

  6   RESPONSE TO INTERROGATORY NO. 2:
  7        Total of paid lifetime memberships from October 21, 2016 are 2590.
  8

  9   RESPONSE TO INTERROGATORY NO. 3:
 10        Processing Fees (2016 – Present): $12,385
 11        Website Hosting Fees (2016 – Present): $19,200
 12

 13   RESPONSE TO INTERROGATORY NO. 4:
 14        Defendant does not track file downloads. Defendant has no knowledge of file
 15   ownership or copyright, or if the file was interrupted, corrupt, destroyed, invalid,
 16   improper or functionable.
 17

 18   RESPONSE TO INTERROGATORY NO. 5:
 19        Defendant has no way of knowing if images are Nintendo property or
 20   copyright. Nintendo has access to content as all others for free and per 17 U.S.C.
 21   Nintendo can and did request takedowns of any content they request which
 22   defendant did comply with, in Nintendo’s recognition of Defendant’s protections
 23   under 17 U.S.C.
 24

 25   RESPONSE TO INTERROGATORY NO. 6:
 26        Defendant has no way of knowing if images are Nintendo property or
 27   copyright. Nintendo has access to content as all others for free and per 17 U.S.C.
 28   Nintendo can and did request takedowns of any content they request which
                                               -2-
                     RESPONSE TO PLAINTIFF’S DISCOVERY REQUESTS (FIRST SET)       EXHIBIT 9
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  1   defendant did comply with, in Nintendo’s recognition of Defendant’s protections
  2   under 17 U.S.C.
  3

  4   RESPONSE TO INTERROGATORY NO. 7:
  5            Defendant does not inventory or examine any file. Users may download files
  6   by using website tools available to anyone for free. Defendant does not upload or
  7   distribute content on website.
  8

  9   RESPONSE TO INTERROGATORY NO. 8:
 10            Defendant owns ndsunvierse.com and romuniverse.com since October 21,
 11   2016. Defendant does not control the activities of users.
 12

 13   RESPONSE TO INTERROGATORY NO. 9:
 14            Defendant has no way of verifying content, copyright or ownership of games
 15   or validity of file content and does distribute or offer.
 16

 17   RESPONSE TO INTERROGATORY NO. 10:
 18            Defendant, Matthew Storman is the sole owner of the Website.
 19

 20   RESPONSE TO INTERROGATORY NO. 11:
 21            Defendant, Matthew Storman is the sole owner of romuniverse.com and
 22   ndsuniverse.com and does not distribute or offer images.
 23

 24   RESPONSE TO INTERROGATORY NO. 12:
 25            Some users are given administrative access to site, in response to system bug.
 26   Giselle (no email on file), Phamley (no email on file), ReBug (no email on file),
 27   Veronica (no email on file), PHIA55 (no email on file), JimmySlack (no email on
 28   file).
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                         RESPONSE TO PLAINTIFF’S DISCOVERY REQUESTS (FIRST SET)    EXHIBIT 9
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  1   RESPONSE TO INTERROGATORY NO. 13:
  2        No compensation or benefit has or will be given.
  3

  4   RESPONSE TO INTERROGATORY NO. 14:
  5        None, but required maintenance.
  6

  7   RESPONSE TO INTERROGATORY NO. 15:
  8        Moot. Defendant is not liable for monetary or injunctive relief because
  9   Nintendo has already recognized admin@romuniverse.com as proper agent,
 10   protected under 17 U.S.C. in numerous Nintendo take-down notices sent to
 11   admin@romuniverse.com which admin@romuniverse.com has immediately
 12   removed the requested content.
 13

 14   RESPONSE TO INTERROGATORY NO. 16:
 15        Moot. Defendant is not liable for monetary or injunctive relief because
 16   Nintendo has already recognized admin@romuniverse.com as proper agent,
 17   protected under 17 U.S.C. in numerous Nintendo take-down notices sent to
 18   admin@romuniverse.com which admin@romuniverse.com has immediately
 19   removed the requested content.
 20

 21   RESPONSE TO INTERROGATORY NO. 17:
 22        Defendant does not recall.
 23

 24   RESPONSE TO INTERROGATORY NO. 18:
 25        The implied contract is based on historical and current communications where
 26   Nintendo requested file takedown notices to Defendant. These takedown notices
 27   were made in good faith that Nintendo was the alleged proper copyright owner and
 28   file owner. Defendant did not dispute Nintendo’s alleged copyright or file
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                     RESPONSE TO PLAINTIFF’S DISCOVERY REQUESTS (FIRST SET)    EXHIBIT 9
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  1   ownership. In return, Nintendo would not take any legal action and would continue
  2   to receive exposure to Nintendo company and Nintendo games by vast numbers of
  3   website visitors and users, and Defendant would continue to operate the Website
  4   without litigation.
  5

  6   RESPONSE TO INTERROGATORY NO. 19:
  7        All of Plaintiff’s allegations.
  8

  9   RESPONSE TO INTERROGATORY NO. 20:
 10        Any public individual has access to the websites and may move content to
 11   themselves for free. Premium users may move content at faster speeds.
 12

 13   RESPONSE TO INTERROGATORY NO. 21:
 14        Defendant does not know the source, origin, or ownership of content.
 15

 16   SUMMARY
 17        Defendant reserves the right to modify the above answers as new information
 18   is discovered.
 19

 20                    RESPONSE TO REQUESTS FOR PRODUCTION
 21

 22   RESPONSE TO REQUEST FOR PRODUCTION NO. 1
 23        1. Gumroad 2020 to date 445 a.png
 24        2. Gumroad 2019 1,310 $39,300 b.png
 25        3. Gumroad 2018 279 $8,370 c.png. Below min 12.5k
 26        4. Gumroad 2017 133 $3,990 Estimate. Below min $12.5k. Requesting
 27           archive data from Gumroad payment processor
 28        5. Taxes 2016 423 $12,690
                                                 -5-
                       RESPONSE TO PLAINTIFF’S DISCOVERY REQUESTS (FIRST SET)   EXHIBIT 9
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  1       6. These funds are earmarked for legal defense purposes.
  2

  3   RESPONSE TO REQUEST FOR PRODUCTION NO. 2
  4       SEE RESPONSE NO.1 ONLY SOURCE OF REVENUE
  5

  6   RESPONSE TO REQUEST FOR PRODUCTION NO. 3
  7       SEE RESPONSE NO.1 INCLUDES 9 DONATIONS in the amount of $245.00
  8   from 2019
  9

 10   RESPONSE TO REQUEST FOR PRODUCTION NO. 4
 11       Taxes for 2019 have not yet been filed.
 12

 13   RESPONSE TO REQUEST FOR PRODUCTION NO. 5
 14       1. 2019 Taxes not yet filed.
 15       2. 2018 QB: $9,258.15 TR: $0.00 GR: $8,370. Not min. 12.5k
 16       3. 2017 QB: $3,991.05 TR: $0.00 GR: $0. Not Min. 12.5k
 17       4. 2016 QB: $12,714.72 TR: $37,596 - $15,020 GR: $0
 18

 19   RESPONSE TO REQUEST FOR PRODUCTION NO. 6
 20       Defendant has no way of verifying content, copyright or ownership of files or
 21   images on Website.
 22

 23   RESPONSE TO REQUEST FOR PRODUCTION NO. 7
 24       Defendant has no way of verifying content, copyright or ownership of files or
 25   images on Website.
 26

 27   RESPONSE TO REQUEST FOR PRODUCTION NO. 8
 28

                                              -6-
                    RESPONSE TO PLAINTIFF’S DISCOVERY REQUESTS (FIRST SET)   EXHIBIT 9
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  1        Defendant has no way of verifying content, copyright or ownership of files or
  2   images on Website.
  3

  4   RESPONSE TO REQUEST FOR PRODUCTION NO. 9
  5        2020 to present h.pdf
  6        2019 d.pdf
  7        2018 e.pdf
  8        2017 f.pdf
  9        2016 g.pdf
 10

 11   RESPONSE TO REQUEST FOR PRODUCTION NO. 10
 12        Defendant has no way of verifying content, copyright or ownership of files or
 13   images on Website, or any user actions.
 14

 15   RESPONSE TO REQUEST FOR PRODUCTION NO. 11
 16        Defendant has no way of verifying content, copyright or ownership of files or
 17   images on Website, or any user actions.
 18

 19   RESPONSE TO REQUEST FOR PRODUCTION NO. 12
 20        Defendant does not have registration or hosting agreements for any users.
 21

 22   RESPONSE TO REQUEST FOR PRODUCTION NO. 13
 23        Defendant owns romuniverse.com and ndsuniverse.com. Furthermore,
 24   Defendant does not own any websites that distribute intellectual property.
 25

 26   RESPONSE TO REQUEST FOR PRODUCTION NO. 14
 27        Communications that occurred on discord is publicly available to view and is
 28   massive. They are available to Plaintiff. There is an old Facebook page that was
                                               -7-
                     RESPONSE TO PLAINTIFF’S DISCOVERY REQUESTS (FIRST SET)    EXHIBIT 9
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  1   created by a previous non associated administrator on the website. See d-i.png.
  2   Communications do not include marketing puffery, protected business, and
  3   protected private communications.
  4   RESPONSE TO REQUEST FOR PRODUCTION NO. 15
  5        See DMCA/01-26.pdf. Communications do not include marketing puffery,
  6   protected business, and protected private communications.
  7

  8   RESPONSE TO REQUEST FOR PRODUCTION NO. 16
  9        See DMCA/01-26.pdf. Communications do not include marketing puffery,
 10   protected business, and protected private communications.
 11

 12   RESPONSE TO REQUEST FOR PRODUCTION NO. 17
 13        Plaintiff has already recognized admin as the proper agent for
 14   romuniverse.com and ndsuniverse.com. This was done by Nintendo sending
 15   numerous DMCA take-down notices to admin which admin immediately complied
 16   with. Refer to NO. 15 and NO. 16 above. Communications do not include
 17   marketing puffery, protected business, and protected private communications.
 18

 19   RESPONSE TO REQUEST FOR PRODUCTION NO. 18
 20        Defendant purchased ndsuniverse.com on January 10, 2009, see k.png.
 21   Defendant purchased romuniverse.com on September 3, 2009, see j.png.
 22   Communications do not include marketing puffery, protected business, and
 23   protected private communications.
 24

 25   RESPONSE TO REQUEST FOR PRODUCTION NO. 19
 26        The implied contract is based on historical and current communications where
 27   Nintendo requested file takedown notices to Defendant. These takedown notices
 28   were made in good faith that Nintendo was the alleged proper copyright owner and
                                               -8-
                     RESPONSE TO PLAINTIFF’S DISCOVERY REQUESTS (FIRST SET)    EXHIBIT 9
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  1   file owner. Defendant did not dispute Nintendo’s alleged copyright or file
  2   ownership. In return, Nintendo would not take any legal action and would continue
  3   to receive exposure to Nintendo company and Nintendo games by vast numbers of
  4   website visitors and users, and Defendant would continue to operate the Website
  5   without litigation.
  6

  7

  8

  9

 10

 11

 12

 13   DATED: June 15, 2020
 14

 15                            By: ______________________________________
 16                                  MATTHEW STORMAN,
 17                                  DEFENDANT, PRO SE
 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

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                      RESPONSE TO PLAINTIFF’S DISCOVERY REQUESTS (FIRST SET)   EXHIBIT 9
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       EXHIBIT 10
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       EXHIBIT 11
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       EXHIBIT 12
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       EXHIBIT 13
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                                   #:864




  September 21, 2020                                                                       William C. Rava
                                                                                    WRava@perkinscoie.com
                                                                                        D. +1.206.359.6338
                                                                                        F. +1.206.359.7338

  VIA E-MAIL

  Hon. Rozella A. Oliver
  United States District Court
  Central District of California
  Attn: Donnamarie Luengo
  Magistrate Judge Courtroom Deputy Clerk
  RAO_Chambers@cacd.uscourts.gov

  Re:      Request for Informal Discovery Conference
           Nintendo of America Inc. v. Matthew Storman, 2:19-CV-07818-CBM-RAO

  Dear Judge Oliver:

  We write on behalf of Plaintiff Nintendo of America Inc. in the above-referenced action to
  respectfully request that the parties participate in the recommended Informal Discovery
  Conference to resolve several straightforward discovery disputes. On August 5, 2020, on the
  parties’ stipulation, the Court ordered the parties to participate in a substantive meet-and-confer
  regarding any discovery disputes, and if necessary, participate in the Informal Discovery
  Conference by no later than September 25, 2020. Dkt. No. 42.

  Because Defendant Matthew Storman has not been willing to engage in a meet-and-confer,
  Nintendo comes ex parte to request the scheduling of this discovery conference.

  A.       Mr. Storman’s Prior Delays

  Throughout these proceedings, Mr. Storman has been largely unresponsive, providing only rare
  and severely delayed responses to e-mails and calls. When he does respond, it is generally only
  to request extensions of time as a deadline approaches.

  Recognizing that Mr. Storman is appearing pro se and the complications caused by COVID-19,
  Nintendo has made every effort to accommodate his requests for extensions while still trying to
  move this case forward. For instance, Nintendo agreed to time extensions for Mr. Storman to
  file his Answer, provide his initial disclosures, and respond to Nintendo’s discovery requests. At
  each turn, he provided a new reason he could not meet the initial deadline, and in many cases,
  why he could not meet the extended deadlines either. See e.g., Ex. A (email correspondence
  regarding initial disclosures).




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  September 21, 2020
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  Leading up to the parties’ stipulated motion, and in response to Nintendo’s request to confer
  regarding several discovery issues, deposition scheduling, and the parties’ settlement conference,
  Mr. Storman became entirely unresponsive.

  On June 23, 2020, Nintendo reached out to discuss these issues and seek Mr. Storman’s
  agreement to participate in the Informal Discovery Conference, if necessary. After several
  follow ups from Nintendo, Mr. Storman eventually responded on July 23 to inform Nintendo he
  had contracted COVID-19 and requested an extension of the case schedule to allow him to
  recover. See Exhibit B. Nintendo agreed to this extension.

  B.       Current Discovery Dispute

  On August 5, on the parties’ stipulation, the Court extended the case schedule and further
  ordered the parties to participate in the Informal Discovery Conference procedure, including a
  preceding substantive meet-and-confer, if necessary, by no later than September 25, 2020. Dkt.
  No. 42.

  To attempt to resolve the parties’ discovery disputes without involving the Court and to timely
  comply with the Court’s Order, Nintendo attempted to contact Mr. Storman on numerous
  occasions including by email and via telephone on August 17, August 21, August 28, September
  4, and September 11. Mr. Storman did not respond. Ex. C.

  Finally, on September 18, Nintendo sent Mr. Storman a letter again outlining the discovery
  disputes in detail noting that because he “refused to cooperate in resolving these issues, we must
  presume we are at an impasse and will bring these issues before Magistrate Judge Oliver.”
  Ex. D. Mr. Storman responded to this letter the same day stating only “Received and read.”

  For these reasons, Nintendo respectfully requests that the Court schedule an Informal Discovery
  Conference regarding the following discovery disputes:

       •   In response to RFAs 8, 9; Rogs 4, 9; and RFP 10, Mr. Storman claims that he does not
           have information regarding the number of times certain files were downloaded through
           his website. However, prior to the initiation of this litigation, his website displayed the
           number of downloads for each file, and Nintendo has a good faith belief such information
           was tracked and is available to Mr. Storman.

       •   In response to RFPs 14-18, Mr. Storman indicated he is withholding “marketing puffery,
           protected business, and protected private communications” without further explanation.
           Unless he is claiming these documents are privileged or work product (which seems
           unlikely as he is not represented by an attorney in this case), they must be produced.



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      •     RFP No. 5 requests Mr. Storman’s tax returns. He did not produce these documents and
            provided no objections to their production. These documents should be produced.

  See Exhibits E & F. 1

  Nintendo believes these discovery issues are straightforward and are most efficiently resolved
  through the recommended Informal Discovery Conference.

  Very truly yours,



  William C. Rava
  WCR:jrs




  1
   For ease of reviewing, Exhibits E and F reflect Nintendo’s combination of Mr. Storman’s responses with the
  corresponding discovery request as Mr. Storman’s responses omitted the substance of the requests.


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                            Exhibit A




                                                                      EXHIBIT 13
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   From:                RomUniverse
   To:                  Rava, William C. (SEA)
   Cc:                  Dugdale, Katherine (LOS); Marcelo, Christian W. (SEA)
   Subject:             RE: Nintendo v. Storman - Initial Disclosures
   Date:                Monday, June 15, 2020 4:02:35 AM


   Good Morning all,

   I have been working dillegently to get these items out to you. I am almost finished and
   believe that I will be done by sometime after 12am tomorrow.

   Matthew.

   On Wednesday, June 10, 2020 19:51 PDT, "Rava, William C. (Perkins Coie)"
   <WRava@perkinscoie.com> wrote:




   We are sorry to hear that, Matthew, and hope you heal quickly. Per my vmail from yesterday before
   your email below, we are OK with extending the discovery deadline to June 15. You still need to
   provide initial disclosures. We plan to seek relief from the Court on June 16 if you do not provide
   disclosures or discovery answers before then. We are available to discuss this by phone at your
   convenience.

   Will

   William Rava | Perkins Coie LLP
   PARTNER
   1201 Third Avenue Suite 4900
   Seattle, WA 98101-3099
   D. +1.206.359.6338
   F. +1.206.359.7338
   E. WRava@perkinscoie.com


   From: admin@romuniverse.com <admin@romuniverse.com>
   Sent: Tuesday, June 09, 2020 2:50 PM
   To: Rava, William C. (SEA) <WRava@perkinscoie.com>
   Cc: Dugdale, Katherine (LOS) <KDugdale@perkinscoie.com>; Marcelo, Christian W. (SEA)
   <CMarcelo@perkinscoie.com>
   Subject: RE: Nintendo v. Storman - Initial Disclosures

   Will,

   I had 2nd degree burns, blistering, on my entire back and chest. I have been in excruciating pain and
   unable to sleep. Thus was not able to work on the initial disclosures. I am still in quite a bit a of
   pain, however, I am somewhat functional. I needed that time to recover and to complete the
   disclosures and discovery.

   Regards,



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   On Jun 8, 2020 9:35 AM, "Rava, William C. (Perkins Coie)" <WRava@perkinscoie.com> wrote:

     Checking back on this, Matthew. Will you be providing initial disclosures today?



     William Rava | Perkins Coie LLP

     PARTNER

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     Seattle, WA 98101-3099

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     F. +1.206.359.7338

     E. WRava@perkinscoie.com




     From: Rava, William C. (SEA) <WRava@perkinscoie.com>
     Sent: Friday, June 05, 2020 10:40 AM
     To: RomUniverse <admin@romuniverse.com>
     Cc: Harkness, Brooke (SEA) <BHarkness@perkinscoie.com>; Dugdale, Katherine (LOS)
     <KDugdale@perkinscoie.com>; Marcelo, Christian W. (SEA)
     <CMarcelo@perkinscoie.com>
     Subject: RE: Nintendo v. Storman - Initial Disclosures
     Importance: High



     Matthew,



     We will agree to extend your discovery response deadline by another 10 days to the June 15
     on the condition that you provide your initial disclosures by Monday, June 8, which is more
     than a month after they were due. If this isn’t acceptable, we need to meet-and-confer about
     discovery ASAP (Monday ideally) and then, if we haven’t reached agreement, participate in
     the magistrate judge’s informal discovery dispute procedure. Please confirm.



     Also, we note that, to our understanding, the pro se clinics are and have been open
     telephonically and the protests appear to be distant from your house. As we discussed
     twice, the parties agreed to an aggressive schedule and we need to move things along.




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     Will



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     E. WRava@perkinscoie.com




     From: RomUniverse <admin@romuniverse.com>
     Sent: Thursday, June 04, 2020 2:06 AM
     To: Marcelo, Christian W. (SEA) <CMarcelo@perkinscoie.com>
     Cc: Rava, William C. (SEA) <WRava@perkinscoie.com>; Harkness, Brooke (SEA)
     <BHarkness@perkinscoie.com>; Dugdale, Katherine (LOS)
     <KDugdale@perkinscoie.com>
     Subject: RE: Nintendo v. Storman - Initial Disclosures



     Good morning. Due to extenuating circumstances due to the Riots and Looting that are
     affecting Los Angeles and surrounding areas, I will need until Tuesday June 30th, 2020 to
     complete & respond to your initial disclosures, discovery, and admissions.  

     Regards,
     Matthew

     On Thursday, May 28, 2020 13:49 PDT, "Marcelo, Christian W. (Perkins Coie)"
     <CMarcelo@perkinscoie.com> wrote:




     Hi Matthew,



     We received your voicemail asking to extend the deadline to provide initial disclosures and
     your discovery responses. Providing the discovery responses (interrogatories and requests
     for production) and initial disclosures by 6/5 is fine. Regarding the initial disclosures, we
     note that they were due 5/5, and after missing that deadline you have now represented twice
     that you would provide them by a date certain, and failed to do so either time.




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     Given the tight case schedule, your continued delays are causing prejudice to Nintendo’s
     ability to conduct timely discovery. Please ensure that you meet these new deadlines.



     Best,



     Christian Marcelo | Perkins Coie LLP

     ASSOCIATE

     1201 Third Avenue Suite 4900

     Seattle, WA 98101-3099

     D. +1.206.359.3315

     F. +1.206.359.4315

     E. CMarcelo@perkinscoie.com




     From: RomUniverse <admin@romuniverse.com>
     Sent: Wednesday, May 27, 2020 4:00 PM
     To: Marcelo, Christian W. (SEA) <CMarcelo@perkinscoie.com>
     Cc: Rava, William C. (SEA) <WRava@perkinscoie.com>; Harkness, Brooke (SEA)
     <BHarkness@perkinscoie.com>; Dugdale, Katherine (LOS)
     <KDugdale@perkinscoie.com>
     Subject: RE: Nintendo v. Storman - Initial Disclosures



     Hi all,

     Would it be ok to deliver the interrogatories/discovery out to you on 6/5/2020 by the end of
     the day? I need more time to figure out where the requested data is located and how much
     of it is available.

     Regards,
     Matthew.

     On Wednesday, May 27, 2020 15:21 PDT, "Marcelo, Christian W. (Perkins Coie)"
     <CMarcelo@perkinscoie.com> wrote:




     Matthew,




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     Thanks for jumping on the call this afternoon. We’ll be on the lookout for your initial
     disclosures by the end of day today and your discovery responses at the end of the week, as
     we discussed. We also understand that you believe the pro se clinics were closed when you
     checked last month, and we mentioned that it appears that many of the pro se clinics are
     open at least telephonically. We also discussed that both parties agree to electronic service
     going forward.



     We’ll circle back regarding settlement in about a week.



     Best regards,



     Christian Marcelo | Perkins Coie LLP

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     E. CMarcelo@perkinscoie.com




     From: admin@romuniverse.com <admin@romuniverse.com>
     Sent: Tuesday, May 26, 2020 1:36 AM
     To: Marcelo, Christian W. (SEA) <CMarcelo@perkinscoie.com>
     Cc: Rava, William C. (SEA) <WRava@perkinscoie.com>; Harkness, Brooke (SEA)
     <BHarkness@perkinscoie.com>; Dugdale, Katherine (LOS)
     <KDugdale@perkinscoie.com>
     Subject: RE: Nintendo v. Storman - Initial Disclosures



     Good morning. I'm available anytime this week. Please let me know what time works best
     for you



     On May 22, 2020 10:25 AM, "Marcelo, Christian W. (Perkins Coie)"
     <CMarcelo@perkinscoie.com> wrote:

        Matthew,




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      We have not heard back from you – please confirm receipt and provide the earliest dates
      and times for your availability for the discovery conference.



      If your only availability is on 5/29, let us know a few times that day that works for you.



      Best,



      Christian Marcelo | Perkins Coie LLP

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      F. +1.206.359.4315

      E. CMarcelo@perkinscoie.com




      From: Marcelo, Christian W. (SEA)
      Sent: Tuesday, May 19, 2020 3:29 PM
      To: 'RomUniverse' <admin@romuniverse.com>
      Cc: Rava, William C. (SEA) <WRava@perkinscoie.com>; Harkness, Brooke (SEA)
      <BHarkness@perkinscoie.com>; Dugdale, Katherine (LOS)
      <KDugdale@perkinscoie.com>
      Subject: RE: Nintendo v. Storman - Initial Disclosures



      Matthew,



      Following up here. Please let us know you earliest availability for a call.



      Best,



      Christian Marcelo | Perkins Coie LLP

      ASSOCIATE




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      F. +1.206.359.4315

      E. CMarcelo@perkinscoie.com




      From: Marcelo, Christian W. (SEA)
      Sent: Friday, May 15, 2020 1:35 PM
      To: 'RomUniverse' <admin@romuniverse.com>
      Cc: Rava, William C. (SEA) <WRava@perkinscoie.com>; Harkness, Brooke (SEA)
      <BHarkness@perkinscoie.com>; Dugdale, Katherine (LOS)
      <KDugdale@perkinscoie.com>
      Subject: RE: Nintendo v. Storman - Initial Disclosures



      Matthew,



      Respectfully, delaying two weeks before you are available for a call to discuss this issue
      is unreasonable. The topic for discussion is not complicated – your obligation under
      FRCP 26(a)(1)(C) to provide initial disclosures, which you have known since the hearing
      on January 14 you would need to provide. Do you have earlier dates you are available for
      a call? Additionally, we think it would be beneficial to discuss Nintendo’s settlement
      proposal on the call. Let us know.



      Best regards,



      Christian Marcelo | Perkins Coie LLP

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      Seattle, WA 98101-3099

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      F. +1.206.359.4315

      E. CMarcelo@perkinscoie.com




      From: RomUniverse <admin@romuniverse.com>

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      Sent: Friday, May 15, 2020 11:15 AM
      To: Marcelo, Christian W. (SEA) <CMarcelo@perkinscoie.com>
      Cc: Rava, William C. (SEA) <WRava@perkinscoie.com>; Harkness, Brooke (SEA)
      <BHarkness@perkinscoie.com>; Dugdale, Katherine (LOS)
      <KDugdale@perkinscoie.com>
      Subject: RE: Nintendo v. Storman - Initial Disclosures



      Good Morning Christian et al,

      Despite my best attempt to have this completed per the court's scheduling order, I have
      been unable to get this done due to my lack of understanding of what "Initial Disclosures"
      represent. I am available on the 29th of May for the discovery conference.

      Regards,
      Matthew



      On Wednesday, May 13, 2020 17:27 PDT, "Marcelo, Christian W. (Perkins Coie)"
      <CMarcelo@perkinscoie.com> wrote:




      Matthew,



      Despite your representations below, we have not received your initial disclosures. Please
      confirm that you will provide your initial disclosures by end of day tomorrow, 5/14, or
      provide us your earliest availability for a discovery conference regarding your non-
      compliance with the Court’s scheduling order.



      Best regards,



      Christian Marcelo | Perkins Coie LLP

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      E. CMarcelo@perkinscoie.com




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      From: Marcelo, Christian W. (SEA)
      Sent: Thursday, May 7, 2020 10:54 AM
      To: 'admin@romuniverse.com' <admin@romuniverse.com>
      Cc: Rava, William C. (SEA) <WRava@perkinscoie.com>; Harkness, Brooke (SEA)
      <BHarkness@perkinscoie.com>; Dugdale, Katherine (LOS)
      <KDugdale@perkinscoie.com>
      Subject: RE: Nintendo v. Storman - Initial Disclosures



      Thanks for the confirmation. Nintendo reserves all rights and objections regarding your
      belated compliance with the Court’s order. We also note that it is your responsibility to be
      aware of this deadline and all other deadlines going forward. As you claim to have had
      multiple issues with this email address (admin@romuniverse.com), please let us, and the
      court, know if there is a more reliable email address to contact you at.



      Best,



      Christian Marcelo | Perkins Coie LLP

      ASSOCIATE

      1201 Third Avenue Suite 4900

      Seattle, WA 98101-3099

      D. +1.206.359.3315

      F. +1.206.359.4315

      E. CMarcelo@perkinscoie.com




      From: admin@romuniverse.com <admin@romuniverse.com>
      Sent: Wednesday, May 6, 2020 5:19 PM
      To: Marcelo, Christian W. (SEA) <CMarcelo@perkinscoie.com>
      Cc: Rava, William C. (SEA) <WRava@perkinscoie.com>; Harkness, Brooke (SEA)
      <BHarkness@perkinscoie.com>; Dugdale, Katherine (LOS)
      <KDugdale@perkinscoie.com>
      Subject: Re: Nintendo v. Storman - Initial Disclosures



      Hi Marcelo,




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      The email I have from the court states that the initial disclosures are due by May 5, 2021.
      I can see that the court sent an amended order however I never received that one. I can
      have it completed by next Tuesday.



      Regards.



      On May 6, 2020 6:27 PM, "Marcelo, Christian W. (Perkins Coie)"
      <CMarcelo@perkinscoie.com> wrote:

        Matthew,



        Per the attached Court Order, the deadline to provide your initial disclosures was
        yesterday, May 5, 2020. We have not received your initial disclosures; please advise
        when we can expect to receive them.



        Best regards,



        Christian Marcelo | Perkins Coie LLP

        ASSOCIATE

        1201 Third Avenue Suite 4900

        Seattle, WA 98101-3099

        D. +1.206.359.3315

        F. +1.206.359.4315

        E. CMarcelo@perkinscoie.com




        NOTICE: This communication may contain privileged or other confidential information. If you have received it in error, please
        advise the sender by reply email and immediately delete the message and any attachments without copying or disclosing the
        contents. Thank you.




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         contents. Thank you.




         NOTICE: This communication may contain privileged or other confidential information. If you have received it in error, please
         advise the sender by reply email and immediately delete the message and any attachments without copying or disclosing the
         contents. Thank you.




      NOTICE: This communication may contain privileged or other confidential information. If you have received it in error, please advise
      the sender by reply email and immediately delete the message and any attachments without copying or disclosing the contents.
      Thank you.




      NOTICE: This communication may contain privileged or other confidential information. If you have received it in error, please advise
      the sender by reply email and immediately delete the message and any attachments without copying or disclosing the contents.
      Thank you.




      NOTICE: This communication may contain privileged or other confidential information. If you have received it in error, please advise
      the sender by reply email and immediately delete the message and any attachments without copying or disclosing the contents.
      Thank you.




   NOTICE: This communication may contain privileged or other confidential information. If you have received it in error, please advise the
   sender by reply email and immediately delete the message and any attachments without copying or disclosing the contents. Thank you.




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                            Exhibit B




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   From:           admin@romuniverse.com
   To:             Marcelo, Christian W. (SEA)
   Cc:             Dugdale, Katherine (LOS); Rava, William C. (SEA); Harkness, Brooke (SEA)
   Subject:        RE: Nintendo v. Storman -- availability for a call on discovery, etc.
   Date:           Thursday, July 23, 2020 1:41:43 PM


   After my stay in the hospital, and after testing, it has been confirmed that I have COVID-19
   and am recovering. I believe that because of this there should be mandatory stimulated
   continuance of all proceedings until mid September.

   Regards,
   Matthew.

   On Jul 16, 2020 6:42 PM, "Marcelo, Christian W. (Perkins Coie)"
   <CMarcelo@perkinscoie.com> wrote:

     Matthew,



     We understand you have recently been ill. If you are still hospitalized, please let us know.



     There are still several impending deadlines on the schedule to which the parties agreed,
     however, and numerous issues that we have been bringing to your attention for several
     weeks or longer that need to be addressed promptly. As you have been largely
     unresponsive, we plan to reach out to the Court if we do not receive a substantive response
     from you by the end of day Tuesday, July 21.



        1. Discovery issues. We have been attempting to conduct the required discovery
           conference with you regarding several outstanding discovery issues for the last month,
           listed below:
               a. RFAs 8,9; Rogs 4, 9; RFP 10 – You should be able to provide the number of
                  actual or attempted downloads of each game listed in Ex. A to the complaint
                  and some type of document showing this.
               b. RFPs 14-18 – In these responses, you state you are withholding
                  communications that you consider "marketing puffery, protected business, and
                  protected private communications." This is improper and those need to be
                  produced.
               c. RFP No. 5 – You need to produce your tax returns for each year, rather than
                  simply providing numbers.
               d. Document production – Many of the Nintendo takedown notices that you
                  produced cut out important information; we need the entire communication
                  produced.



        2. Informal Discovery Conference. We have also requested your agreement to proceed
           with the Informal Discovery Conference as recommended by Judge Oliver on the


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            above issues, but have not received your response. We intend to request to proceed
            with this procedure if we do not hear back from you.



        3. Deposition dates. We requested dates you are available for your deposition, which
           we intend to take by video conference. Since you have not responded, we will plan to
           note the deposition for a date at our convenience.



        4. Settlement Conference with Judge Oliver. The parties are required by the Court’s
           scheduling order to conduct their ADR conference by no later than September 1,
           2020. Per Judge Oliver’s rules, settlement conferences must be held on Mondays or
           Wednesdays at 10am or Friday at 1:30pm (https://www.cacd.uscourts.gov/honorable-
           rozella-oliver). Please provide us any of those dates you are unavailable between now
           and September 1, and we will reach out to the court clerk to check the court’s
           availability. If we do not hear back from you, we will presume you are generally
           available on any of these dates.



        5. Nintendo’s settlement proposal. Additionally, of course, and as we have discussed
           several times, if you would like have a substantive discussion about Nintendo’s April
           settlement proposal, we welcome such a conversation.



    Best regards,



    Christian Marcelo | Perkins Coie LLP

    ASSOCIATE

    1201 Third Avenue Suite 4900

    Seattle, WA 98101-3099

    D. +1.206.359.3315

    F. +1.206.359.4315

    E. CMarcelo@perkinscoie.com




    From: Marcelo, Christian W. (SEA)
    Sent: Tuesday, July 14, 2020 7:19 PM
    To: 'admin@romuniverse.com' <admin@romuniverse.com>
    Cc: Dugdale, Katherine (LOS) <KDugdale@perkinscoie.com>; Rava, William C. (SEA)
    <WRava@perkinscoie.com>


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    Subject: RE: Nintendo v. Storman -- availability for a call on discovery, etc.



    Matthew,



    Following up here. We need to schedule a call as soon as possible.



    Best,



    Christian Marcelo | Perkins Coie LLP

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    F. +1.206.359.4315

    E. CMarcelo@perkinscoie.com




    From: Marcelo, Christian W. (SEA)
    Sent: Friday, July 10, 2020 8:05 AM
    To: 'admin@romuniverse.com' <admin@romuniverse.com>
    Cc: Dugdale, Katherine (LOS) <KDugdale@perkinscoie.com>; Rava, William C. (SEA)
    <WRava@perkinscoie.com>
    Subject: RE: Nintendo v. Storman -- availability for a call on discovery, etc.



    Matthew,



    Checking back in here, and hoping you are feeling better. Can you let us know a few good
    times next week for a call on the issues we’ve identified?



    Best,




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    Christian Marcelo | Perkins Coie LLP

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    F. +1.206.359.4315

    E. CMarcelo@perkinscoie.com




    From: Marcelo, Christian W. (SEA)
    Sent: Monday, July 6, 2020 4:41 PM
    To: 'admin@romuniverse.com' <admin@romuniverse.com>
    Cc: Dugdale, Katherine (LOS) <KDugdale@perkinscoie.com>; Rava, William C. (SEA)
    <WRava@perkinscoie.com>
    Subject: RE: Nintendo v. Storman -- availability for a call on discovery, etc.



    Sorry to hear that, Matthew. We hope you recover quickly and will plan to check in at the
    end of this week, with the goal of scheduling a call next week.



    Christian Marcelo | Perkins Coie LLP

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    F. +1.206.359.4315

    E. CMarcelo@perkinscoie.com




    From: admin@romuniverse.com <admin@romuniverse.com>
    Sent: Monday, July 6, 2020 2:24 PM
    To: Marcelo, Christian W. (SEA) <CMarcelo@perkinscoie.com>
    Cc: Dugdale, Katherine (LOS) <KDugdale@perkinscoie.com>; Rava, William C. (SEA)
    <WRava@perkinscoie.com>
    Subject: RE: Nintendo v. Storman -- availability for a call on discovery, etc.



    I have been hospitalized at San Dimas Community Hospital as of Saturday July 4th, due to


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    symptoms that I have experienced in the week prior, including fever, body aches, cough, and
    shortness of breath. I have had blood work, EKG, chest x-ray, COVID19, flu and a host of
    other tests performed, however, we are waiting for the results



    I have not not been disingenuous in my responses however, it it extremely difficult for me to
    respond to emails or by any other means



    Matthew



    On Jul 6, 2020 1:26 PM, "Marcelo, Christian W. (Perkins Coie)"
    <CMarcelo@perkinscoie.com> wrote:

      Matthew,



      As we have continually tried, we need to move this case along. First and foremost are the
      discovery issues we identified in our prior correspondence. When will you be available
      this week (July 6 – 10) for a meet and confer regarding those discovery issues?



      The case schedule will not allow for further delays, so we also want to confirm that you
      are willing to proceed with the Informal Discovery Conference that is strongly
      recommended by Judge Oliver (see no. 2 at https://www.cacd.uscourts.gov/honorable-
      rozella-oliver) if for any reason, we cannot resolve one or more of the discovery issues by
      the end of this week (July 10).



      Additionally, as you have not responded to the settlement proposal, we intend to move
      forward with the parties’ agreed to ADR procedure and will contact the Court Clerk for
      available dates for the settlement conference.



      We look forward to hearing from you soon.



      Best,



      Christian Marcelo | Perkins Coie LLP

      ASSOCIATE



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      F. +1.206.359.4315

      E. CMarcelo@perkinscoie.com




      From: admin@romuniverse.com <admin@romuniverse.com>
      Sent: Monday, June 29, 2020 2:47 PM
      To: Rava, William C. (SEA) <WRava@perkinscoie.com>
      Cc: Dugdale, Katherine (LOS) <KDugdale@perkinscoie.com>; Marcelo, Christian W.
      (SEA) <CMarcelo@perkinscoie.com>
      Subject: RE: Nintendo v. Storman -- availability for a call on discovery, etc.



      Can't this week. Sick as a dog. Next week possibly.



      On Jun 25, 2020 9:46 AM, "Rava, William C. (Perkins Coie)"
      <WRava@perkinscoie.com> wrote:

         Matthew, how does tomorrow or Monday look for you?



         William Rava | Perkins Coie LLP

         PARTNER

         1201 Third Avenue Suite 4900

         Seattle, WA 98101-3099

         D. +1.206.359.6338

         F. +1.206.359.7338

         E. WRava@perkinscoie.com




         From: Rava, William C. (SEA) <WRava@perkinscoie.com>
         Sent: Tuesday, June 23, 2020 11:39 AM
         To: admin@romuniverse.com
         Cc: Dugdale, Katherine (LOS) <KDugdale@perkinscoie.com>; Marcelo, Christian W.
         (SEA) <CMarcelo@perkinscoie.com>
         Subject: Nintendo v. Storman -- availability for a call on discovery, etc.



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          Matthew,



          Are you available in the next day or two to discuss several discovery, case
          management, and settlement issues? We’ll get you a list of specifics in advance.



          Let us know some good times for you on Wednesday or Thursday, please. Thanks.



          Will



          William Rava | Perkins Coie LLP

          PARTNER

          1201 Third Avenue Suite 4900

          Seattle, WA 98101-3099

          D. +1.206.359.6338

          F. +1.206.359.7338

          E. WRava@perkinscoie.com




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          advise the sender by reply email and immediately delete the message and any attachments without copying or disclosing the
          contents. Thank you.




       NOTICE: This communication may contain privileged or other confidential information. If you have received it in error, please
       advise the sender by reply email and immediately delete the message and any attachments without copying or disclosing the
       contents. Thank you.




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    the sender by reply email and immediately delete the message and any attachments without copying or disclosing the contents. Thank
    you.




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                            Exhibit C




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   From:                Marcelo, Christian W. (SEA)
   To:                  "admin@romuniverse.com"
   Cc:                  Dugdale, Katherine (LOS); Rava, William C. (SEA); Harkness, Brooke (SEA)
   Subject:             RE: Nintendo v. Storman -- availability for a call re: discovery and other issues
   Date:                Friday, September 11, 2020 5:01:00 PM


   Matthew,

   I called and left you a voicemail today, as we still have not heard from you. We are available to speak
   on this upcoming Monday or Tuesday after 3pm PT – let us know what time works for you.

   We also note that Judge Oliver expressly states that the parties’ attempts to resolve discovery
   disputes such as this is a factor in considering discovery related sanctions, and Nintendo reserves its
   right to seek sanctions, including attorneys’ fees, in connection with your dilatory actions.

   Finally, as we have not heard from you regarding your deposition, we will plan to note the
   deposition for Thursday, October 8.

   Best,

   Christian Marcelo | Perkins Coie LLP
   ASSOCIATE
   1201 Third Avenue Suite 4900
   Seattle, WA 98101-3099
   D. +1.206.359.3315
   F. +1.206.359.4315
   E. CMarcelo@perkinscoie.com



   From: Marcelo, Christian W. (SEA)
   Sent: Friday, September 4, 2020 1:30 PM
   To: 'admin@romuniverse.com' <admin@romuniverse.com>
   Cc: Dugdale, Katherine (LOS) <KDugdale@perkinscoie.com>; Rava, William C. (SEA)
   <WRava@perkinscoie.com>; Harkness, Brooke (SEA) <BHarkness@perkinscoie.com>
   Subject: RE: Nintendo v. Storman -- availability for a call re: discovery and other issues

   Matthew,

   It has been a month since the case schedule was extended and we have not heard from you. We
   need to resolve each of the below discovery issues in the next three weeks—which you have yet to
   discuss with us—or proceed to the discovery conference with the Magistrate Judge.

   Additionally, as you know, you are required to make yourself available for a deposition on or before
   October 9. Please provide us your availability for your deposition between October 1 – 9.

   Let us know your availability to discuss these matters on Tuesday or Wednesday of next week.

   Best,

   Christian Marcelo | Perkins Coie LLP



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   1201 Third Avenue Suite 4900
   Seattle, WA 98101-3099
   D. +1.206.359.3315
   F. +1.206.359.4315
   E. CMarcelo@perkinscoie.com



   From: Marcelo, Christian W. (SEA)
   Sent: Friday, August 28, 2020 8:02 AM
   To: admin@romuniverse.com
   Cc: Dugdale, Katherine (LOS) <KDugdale@perkinscoie.com>; Rava, William C. (SEA)
   <WRava@perkinscoie.com>; Harkness, Brooke (SEA) <BHarkness@perkinscoie.com>
   Subject: RE: Nintendo v. Storman -- availability for a call re: discovery and other issues

   Matthew,

   We have not heard from you in nearly two weeks. Please let us know your availability to discuss the
   below issues as soon as possible.

   Best,

   Christian Marcelo | Perkins Coie LLP
   ASSOCIATE
   1201 Third Avenue Suite 4900
   Seattle, WA 98101-3099
   D. +1.206.359.3315
   F. +1.206.359.4315
   E. CMarcelo@perkinscoie.com



   From: Rava, William C. (SEA) <WRava@perkinscoie.com>
   Sent: Friday, August 21, 2020 11:14 AM
   To: Marcelo, Christian W. (SEA) <CMarcelo@perkinscoie.com>; admin@romuniverse.com
   Cc: Dugdale, Katherine (LOS) <KDugdale@perkinscoie.com>; Harkness, Brooke (SEA)
   <BHarkness@perkinscoie.com>
   Subject: RE: Nintendo v. Storman -- availability for a call re: discovery and other issues

   Keeping this on top, Matthew. Do you have availability next week? Please send some windows that
   work, thanks.

   Will

   William Rava | Perkins Coie LLP
   PARTNER
   1201 Third Avenue Suite 4900
   Seattle, WA 98101-3099
   D. +1.206.359.6338
   F. +1.206.359.7338
   E. WRava@perkinscoie.com



   From: Marcelo, Christian W. (SEA) <CMarcelo@perkinscoie.com>
   Sent: Monday, August 17, 2020 10:33 AM
   To: admin@romuniverse.com
   Cc: Dugdale, Katherine (LOS) <KDugdale@perkinscoie.com>; Rava, William C. (SEA)


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   <WRava@perkinscoie.com>; Harkness, Brooke (SEA) <BHarkness@perkinscoie.com>
   Subject: Nintendo v. Storman -- availability for a call re: discovery and other issues

   Matthew,

   We hope you’re feeling better and were able to recover quickly and fully.

   We still have a few outstanding discovery issues to resolve, relisted below. Additionally, we should
   discuss scheduling your deposition, the settlement conference and Nintendo’s last settlement
   proposal. Please let us know a few times Thursday or Friday that you’re available to discuss.

             a. RFAs 8,9; Rogs 4, 9; RFP 10 – You should be able to provide the number of actual or
                 attempted downloads of each game listed in Ex. A to the complaint and some type of
                 document showing this.
             b. RFPs 14-18 – In these responses, you state you are withholding communications that
                 you consider "marketing puffery, protected business, and protected private
                 communications." This is improper and those need to be produced.
             c. RFP No. 5 – You need to produce your tax returns for each year, rather than simply
                 providing numbers.
             d. Document production – Many of the Nintendo takedown notices that you produced
                 cut out important information; we need the entire communication produced.
   Best regards,

   Christian Marcelo | Perkins Coie LLP
   ASSOCIATE
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   Seattle, WA 98101-3099
   D. +1.206.359.3315
   F. +1.206.359.4315
   E. CMarcelo@perkinscoie.com




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                            Exhibit D




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   From:                  admin@romuniverse.com
   To:                    Harkness, Brooke (SEA)
   Cc:                    Marcelo, Christian W. (SEA); Rava, William C. (SEA); Dugdale, Katherine (LOS)
   Subject:               Re: Deficient Discovery Responses & Discovery Conference, Nintendo of America Inc. v. Matthew Storman, 2:19-
                          CV-07818-CBM-RAO
   Date:                  Friday, September 18, 2020 3:41:30 PM


   Received and read.

   On Sep 18, 2020 3:26 PM, "Harkness, Brooke (Perkins Coie)"
   <BHarkness@perkinscoie.com> wrote:

     Dear Mr. Storman,



     Please see the attached sent on behalf of Nintendo of America.



     Thank you,



     Brooke Harkness | Perkins Coie LLP

     LEGAL PRACTICE ASSISTANT TO

     David Burman|Christian Marcelo|Rachel Haney|Zachary Chalett

     She, her, hers/ pronombres femeninos

     1201 Third Avenue Suite 4900

     Seattle, WA 98101-3099

     D. +1.206.359.3247

     F. +1.206.359.5247

     E. BHarkness@perkinscoie.com




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     the sender by reply email and immediately delete the message and any attachments without copying or disclosing the contents. Thank
     you.




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  September 18, 2020                                                                  Christian W. Marcelo
                                                                                 CMarcelo@perkinscoie.com
                                                                                       D. +1.206.359.3315
                                                                                       F. +1.206.359.4315

  VIA E-MAIL AND U.S. MAIL

  Matthew Storman
  1601 E. Ruddock St.
  Covina, CA 91724
  admin@romuniverse.com

  Re:       Deficient Discovery Responses & Discovery Conference
            Nintendo of America Inc. v. Matthew Storman, 2:19-CV-07818-CBM-RAO

  Dear Mr. Storman:

  We write regarding the above captioned matter. As you know, on August 5, the Court ordered
  the parties participate in a meet-and-confer regarding any pending discovery disputes and, if the
  issues could not be resolved, participate in Magistrate Judge Oliver’s Informal Discovery
  Conference by no later than September 25. A copy of the Order is enclosed with this letter.

  To attempt to resolve our discovery disputes without involving the Court and to timely comply
  with this Order, we have attempted to contact you on numerous occasions regarding discovery
  issues—which we first raised in June 2020—including by email on and via telephone on August
  17, August 21, August 28, September 4, and September 11. A copy of the email string is also
  enclosed. You have not responded to any of these communications.

  As we have repeatedly informed you, there are several deficiencies in your discovery responses:

        •   In response to RFAs 8, 9; Rogs 4, 9; and RFP 10, you claim that you do not have
            information regarding the number of times certain files were downloaded through your
            website. Before the initiation of this litigation, however, the romuniverse.com website
            displayed the number of downloads for each file. At a minimum, you should be able to
            provide whatever information you tracked and displayed on your website for each file.

        •   In response to RFPs 14-18, you indicated you are withholding “marketing puffery,
            protected business, and protected private communications” without further explanation.
            This is not a valid objection. Unless you are claiming these documents are protected by
            the attorney-client privilege or work product doctrine (which seems unlikely, because you
            are not represented by an attorney in this case), these documents must be produced.

        •   RFP No. 5 requests your tax returns. You did not produce these documents and provided
            no objections to their production. These documents should be produced.

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  Matthew Storman
  September 18, 2020
  Page 2


  These discovery issues are straightforward and should be resolved without the need for the
  Court’s involvement. However, because you have refused to cooperate in resolving these issues,
  we must presume we are at an impasse and will bring these issues before Magistrate Judge
  Oliver.

  Finally, also because you have not communicated on this topic, I enclose an amended deposition
  notice, setting your deposition for October 8, 2020. Please let me know immediately if you have
  a conflict on that date.

  Very truly yours,



  Christian W. Marcelo

  CWM

  Enclosures, as indicated

  cc:      William C. Rava, Perkins Coie
           Katherine Dugdale, Perkins Coie




  149575729.1



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                            Exhibit E




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   2   PERKINS COIE LLP
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   3   Los Angeles, CA 90067-1721
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   8   Seattle, WA 98101
       Telephone: 206.359.8000
   9   Facsimile: 206.359.9000
  10
       Attorneys for Plaintiff
  11   Nintendo of America Inc.
  12
                             UNITED STATES DISTRICT COURT
  13

  14                        CENTRAL DISTRICT OF CALIFORNIA
  15

  16
         NINTENDO OF AMERICA INC., a          Case No. 2:19-CV-07818-CBM-RAO
  17     Washington corporation
                                              NINTENDO’S FIRST SET OF
  18                       Plaintiff,         INTERROGATORIES AND REQUESTS FOR
                                              PRODUCTION OF DOCUMENTS AND
  19                 v.                       THINGS
  20     MATTHEW STORMAN, an individual,
         JOHN DOES 1-10, individuals and/or
  21     corporations,
  22                       Defendants.
  23

  24

  25

  26

  27

  28
                                                                   DISCOVERY REQUESTS


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   1             Pursuant to Rules 26, 33 and 34 of the Federal Rules of Civil Procedure, Plaintiff Nintendo
   2   of America Inc. (“Nintendo”), through its counsel, directs the following interrogatories and requests
   3
       for production of documents and things (“Requests”) to Defendant Matthew Storman
   4
       (“Defendant”). Defendant is to answer these Requests separately and fully, in writing, within thirty
   5
       days of the date of service, in accordance with Fed. R. Civ. P. 33 and 34, and the Definitions and
   6

   7   Instructions set forth below. Defendant must produce, within thirty days of service of these

   8   Requests, all responsive documents and tangible things that are within Defendant’s possession,

   9   custody, or control at the office of Perkins Coie, LLP, 888 Century Park East, Suite 1700, Los
  10
       Angeles, California 90067-1721, or as otherwise agreed to by the parties. These Requests impose
  11
       continuing obligations, and any supplementation and additional responsive documents or things
  12
       that may be discovered subsequent to the initial responsive production should be produced within
  13
       a reasonable time, pursuant to Fed. R. Civ. P. 26.
  14

  15                                                DEFINITIONS

  16        1. “Any” and “all” means “any and all.”
  17        2. “Date” means the exact day, month, and year, if ascertainable, or, if not, the best available
  18
                 approximation (including relationship to other events).
  19
            3. The term “Defendant” as used herein means Matthew Storman and companies owned or
  20
                 controlled by Matthew Storman as well as any divisions, or subsidiaries, past or present,
  21

  22             including, without limitation, the directors, officers, employees, agents, or attorneys thereof.

  23        4. The terms “you,” “your,” or “yourself” as used herein refers to Defendant as defined above.

  24        5. The term “Nintendo” as used herein means Plaintiff Nintendo of America Inc. and includes
  25             the directors, officers, employees, agents, or attorneys thereof.
  26
            6. The term “Litigation” shall mean the above-referenced action, 2:19-CV-07818-CBM-RAO.
  27
            7. The term “person” shall mean any natural person, individual, corporation, proprietorship,
  28
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   1             partnership, association, joint venture, limited liability company, trust, company, firm, or
   2             other form of legal entity, organization, or arrangement.
   3
            8. The term “document” shall be synonymous in meaning and equal in scope to the usage of
   4
                 the term in Rule 34(a) of the Federal Rules of Civil Procedure and includes, without
   5
                 limitation, “writings and recordings” as defined by Rule 1001 of the Federal Rules of
   6

   7             Evidence.

   8        9. The term “thing” shall be synonymous in meaning and equal in scope to the usage of the

   9             term in Rule 34(a) of the Federal Rules of Civil Procedure, and includes without limitation,
  10
                 models, prototypes and samples of any device or apparatus or product.
  11
            10. The term “communication” as used herein means all written, oral, telephonic or other
  12
                 inquiries, dialogues, discussions, conversations, interviews, correspondence, consultations,
  13
                 negotiations,   agreements,    understandings,    meetings,    letters,   notes,   telegrams,
  14

  15             advertisements, and all other documents evidencing any verbal or nonverbal interaction

  16             between or among persons and/or entities.
  17        11. The terms “and,” “or,” and “and/or” as used herein shall be interpreted to include any item
  18
                 or combination of items identified in a Request, and shall not be interpreted to exclude any
  19
                 information otherwise within the scope of a Request.
  20
            12. The term “any” as used herein means one, some, or all of whatever quantity.
  21

  22        13. The terms “concerning,” “related to,” or “relating to” (or similar terms) as used herein shall

  23             be construed in the broadest possible sense, and shall mean without limitation and whether

  24             in whole or in part: referring to, constituting, bearing upon, commenting upon, reflecting,
  25             evidencing, pertaining to, describing, depicting, consisting of, containing, comprising,
  26
                 embodying, identifying, stating, discussing, analyzing, studying, summarizing, dealing
  27
                 with, relating to, or having any logical or factual connection whatsoever with the subject
  28
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   1             addressed, regardless whether the factual connection is favorable to or adverse to you.
   2        14. The term “ROM image” means any digital file containing read-only memory.
   3
            15. The term “Nintendo ROM image” means any ROM image which contains read-only
   4
                 memory related to any Nintendo video games.
   5
            16. The term “Websites” means any website that you own or control which distributes Nintendo
   6

   7             ROM images, including but not limited to the websites resolving from the following

   8             domains: www.romuniverse.com and www.ndsuniverse.com.

   9        17. Unless the terms of a particular Request specifically indicate otherwise, these definitions
  10
                 are applicable throughout these Requests and are incorporated into each specific Request.
  11
       INSTRUCTIONS
  12
             1. In responding to these Requests, you are required to furnish all information that is available
  13
                     to you or subject to your reasonable inquiry, including information in the possession of
  14

  15                 your attorneys, accountants, advisors, representatives, agents or other persons directly or

  16                 indirectly employed by, or connected with, you or your attorneys, and anyone else
  17                 otherwise subject to your control. All documents that respond in whole or in part, to any
  18
                     portion of the Requests below shall be produced in their entirety, including all attachments
  19
                     and enclosures.
  20
             2. In construing these Requests, the plural shall include the singular and the singular shall
  21

  22                 include the plural; a masculine, feminine, or neuter term shall include all other genders.

  23         3. If you deem any documents or information sought by these Requests to be privileged or

  24                 otherwise protected from discovery, you must nevertheless identify for all information
  25                 and/or each document withheld, at least the following:
  26
                       a. The legal basis for withholding the document;
  27
                       b. The person asserting any claim of privilege and/or protection;
  28
                                                             -3-                         DISCOVERY REQUESTS



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   1                   c. The identity of every person with knowledge which either tends to support or tends
   2                       to refute the claim of privilege and/or protection;
   3
                       d. A description and identification of the requested document sufficient to frame an
   4
                           appropriate demand for the document and a motion to compel disclosure thereof,
   5
                           setting forth at least the following:
   6

   7                           i. The author and/or signatory of the document withheld;

   8                           ii. The date of the document withheld;

   9                          iii. The identity of the addressees and all others who have received or read the
  10
                                   document withheld;
  11
                              iv. The identity of those who have knowledge of the matters contained in the
  12
                                   document withheld;
  13
                               v. Whether the document withheld has any other documents appended to,
  14

  15                               included with, attached to, incorporated by, or referred to in the document

  16                               withheld;
  17                          vi. Whether other such documents have been produced; and
  18
                             vii. The subject matter and circumstances under which the document withheld
  19
                                   was created, in sufficient detail to ascertain applicability of the privilege or
  20
                                   other legal basis asserted. Notwithstanding a claim that a document is
  21

  22                               privileged or otherwise protected from disclosure, any documents so

  23                               withheld must be produced with the portion claimed to be protected excised.

  24         4. Responsive documents shall be produced as kept in the ordinary course of business or shall
  25                 be produced in a manner organized and labeled corresponding with the categories in these
  26
                     Requests in accordance with the Federal Rules of Civil Procedure. If there are no
  27
                     documents or things responsive to a particular Request, you should so state in writing.
  28
                                                              -4-                         DISCOVERY REQUESTS



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   1         5. In responding to these Requests, you must make a diligent search of your records and of
   2                 other papers or materials in your possession or available to you or your representatives.
   3
             6. If refusal to provide documents responsive to any Request is asserted on the grounds of
   4
                     burdensomeness, you should state in detail the reason(s) for your objection(s), including
   5
                     the number and nature of documents or records needed to be searched and/or produced,
   6

   7                 the location of the documents, the custodian of the documents, and the number of person

   8                 hours and costs required to conduct the search.

   9         7. If any Request is unclear or ambiguous to you, you are requested to contact undersigned
  10
                     counsel as soon as possible so that the Request can be clarified to avoid unnecessary delays
  11
                     in discovery.
  12
             8. If any responsive document is no longer in your possession or subject to your control, you
  13
                     should state what disposition was made of it, when such disposition was made, why such
  14

  15                 disposition was made and by whom such disposition was made. If any document herein

  16                 requested was formerly in your possession, custody or control and has been transferred,
  17                 lost or destroyed, you are requested to submit in lieu of each document a written statement
  18
                     which:
  19
                       a. Describes in detail the nature of the document;
  20
                       b. Identifies the person who prepared or authorized the document and, if applicable,
  21

  22                       the person to whom the document was sent;

  23                   c. Specifies the date on which the document was prepared or transmitted;

  24                   d. Identifies the person last known by you to have been in possession, custody or
  25                       control of the document; and
  26
                       e. Specifies, if possible, the date on which the document was transferred, lost or
  27
                           destroyed and, if destroyed, the conditions of and reasons for such destruction and
  28
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   1                       the persons requesting and performing the destruction.
   2         9. After each document request, state whether all documents responsive to that request are
   3
                     being produced and indicate on each produced document (or in some other convenient
   4
                     manner) the number of the document request or requests to which it is responsive.
   5
             10. If no responsive documents exist for a requested category of documents, please so indicate.
   6

   7         11. If, after exercising due diligence, you are unable to determine the existence of any

   8                 documents or things falling within a Request, you shall so state in written responses as

   9                 required by Rule 34.
  10
                 These Requests impose a continuing obligation and require ongoing supplementation in
  11
       accordance with Fed. R. Civ. P. 26(e).
  12

  13                                            INTERROGATORIES

  14   INTERROGATORY NO. 1:

  15             Provide an accounting of the total revenue generated in connection with the Websites
  16   since January 1, 2009 through the present, including but not limited to, revenue earned through
  17
       advertisements, purchases of memberships, donations, cryptocurrencies from data mining, or any
  18
       other revenue of any kind from any source.
  19
       RESPONSE:
  20

  21             Total gross revenue from October 21, 2016 to present is $77,700.

  22

  23   INTERROGATORY NO. 2:
  24
                 Identify the total number of paid memberships for the Websites, by year, since January 1,
  25
       2009 through the present.
  26
       RESPONSE:
  27
                 Total of paid lifetime memberships from October 21, 2016 are 2590.
  28
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   1

   2   INTERROGATORY NO. 3:
   3
                 Provide an accounting of any and all of your expenses related to the Websites incurred
   4
       after January 1, 2009.
   5
       RESPONSE:
   6

   7             Processing Fees (2016 – Present): $12,385

   8             Website Hosting Fees (2016 – Present): $19,200

   9

  10
       INTERROGATORY NO. 4:
  11
                 Identify the total number of ROM images distributed and/or downloaded through the
  12
       Websites, by year, since January 1, 2009 through the present.
  13
       RESPONSE:
  14

  15   Defendant does not track file downloads. Defendant has no knowledge of file ownership or

  16   copyright, or if the file was interrupted, corrupt, destroyed, invalid, improper or functionable.
  17

  18
       INTERROGATORY NO. 5:
  19
                 Identify the total number of Nintendo ROM images distributed and/or downloaded
  20
       through the Websites, by year, since January 1, 2009 through the present.
  21

  22   RESPONSE:

  23             Defendant has no way of knowing if images are Nintendo property or copyright. Nintendo

  24   has access to content as all others for free and per 17 U.S.C. Nintendo can and did request
  25   takedowns of any content they request which defendant did comply with, in Nintendo’s
  26
       recognition of defendant’s protections under 17 U.S.C.
  27

  28
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   1             Defendant owns ndsunvierse.com and romuniverse.com since October 21, 2016.
   2   Defendant does not control the activities of users.
   3

   4
       INTERROGATORY NO. 9:
   5
                 Exhibit A of Nintendo’s Complaint in this litigation provides a list of 37 Nintendo games.
   6

   7   For each game, identify when the ROM image for that game was made available for distribution

   8   on the Websites and the total number of times, by year, each of those ROM images were

   9   downloaded from or was distributed through the Websites since January 1, 2009.
  10
       RESPONSE:
  11
                 Defendant has no way of verifying content, copyright or ownership of games or validity of
  12
       file content and does distribute or offer.
  13

  14

  15   INTERROGATORY NO. 10:

  16             Identify each person or company that owns or controls, in whole or in part, the Websites.
  17   RESPONSE:
  18
                 Defendant, Matthew Storman is the sole owner of the website.
  19

  20
       INTERROGATORY NO. 11:
  21

  22             Identify each domain or website you own or control that distributes ROM images or

  23   resolves to a website that distributes ROM images.

  24   RESPONSE:
  25             Defendant, Matthew Storman is the sole owner of romuniverse.com and ndsuniverse.com
  26
       and does not distribute or offer images.
  27

  28
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   1             Produce all documents reflecting revenue generated in connection with the Websites since
   2   January 1, 2009 through the present, including but not limited to receipts from the purchase of
   3
       premium memberships, documents relating to PayPal or other payment processor accounts, and
   4
       documents regarding any donations paid to you, including donations provided to you in
   5
       connection with this Litigation.
   6

   7   RESPONSE:

   8   SEE RESPONSE NO.1 INCLUDES 9 DONATIONS in the amount of $245.00 from 2019.

   9

  10
       REQUEST FOR PRODUCTION NO. 4:
  11
                 Produce documents sufficient to show any and all of your expenses related to the
  12
       Websites incurred since January 1, 2019.
  13
       RESPONSE:
  14

  15             Taxes for 2019 have not yet been filed.

  16

  17   REQUEST FOR PRODUCTION NO. 5:
  18
                 Produce your tax returns from 2009 through 2019.
  19
       RESPONSE:
  20
                 1. 2019 Taxes not yet filed.
  21

  22             2. 2018 QB: $9,258.15 TR: $0.00 GR: $8,370. Not min. 12.5k

  23             3. 2017 QB: $3,991.05 TR: $0.00 GR: $0. Not Min. 12.5k

  24             4. 2016 QB: $12,714.72 TR: $37,596 - $15,020 GR: $0
  25

  26
       REQUEST FOR PRODUCTION NO. 6:
  27

  28
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   1             Produce documents sufficient to show the total number of Nintendo ROM images
   2   available for download through the Websites, each year, since January 1, 2009.
   3
       RESPONSE:
   4
                 Defendant has no way of verifying content, copyright or ownership of files or images on
   5
       Website.
   6

   7

   8   REQUEST FOR PRODUCTION NO. 7:

   9             Produce documents sufficient to show the total number of Nintendo ROM images
  10
       downloaded through the Websites, each year, since January 1, 2009.
  11
       RESPONSE:
  12
                 Defendant has no way of verifying content, copyright or ownership of files or images on
  13
       Website.
  14

  15

  16   REQUEST FOR PRODUCTION NO. 8:
  17             Produce documents sufficient to identify each Nintendo ROM image offered for download
  18
       through the Websites since January 1, 2009.
  19
       RESPONSE:
  20
                 Defendant has no way of verifying content, copyright or ownership of files or images on
  21

  22   Website.

  23

  24   REQUEST FOR PRODUCTION NO. 9:
  25             Produce documents sufficient to show the number of visitors to the Websites, by year,
  26
       since January 1, 2009.
  27
       RESPONSE:
  28
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   1             2020 to present h.pdf
   2             2019 d.pdf
   3
                 2018 e.pdf
   4
                 2017 f.pdf
   5
                 2016 g.pdf
   6

   7

   8   REQUEST FOR PRODUCTION NO. 10:

   9             Exhibit A of Nintendo’s Complaint in this litigation provides a list of 37 Nintendo games.
  10
       Produce documents sufficient to show the total number of ROM images from each of those games
  11
       downloaded through the Websites since January 1, 2009.
  12
       RESPONSE:
  13
                 Defendant has no way of verifying content, copyright or ownership of files or images on
  14

  15   Website, or any user actions.

  16

  17   REQUEST FOR PRODUCTION NO. 11:
  18
                 Exhibit A of Nintendo’s Complaint in this litigation provides a list of 37 Nintendo games.
  19
       To the extent the ROM images for any of these games are or were available to be downloaded
  20
       through the Websites, produce those ROM images.
  21

  22   RESPONSE:

  23             Defendant has no way of verifying content, copyright or ownership of files or images on

  24   Website, or any user actions.
  25

  26
       REQUEST FOR PRODUCTION NO. 12:
  27
                 Produce the registration agreements and hosting agreements for each of the Websites.
  28
                                                         -17-                       DISCOVERY REQUESTS



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   1   RESPONSE:
   2             Defendant does not have registration or hosting agreements for any users.
   3

   4
       REQUEST FOR PRODUCTION NO. 13:
   5
                 Produce documents sufficient to identify any domains you own or control which resolve
   6

   7   or redirect to websites that distribute any intellectual property relating to Nintendo, including but

   8   not limited to Nintendo ROM images.

   9   RESPONSE:
  10
                 Defendant owns romuniverse.com and ndsuniverse.com. Furthermore, Defendant does not
  11
       own any websites that distribute intellectual property.
  12

  13
       REQUEST FOR PRODUCTION NO. 14:
  14

  15             Produce all communications between yourself and any third parties regarding Nintendo,

  16   the Websites, or the Nintendo Rom images, including but not limited to communications,
  17   comments, or messages sent via Discord, social media, or the Websites.
  18
       RESPONSE:
  19
                 Communications that occurred on discord is publicly available to view and is massive.
  20
       They are available to Plaintiff. There is an old Facebook page that was created by a previous non
  21

  22   associated administrator on the website. See d-i.png. Communications do not include marketing

  23   puffery, protected business, and protected private communications.

  24

  25   REQUEST FOR PRODUCTION NO. 15:
  26
                 Produce all communications between yourself and Nintendo, including but not limited to
  27
       any DMCA notices.
  28
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   1   RESPONSE:
   2             See DMCA/01-26.pdf. Communications do not include marketing puffery, protected
   3
       business, and protected private communications.
   4

   5
       REQUEST FOR PRODUCTION NO. 16:
   6

   7             In your Answer, you allege that “Plaintiff’s German representative continues to send

   8   DMCA take down requests to Defendant[.]” Produce all such communications.

   9   RESPONSE:
  10
                 See DMCA/01-26.pdf. Communications do not include marketing puffery, protected
  11
       business, and protected private communications.
  12

  13
       REQUEST FOR PRODUCTION NO. 17:
  14

  15             Produce all documents and communications regarding your designation of an agent under

  16   17 U.S.C. 512(c)(2), including but not limited to any documents reflecting the identification of
  17   the agent on the Websites and any documents or communications identifying the agent to the
  18
       United States Copyright Office.
  19
       RESPONSE:
  20
                 Plaintiff has already recognized admin as the proper agent for romuniverse.com and
  21

  22   ndsuniverse.com. This was done by Nintendo sending Numerous DMCA take-down notices to

  23   admin which admin immediately complied with. Refer to NO. 15 and NO. 16 above.

  24   Communications do not include marketing puffery, protected business, and protected private
  25   communications.
  26

  27
       REQUEST FOR PRODUCTION NO. 18:
  28
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   1             Produce all documents and communications regarding the purchase or sale of the
   2   Websites.
   3
       RESPONSE:
   4
                 Defendant purchased ndsuniverse.com on January 10, 2009, see k.png. Defendant
   5
       purchased romuniverse.com on September 3, 2009, see j.png. Communications do not include
   6

   7   marketing puffery, protected business, and protected private communications.

   8

   9   REQUEST FOR PRODUCTION NO. 19:
  10
                 Produce all documents that support, refer or relate to your allegation that there are “two
  11
       instances where an implied contract was established between the Defendant and Plaintiff,”
  12
       including but not limited to, all documents that would identify the exact terms of the alleged
  13
       “implied contracts.”
  14

  15   RESPONSE:

  16             The implied contract is based on historical and current communications where Nintendo
  17   requested file takedown notices to Defendant. These takedown notices were made in good faith
  18
       that Nintendo was the alleged proper copyright owner and file owner. Defendant did not dispute
  19
       Nintendo’s alleged copyright or file ownership. In return, Nintendo would not take any legal
  20
       action and would continue to receive exposure to Nintendo company and Nintendo games by vast
  21

  22   numbers of website visitors and users, and Defendant would continue to operate the Website

  23   without litigation.

  24

  25

  26

  27

  28
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                            Exhibit F




                                                                      EXHIBIT 13
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   1   Katherine M. Dugdale, Bar No. 168014
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   3   Los Angeles, CA 90067-1721
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   5   William C. Rava (appearing pro hac vice)
       Christian W. Marcelo (appearing pro hac vice)
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       1201 Third Avenue, Suite 4900
   8   Seattle, WA 98101
       Telephone: 206.359.8000
   9   Facsimile: 206.359.9000

  10
       Attorneys for Plaintiff
  11   Nintendo of America Inc.

  12
                                    UNITED STATES DISTRICT COURT
  13
                                  CENTRAL DISTRICT OF CALIFORNIA
  14

  15

  16     NINTENDO OF AMERICA INC., a                   Case No. 2:19-CV-07818-CBM-RAO
         Washington corporation
  17                                                   NINTENDO’S FIRST SET OF REQUESTS
                              Plaintiff,               FOR ADMISSION
  18
                     v.
  19
         MATTHEW STORMAN, an individual,
  20     JOHN DOES 1-10, individuals and/or
         corporations,
  21
                              Defendants.
  22

  23

  24

  25

  26

  27

  28
                                                                         REQUESTS FOR ADMISSION

                                                                                   EXHIBIT 13
       147780647.3


                                                                                    Page 212
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                                   #:914


   1             Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, Plaintiff Nintendo of
   2   America Inc. (“Nintendo”), through its counsel, directs the following Requests for Admission
   3
       (“Requests”) to Defendant Matthew Storman (“Defendant”).                Defendant is to answer these
   4
       Requests separately and fully, in writing, within thirty days of the date of service, in accordance
   5
       with Fed. R. Civ. P. 36, and the Definitions and Instructions set forth below. These Requests
   6

   7   impose continuing obligations, and any supplementation and additional responsive documents or

   8   things that may be discovered subsequent to the initial responsive production should be produced

   9   within a reasonable time, pursuant to Fed. R. Civ. P. 26.
  10
                                                    DEFINITIONS
  11
            1. “Any” and “all” means “any and all.”
  12
            2. “Date” means the exact day, month, and year, if ascertainable, or, if not, the best available
  13
                 approximation (including relationship to other events).
  14

  15        3. The term “Defendant” as used herein means Matthew Storman and companies owned or

  16             controlled by Matthew Storman as well as any divisions, or subsidiaries, past or present,
  17             including, without limitation, the directors, officers, employees, agents, or attorneys thereof.
  18
            4. The terms “you,” “your,” or “yourself” as used herein refers to Defendant as defined above.
  19
            5. The term “Nintendo” as used herein means Plaintiff Nintendo of America Inc. and includes
  20
                 the directors, officers, employees, agents, or attorneys thereof.
  21

  22        6. The term “Litigation” shall mean the above-referenced action, 2:19-CV-07818-CBM-RAO.

  23        7. The term “person” shall mean any natural person, individual, corporation, proprietorship,

  24             partnership, association, joint venture, limited liability company, trust, company, firm, or
  25             other form of legal entity, organization, or arrangement.
  26
            8. The term “document” shall be synonymous in meaning and equal in scope to the usage of
  27
                 the term in Rule 34(a) of the Federal Rules of Civil Procedure and includes, without
  28
                                                            -1-                      REQUESTS FOR ADMISSION


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                                                                                                 Page 213
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   1             limitation, “writings and recordings” as defined by Rule 1001 of the Federal Rules of
   2             Evidence.
   3
            9. The term “thing” shall be synonymous in meaning and equal in scope to the usage of the
   4
                 term in Rule 34(a) of the Federal Rules of Civil Procedure, and includes without limitation,
   5
                 models, prototypes and samples of any device or apparatus or product.
   6

   7        10. The term “communication” as used herein means all written, oral, telephonic or other

   8             inquiries, dialogues, discussions, conversations, interviews, correspondence, consultations,

   9             negotiations,   agreements,    understandings,    meetings,    letters,   notes,   telegrams,
  10
                 advertisements, and all other documents evidencing any verbal or nonverbal interaction
  11
                 between or among persons and/or entities.
  12
            11. The terms “and,” “or,” and “and/or” as used herein shall be interpreted to include any item
  13
                 or combination of items identified in a Request, and shall not be interpreted to exclude any
  14

  15             information otherwise within the scope of a Request.

  16        12. The term “any” as used herein means one, some, or all of whatever quantity.
  17        13. The terms “concerning,” “related to,” or “relating to” (or similar terms) as used herein shall
  18
                 be construed in the broadest possible sense, and shall mean without limitation and whether
  19
                 in whole or in part: referring to, constituting, bearing upon, commenting upon, reflecting,
  20
                 evidencing, pertaining to, describing, depicting, consisting of, containing, comprising,
  21

  22             embodying, identifying, stating, discussing, analyzing, studying, summarizing, dealing

  23             with, relating to, or having any logical or factual connection whatsoever with the subject

  24             addressed, regardless whether the factual connection is favorable to or adverse to you.
  25        14. The term “ROM image” means any digital file containing data from read-only memory.
  26
            15. The term “Nintendo ROM image” means any ROM image which contains data from read-
  27
                 only memory related to any Nintendo video games.
  28
                                                          -2-                    REQUESTS FOR ADMISSION


                                                                                              EXHIBIT 13
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   1        16. “Exhibit A to the Nintendo Complaint” means the Exhibit A (Document 1-1) filed with
   2             Nintendo’s complaint in this Litigation.
   3
            17. “Exhibit B to the Nintendo Complaint” means the Exhibit B (Document 1-2) filed with
   4
                 Nintendo’s complaint in this Litigation.
   5
            18. Unless the terms of a particular Request specifically indicate otherwise, these definitions
   6

   7             are applicable throughout these Requests and are incorporated into each specific Request.

   8                                                 INSTRUCTIONS

   9         1. Each Request below asks for admission of the truth of the matter stated in the request.
  10
             2. Each Request shall operate and be responded to independently and, unless otherwise
  11
                     indicated, no Request limits the scope of any other Request.
  12
             3. If you do not specifically admit or deny matters stated below, you must set forth in detail
  13
                     the reasons why you cannot truthfully admit or deny the matter.
  14

  15         4. If good faith requires you to qualify a response or to deny only a part of a matter set forth

  16                 below, you must specify so much of the matter as is true and qualify or deny the remainder.
  17         5. You may not refuse to admit or deny any matter set forth below based upon lack of
  18
                     information or knowledge unless you also assert that you have made reasonable inquiry
  19
                     and that the information necessary to admit or deny the matter stated is not known or
  20
                     readily obtainable.
  21

  22         6. Where knowledge or information in your possession is requested, the Request extends to

  23                 knowledge or information in the possession of your predecessors and/or successors, as well

  24                 as to information in the possession of your officers, directors, agents, employees, servants,
  25                 representatives, and, unless privileged, attorneys.
  26
             7. Unless otherwise specified in the Request, the time period of these Requests is from
  27
                     September 10, 2016 through the time of your written response.
  28
                                                              -3-                    REQUESTS FOR ADMISSION


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                                   #:917


   1

   2   REQUEST FOR ADMISSION NO. 7:

   3             Exhibit A to Nintendo’s Complaint lists 37 Nintendo video games. Admit that through

   4   romuniverse.com, you distributed or offered for download ROM images of each of the games

   5   listed in Exhibit A to Nintendo’s Complaint.

   6   RESPONSE:

   7             Defendant has no way of knowing if images are Nintendo property or copyright. Nintendo

   8   has access to all alleged images for free and per 17 U.S.C. Nintendo can and did request

   9   takedowns of any content requested which defendant did take down. This is a recognition by

  10   Nintendo of Defendant’s protections under 17 U.S.C. Defendant does not distribute or make

  11   available any ROM images.

  12

  13   REQUEST FOR ADMISSION NO. 8:

  14             Admit that you have made over 3,000 Nintendo ROM images of Nintendo 3DS video

  15   games available to be downloaded through romuniverse.com.

  16   RESPONSE:

  17             Defendant has no way of knowing if images are Nintendo property or copyright.

  18   Defendant does not inventory or examine any file on the Websites.

  19

  20   REQUEST FOR ADMISSION NO. 9:

  21             Admit that you have made over 200 Nintendo ROM images of Nintendo Switch video

  22   games available to be downloaded through romuniverse.com.

  23   RESPONSE:

  24             Defendant has no way of knowing if images are Nintendo property or copyright.

  25   Defendant does not inventory or examine any file on the Websites.

  26

  27   REQUEST FOR ADMISSION NO. 10:

  28
                                                       -6-                   REQUESTS FOR ADMISSION


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       EXHIBIT 14
Case 2:19-cv-07818-CBM-RAO Document 52-7 Filed 12/29/20 Page 228 of 241 Page ID
                                   #:919

   From:            RAO Chambers
   To:              Marcelo, Christian W. (SEA); RAO Chambers
   Cc:              Rava, William C. (SEA); Dugdale, Katherine (LOS); Harkness, Brooke (SEA); admin@romuniverse.com
   Subject:         RE: Nintendo of America v. Matthew Storman, 2:19-CV-07818-CBM-RAO
   Date:            Monday, October 26, 2020 2:00:42 PM
   Attachments:     image001.png
   Importance:      High


   To all parties,
   The Court has availability on Wednesday, October 28 at 10:00 a.m. to hear this matter.
   Kindly advise availability as soon as practicable.
   Thank you.




   From: Marcelo, Christian W. (Perkins Coie) <CMarcelo@perkinscoie.com>
   Sent: Friday, October 23, 2020 10:52 AM
   To: RAO Chambers <RAO_Chambers@cacd.uscourts.gov>
   Cc: Rava, William C. (Perkins Coie) <WRava@perkinscoie.com>; Dugdale, Katherine (Perkins Coie)
   <KDugdale@perkinscoie.com>; Harkness, Brooke (Perkins Coie) <BHarkness@perkinscoie.com>;
   admin@romuniverse.com
   Subject: RE: Nintendo of America v. Matthew Storman, 2:19-CV-07818-CBM-RAO

   CAUTION - EXTERNAL:



   Magistrate Judge Oliver,

   We are writing to follow up regarding the below discovery dispute. As you know, Mr. Storman’s
   deposition has now had to be rescheduled twice—the first time due to his failure to produce
   documents per the September 25 Order, and the second due to another last minute medical issue of
   Mr. Storman’s. As you know, the settlement conference was also stricken because Mr. Storman did
   not provide settlement papers, and the Court noted that a telephonic status conference would be
   scheduled.

   Mr. Storman’s deposition is now scheduled for October 30. If possible, Nintendo respectfully
   requests to schedule the telephonic status conference prior to the October 30 deposition to attempt
   to resolve the below discovery issues ahead of the deposition and potentially reschedule the
   settlement conference.

   Best regards,


                                                                                                                      EXHIBIT 14
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                                   #:920


   Christian Marcelo

   Christian Marcelo | Perkins Coie LLP
   ASSOCIATE
   1201 Third Avenue Suite 4900
   Seattle, WA 98101-3099
   D. +1.206.359.3315
   F. +1.206.359.4315
   E. CMarcelo@perkinscoie.com



   From: Marcelo, Christian W. (SEA)
   Sent: Thursday, October 8, 2020 5:27 PM
   To: RAO Chambers <RAO_Chambers@cacd.uscourts.gov>
   Cc: Rava, William C. (SEA) <WRava@perkinscoie.com>; Dugdale, Katherine (LOS)
   <KDugdale@perkinscoie.com>; Harkness, Brooke (SEA) <BHarkness@perkinscoie.com>;
   admin@romuniverse.com
   Subject: Nintendo of America v. Matthew Storman, 2:19-CV-07818-CBM-RAO


   Magistrate Judge Oliver,

   We write to you regarding an on-going discovery dispute in the above-referenced proceedings, and
   to schedule a conference with you as early as possible to address the below issues.

   On September 25, the parties participated in a discovery hearing regarding certain discovery
   disputes. At the conclusion of the hearing, the Court ordered Mr. Storman to respond to Nintendo’s
   discovery requests regarding three categories of documents by no later than October 5, 2020. This
   included: (1) producing Mr. Storman’s tax returns; (2) identifying through interrogatory responses
   and by producing documents, the number of downloads of the Nintendo ROMs from the
   Romuniverse.com website; and (3) producing all communications regarding Nintendo or
   Romuniverse.com, including those found on Discord. (See attached Order, Dkt. 45). These
   documents were important and necessary for Mr. Storman’s deposition, which was then scheduled
   for October 8, 2020, and the Court warned Mr. Storman that his failure to comply with his discovery
   obligations could result in sanctions, including monetary sanctions.

   The parties held a conference on September 30 to discuss, among other things, the status of Mr.
   Storman’s compliance with his discovery obligations and the Court order. During that conference,
   Mr. Storman represented that he was on track to produce documents responsive to each of these
   categories, and that specifically, the data regarding the downloads was available to him.
    Additionally, regarding the download data and in connection with Mr. Storman’s agreement to take
   down the RomUniverse website, the parties discussed and Mr. Storman specifically confirmed that
   this data was and would remain accessible (which was reconfirmed in emails after the September 30
   conference).

   Of the three categories of documents, Mr. Storman has only produced his tax returns.

   Two days after missing the Court ordered deadline to produce the remaining documents, on


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                                                                                                  Page 218
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   October 7, Mr. Storman informed Nintendo that he no longer had access to the RomUniverse
   Discord channel to produce his communications, and no longer had access to the data on his
   website to produce the download information. Mr. Storman could not provide an explanation as to
   why he cannot access this data.

   Due to Mr. Storman’s belated disclosure of this missing evidence, Nintendo rescheduled Mr.
   Storman’s deposition to October 16.

   Nintendo respectfully requests a discovery conference to resolve these issues and specifically seeks
   an order requiring Mr. Storman to produce the missing discovery by no later than October 14.
    Additionally, if the data is no longer available, Nintendo respectfully requests that Mr. Storman be
   required to provide information on when the data became inaccessible and what efforts he has
   made to recover the data so that Nintendo can determine whether to file a motion regarding
   spoliation of evidence. In the circumstances, and because the Court already explicitly warned Mr.
   Storman about the potential consequences of his failure to comply with the Order, Nintendo also
   believes that monetary sanctions are appropriate.

   Sincerely,

   Christian

   Christian Marcelo | Perkins Coie LLP
   ASSOCIATE
   1201 Third Avenue Suite 4900
   Seattle, WA 98101-3099
   D. +1.206.359.3315
   F. +1.206.359.4315
   E. CMarcelo@perkinscoie.com




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    CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution
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                                                                                                                                     EXHIBIT 14
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       EXHIBIT 15
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                                   #:923

   From:           RomUniverse
   To:             Marcelo, Christian W. (SEA)
   Cc:             Dugdale, Katherine (LOS); Rava, William C. (SEA)
   Subject:        Discovery Requests
   Date:           Wednesday, October 7, 2020 7:47:59 AM
   Attachments:    RFP 17.png


   Good Morning, please see below and attached:

   RFA 8
   - I have not made available any alleged Nintendo ROM images or Nintendo 3DS video games
   available to be requested and or downloaded.

   RFA 9
   - I have not made available any alleged Nintendo switch video games or images available to
   be requested and or downloaded.

   ROGS 4
   - I have spent the last 9 hours unsuccessfully trying to access the website and server.

   ROGS 9
   - See ROGS 4

   RFP 10
   - I cannot access the discord server any longer, I don't understand why.

   RFP 14
   - See RFP 10

   RFP 16
   - Already provided.

   RFP 17
   - Screenshot. RFP17.png attached


   RFP 18
   - I no longer have access to this information.

   RFP 5
   - Tax returns. Sent




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                                                                                  EXHIBIT 15
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       EXHIBIT 16
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                                   #:928




       EXHIBIT 17
    Case 2:19-cv-07818-CBM-RAO Document 52-7 Filed 12/29/20 Page 238 of 241 Page ID
                                       #:929
  Take-down notice due to copyright infringement: Splatoon 2 (Switch)
  Friday, November 09, 2018 05:00 PST
                                                                           To


        dmca-notice@bertelsmann.de
                                                                                admin@romuniverse.com   abuse@enom.com   support@gumroad.com




Dear Sir or Madam,

we have detected unauthorised copies of the video game "Splatoon 2 (Switch)" (the "Nintendo Game") hosted on your servers. The urls
concerned are listed below.

The copyright and other intellectual property rights in the Nintendo Game are owned and/or controlled by Nintendo Co., Ltd.
("Nintendo") for the world and any unauthorised use, including but not limited to any unauthorised copying or communication to the
public of the Nintendo Game is therefore an infringement of copyright and/or other intellectual property rights.

I declare under penalty of perjury that this notice is true and correct, that I am authorized to act on behalf of the intellectual property
rights owner Nintendo and that I have good faith and reasonable belief that neither Nintendo nor any licensee of Nintendo has
authorised you or any other third party to copy or communicate the Nintendo Game to the public in the manner described in this
notice. I therefore have good faith belief that use of the material in the manner complained of is not authorized by the copyright
owner, its agent, or the law.

Therefore I request you to take immediate action to remove or disable access to unauthorised copies of the Nintendo Game listed at
the URLs below and in order to prevent further legal actions against your company.

linked from romuniverse.com:

      linked from https://www.romuniverse.com/download/84891/splatoon-2-all-en-fr-es-proper-bigbluebox

    . https://regular.romuniverse.com/roms/nintendoswitch/Splatoon%202%20(All)%20(En,%20Fr,%20Es)%20(Proper)%20(BigBlueBox).rar

   linked from https://www.romuniverse.com/download/85081/splatoon-2-jpn-team-hr

    . https://regular.romuniverse.com/roms/nintendoswitch/Splatoon%202%20(JPN)%20(Team%20HR).rar




Best regards,

Thorsten Johanntoberens
Director IT & Development | mbargo servies
--------------------------------------
Sonopress GmbH
Carl-Bertelsmann-Str. 161 F
33332 Gütersloh
Germany

Phone: +49 (0) 5241 80-42457
E-Mail: thorsten.johanntoberens@bertelsmann.de
www.sonopress.de
------------------------------------------------------------------------------------------------------------------------------------------------------
Sitz Gütersloh | Amtsgericht Gütersloh HRB 2034 | Geschäftsführer Sven Deutschmann, Jörg Dickenhorst
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Dickenhorst
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------------------------------------------------------------------------------------------------------------------------------------------------------
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Please consider the environment before printing this mail.
thorsten.johanntoberens@bertelsmann.de
phone: +49 (0) 52 41 - 80-42457

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fax: +49 (0) 52 41 - 80-66928           #:930




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       EXHIBIT 18
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                                        #:932
  Take-down notice due to copyright infringement: Super Mario Odyssey (Switch)
  Friday, November 09, 2018 06:35 PST
                                                                                   To


        dmca-notice@bertelsmann.de
                                                                                        admin@romuniverse.com   abuse@enom.com   support@gumroad.com




Dear Sir or Madam,

we have detected unauthorised copies of the video game "Super Mario Odyssey (Switch)" (the "Nintendo Game") hosted on your servers. The urls concerned are
listed below.

The copyright and other intellectual property rights in the Nintendo Game are owned and/or controlled by Nintendo Co., Ltd. ("Nintendo") for the world and any
unauthorised use, including but not limited to any unauthorised copying or communication to the public of the Nintendo Game is therefore an infringement of
copyright and/or other intellectual property rights.

I declare under penalty of perjury that this notice is true and correct, that I am authorized to act on behalf of the intellectual property rights owner Nintendo and
that I have good faith and reasonable belief that neither Nintendo nor any licensee of Nintendo has authorised you or any other third party to copy or
communicate the Nintendo Game to the public in the manner described in this notice. I therefore have good faith belief that use of the material in the manner
complained of is not authorized by the copyright owner, its agent, or the law.

Therefore I request you to take immediate action to remove or disable access to unauthorised copies of the Nintendo Game listed at the URLs below and in order
to prevent further legal actions against your company.

linked from romuniverse.com:

     linked from https://www.romuniverse.com/download/84925/super-mario-odyssey-all-en-fr-de-es-it-nl-ru-ja-bigbluebox

    . https://regular.romuniverse.com/roms/nintendoswitch/Super%20Mario%20Odyssey%20(All)%20(En,%20Fr,%20De,%20Es,%20It,%20Nl,%20Ru,%20Ja)%20(BigBlueB

   linked from https://www.romuniverse.com/download/85235/super-mario-odyssey-v001-jpn-en-ja-fr-ge-es-it-nl-ru-jrp

    . https://regular.romuniverse.com/roms/nintendoswitch/Super%20Mario%20Odyssey%20v001%20(JPN)%20(En,%20Ja,%20Fr,%20Ge,%20Es,%20It,%20Nl,%20Ru)%20

   linked from https://www.romuniverse.com/download/85291/0277-super-mario-odyssey-world-en-ja-fr-de-es-it-nl-ru-rev-1-trimmed

    . https://regular.romuniverse.com/roms/nintendoswitchtrimmed/0277%20-
      %20Super%20Mario%20Odyssey%20(World)%20(En,Ja,Fr,De,Es,It,Nl,Ru)%20(Rev%201)%20[Trimmed].xci

   linked from https://www.romuniverse.com/download/85530/0038-super-mario-odyssey-world-en-ja-fr-de-es-it-nl-ru-trimmed

    . https://regular.romuniverse.com/roms/nintendoswitchtrimmed/0038%20-
      %20Super%20Mario%20Odyssey%20(World)%20(En,Ja,Fr,De,Es,It,Nl,Ru)%20[Trimmed].xci




Best regards,

Thorsten Johanntoberens
Director IT & Development | mbargo servies
--------------------------------------
Sonopress GmbH
Carl-Bertelsmann-Str. 161 F
33332 Gütersloh
Germany

Phone: +49 (0) 5241 80-42457
E-Mail: thorsten.johanntoberens@bertelsmann.de
www.sonopress.de
------------------------------------------------------------------------------------------------------------------------------------------------------
Sitz Gütersloh | Amtsgericht Gütersloh HRB 2034 | Geschäftsführer Sven Deutschmann, Jörg Dickenhorst
------------------------------------------------------------------------------------------------------------------------------------------------------
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